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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: GENERIC PHARMACEUTICALS                     MDL 2724
PRICING ANTITRUST LITIGATION                       16-MD-2724
____________________________________________       HON. CYNTHIA M. RUFE

1199SEIU NATIONAL BENEFIT FUND; 1199SEIU
GREATER NEW YORK BENEFIT FUND; 1199SEIU            CIVIL ACTION NO.
NATIONAL BENEFIT FUND FOR HOME CARE                19-CV-06011-CMR
WORKERS; 1199SEIU LICENSED PRACTICAL
NURSES WELFARE FUND;
AMERICAN FEDERATION OF STATE, COUNTY
AND MUNICIPAL EMPLOYEES DISTRICT
COUNCIL 37 HEALTH & SECURITY PLAN;                 JURY TRIAL DEMANDED
LOUISIANA HEALTH SERVICE & INDEMNITY
COMPANY D/B/A BLUE CROSS AND BLUE SHIELD
OF LOUISIANA AND HMO LOUISIANA, INC.;
SELF-INSURED SCHOOLS OF CALIFORNIA; and
SERGEANTS BENEVOLENT ASSOCIATION                     END-PAYER AMENDED
HEALTH AND WELFARE FUND, on behalf of              CLASS ACTION COMPLAINT
themselves and all others similarly situated,

                         Plaintiffs,
           v.

ACTAVIS HOLDCO U.S., INC.;
ACTAVIS ELIZABETH LLC;
ACTAVIS PHARMA, INC.;
AKORN, INC.;
AKORN SALES, INC.;
ALVOGEN INC.;
AMNEAL PHARMACEUTICALS, INC.;
AMNEAL PHARMACEUTICALS, LLC;
APOTEX CORP.;
ASCEND LABORATORIES, LLC;
AUROBINDO PHARMA USA, INC.;
BARR PHARMACEUTICALS, LLC;
BAUSCH HEALTH AMERICAS, INC.;
BAUSCH HEALTH US LLC;
BRECKENRIDGE PHARMACEUTICALS, INC.;



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CAMBER PHARMACEUTICALS, INC.;
CITRON PHARMA, LLC;
DAVA PHARMACEUTICALS, LLC;
DR. REDDY’S LABORATORIES, INC.;
EPIC PHARMA, LLC;
FOUGERA PHARMACEUTICALS INC.;
GENERICS BIDCO I, LLC;
GLENMARK PHARMACEUTICALS INC., USA;
GREENSTONE, LLC;
G&W LABORATORIES, INC.;
HERITAGE PHARMACEUTICALS, INC.;
HIKMA LABS, INC.;
HIKMA PHARMACEUTICALS USA, INC.;
HI-TECH PHARMACAL CO., INC.;
IMPAX LABORATORIES, LLC;
JUBILANT CADISTA PHARMACEUTICALS, INC.;
LANNETT COMPANY, INC.;
LUPIN PHARMACEUTICALS, INC.;
MALLINCKRODT INC.;
MAYNE PHARMA INC.;
MORTON GROVE PHARMACEUTICALS, INC.;
MUTUAL PHARMACEUTICAL COMPANY, INC.;
MYLAN INC.;
MYLAN PHARMACEUTICALS, INC.;
OCEANSIDE PHARMACEUTICALS, INC.;
PAR PHARMACEUTICAL, INC.;
PERRIGO NEW YORK, INC.;
PFIZER, INC.;
PLIVA, INC.;
SANDOZ INC.;
SUN PHARMACEUTICAL INDUSTRIES, INC.;
TARO PHARMACEUTICALS USA, INC.;
TELIGENT INC.;
TEVA PHARMACEUTICALS USA, INC.;
TORRENT PHARMA INC.;
UPSHER-SMITH LABORATORIES, LLC;
VERSAPHARM, INC.;
WEST-WARD COLUMBUS, INC.;


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WOCKHARDT USA LLC; and,
ZYDUS PHARMACEUTICALS (USA), INC.

                      Defendants.




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                                      I.     NATURE OF THE ACTION

             1.       This suit brings claims on behalf of End-Payer Purchasers (“End-Payers” or

      “Plaintiffs” or “EPPs”) of generic pharmaceutical drugs to secure injunctive relief and to recoup

      overcharges that resulted from an unlawful agreement among Defendants to allocate customers,

      rig bids, and fix, raise, and/or stabilize the prices of 165 generic pharmaceutical drugs beginning

      at least as early as May 2009. Together, these drugs are referred to herein as “Drugs at Issue.”

             2.       Defendants participated in an overarching conspiracy, the purpose of which was to

      raise prices and minimize competition in the generic drug industry for numerous generic drugs.

      This overarching conspiracy encompassed an agreement among all Defendants that covered all

      Drugs at Issue, and included subsidiary agreements among certain Defendants relating to

      individual Drugs at Issue.

             3.       The Drugs at Issue discussed in this complaint are listed alphabetically in Table 1.

                                             Table 1: Drugs at Issue

                                    Start
              Drug                                      Formulations                       Defendants1
                                    Date

                                             Cream                              Cream: Perrigo, Sandoz
1.   Adapalene                     8/2010    Gel                                Gel: Teva, Taro, Glenmark

     Alclometasone                           Cream
2.                                 4/2013                                       Sandoz, Taro, Glenmark
     Dipropionate                            Ointment

                                                                                Actavis, Par, Mylan, Dr.
3.   Allopurinol                   5/2014    Tablets (100, 300 mg)
                                                                                Reddy’s

4.   Amantadine HCL                12/2011   Capsules                           Sandoz, Upsher-Smith, Lannett

5.   Amiloride HCL/HCTZ            5/2011    Tablets                            Teva, Mylan



             1
                 Non-Defendant co-conspirators also are included here, marked by parentheses.

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                                          Cream
6.    Ammonium Lactate          4/2013                              Actavis, Perrigo, Taro
                                          Lotion

7.    Amoxicillin/Clavulanate   10/2014   Chewable tablets          Teva, Sandoz

                                                                    ER: Teva, Actavis, Impax
      Amphetamine Salts                   ER capsules (“MAS-XR”)
8.                              6/2011                              IR: Teva, Impax, Sandoz,
      (“MAS”) [Adderall]                  IR tablets (“MAS-IR”)
                                                                    Aurobindo, Mallinckrodt
                                          Tablets
9.    Atenolol Chlorthalidone   3/2014                              Actavis, Mylan
                                          (100-25, 50-25 mg)
10.   Atropine Sulfate          1/2010    Opthalmic solution (1%)   Bausch, Sandoz

                                          Oral suspension
11.   Azithromycin              11/2013                             Teva, Greenstone
                                          (100, 200 mg/5 ml)

12.   Balsalazide Disodium      11/2013   Capsules                  West-Ward, Apotex

                                          Ointment
      Betamethasone
13.                             10/2010   Cream                     Actavis, Taro, Sandoz, Perrigo
      Dipropionate
                                          Lotion

      Betamethasone
14.   Dipropionate              10/2010   Lotion                    Taro, Sandoz
      Augmented

      Betamethasone
                                          Cream
15.   Dipropionate              10/2010                             Actavis, Taro, Sandoz
                                          Lotion
      Clotrimazole

                                          Ointment
16.   Betamethasone Valerate    10/2010   Cream                     Actavis, Taro, Sandoz, G&W
                                          Lotion

17.   Bethanechol Chloride      10/2014   Tablets                   Teva, Amneal, Upsher-Smith

18.   Bromocriptine Mesylate    2/2013    Tablets                   Mylan, Sandoz, Perrigo

                                                                    Inhalation: Teva, Actavis,
                                          Inhalation
19.   Budesonide                2/2013                              Sandoz
                                          DR capsules
                                                                    DR capsules: Teva, Mylan, Par

20.   Bumetanide                4/2014    Tablets                   Teva, Sandoz


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21.   Buspirone HCL            7/2012    Tablets                          Teva, Mylan, Actavis

22.   Butorphanol Tartrate     12/2013   Nasal spray                      Mylan, West-Ward, Apotex

23.   Cabergoline              12/2014   Tablets                          Teva, Greenstone, Par

24.   Calcipotriene            6/2011    Solution (0.005%)                G&W, Impax, Sandoz

      Calcipotriene
25.   Betamethasone            2/2014    Ointment                         Perrigo, Sandoz
      Dipropionate

26.   Capecitabine             1/2014    Tablets                          Teva, Mylan

27.   Captopril                5/2013    Tablets (12.5, 25, 50, 100 mg)   Mylan, West-Ward, Wockhardt

                                                                          Chewable: Teva, Taro, Torrent
                                         Chewable tablets (100 mg)
                                                                          Tabs: Apotex, Teva, Taro,
28.   Carbamazepine            5/2009    Tablets (200 mg)
                                                                          Torrent
                                         ER tablets (200, 400 mg)
                                                                          ER tabs: Sandoz, Taro


29.   Carisoprodol             1/2011    Tablets (350 mg)                 Par, Actavis


                                         Capsules
30.   Cefdinir                 4/2013                                     Teva, Sandoz, Lupin
                                         Oral suspension

                                         Oral suspension (50 mg/100ml,
31.   Cefpodoxime Proxetil     1/2013    100mg/100ml)                     Aurobindo, Sandoz
                                         Tablets (100, 200 mg)

32.   Cefprozil                4/2013    Tablets                          Teva, Sandoz, Lupin

33.   Cefuroxime Axetil        12/2013   Tablets (250, 500 mg)            Lupin, Aurobindo, Citron

34.   Celecoxib                11/2014   Capsules                         Teva, Actavis

35.   Cephalexin               10/2013   Oral suspension                  Lupin, Teva

36.   Chlorpromazine HCL       7/2011    Tablets                          Sandoz, Upsher-Smith

                                         Powder
37.   Cholestyramine           4/2013                                     Sandoz, Par, Upsher-Smith
                                         Solid


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                                                                           Solution: G&W, Perrigo, Akorn,
                                                                           Sandoz
                                          8% Solution
                                                                           Cream: Perrigo, Glenmark,
38.   Ciclopirox                2/2012    Cream
                                                                           G&W
                                          Shampoo
                                                                           Shampoo: Actavis, Perrigo,
                                                                           Taro, Sandoz

39.   Cimetidine                6/2012    Tablets                          Teva, Mylan

40.   Ciprofloxacin HCL         8/2014    Tablets                          Teva, Actavis, Dr. Reddy's

41.   Clarithromycin            12/2013   ER tablets                       Actavis, Teva

42.   Clemastine Fumarate       8/2013    Tablets                          Teva, Sandoz

                                          Gel
                                          Lotion                           Sandoz, Greenstone, Perrigo,
43.   Clindamycin Phosphate     4/2012
                                          Solution                         Taro, Actavis
                                          Vaginal cream

44.   Clonidine TTS             9/2011    Patch                            Teva, Mylan, Actavis

45.   Clotrimazole              5/2014    Solution                         Teva, Taro

46.   Cyproheptadine HCL        6/2012    Tablets                          Teva, Breckenridge, Impax

47.   Desmopressin Acetate      8/2014    Tablets                          Teva, Actavis

      Desogestrel and Ethinyl
48.                             5/2014    Tablets                          Teva, Glenmark, Actavis
      Estradiol [Kariva]

49.   Desoximetasone            8/2012    Ointment                         Glenmark, Sandoz, Taro

      Dexmethylphenidate
50.                             2/2014    ER capsules (5, 15, 20, 40 mg)   Teva, Sandoz, Par
      HCL [Focalin]

                                                                           Tablets: Teva, Mallinckrodt,
      Dextroamphetamine                   Tablets                          Aurobindo
51.   Sulfate ER                6/2011
                                          Capsules                         Capsules: Teva, Mallinckrodt,
      (“Dex Sulfate XR”)
                                                                           Impax, Actavis

52.   Diclofenac Potassium      10/2012   Tablets                          Teva, Mylan, Sandoz



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53.   Dicloxacillin Sodium      4/2014    Capsules                       Teva, Sandoz

54.   Diflunisal                4/2014    Tablets                        Teva, (Rising)

55.   Diltiazem HCL             5/2013    Tablets (30, 60, 90, 120 mg)   Teva, Mylan

56.   Diphenoxylate Atropine    3/2014    Tablets                        Mylan, Greenstone

57.   Disopyramide Phosphate    6/2013    Capsules                       Teva, Actavis

                                                                         Teva, Mylan, Apotex, Par,
58.   Doxazosin Mesylate        5/2013    Tablets (1, 2, 4, 8 mg)
                                                                         Greenstone

      Drospirenone and
59.                             4/2013    Tablets                        Teva, Lupin, Actavis
      Ethinyl Estradiol

                                                                         Teva, Mylan, Taro, Wockhardt,
60.   Enalapril Maleate         7/2013    Tablets (2.5, 5, 10, 20 mg)
                                                                         Bausch

61.   Entecavir                 8/2014    Tablets                        Teva, Par

62.   Eplerenone                4/2014    Tablets                        Greenstone, Sandoz

63.   Erythromycin              5/2011    Solution                       Sandoz, Perrigo, Wockhardt

64.   Estazolam                 3/2014    Tablets                        Teva, Actavis

65.   Estradiol                 7/2012    Tablets (0.5, 1, 2 mg)         Teva, Mylan, Actavis

      Estradiol and
66.   Norethindrone Acetate     10/2013   Tablets                        Teva, Breckenridge
      [Mimvey]

67.   Ethambutol HCL            11/2012   Tablets                        G&W, Lupin

      Ethinyl Estradiol and
68.   Levonorgestrel [Portia    5/2012    Tablets                        Teva, Sandoz
      and Jolessa]

                                          Capsules
69.   Ethosuximide              7/2012                                   Teva, Akorn
                                          Oral solution




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                                                                          Caps: Apotex, Taro
                                         Capsules (200, 300 mg)
                                                                          Tabs: Teva, Sandoz, Taro,
70.   Etodolac                 5/2012    Tablets (400, 500 mg)
                                                                          Apotex
                                         ER tablets (400, 500, 600 mg)
                                                                          ER tabs: Teva, Taro, Zydus

                                                                          Greenstone, West-Ward,
71.   Exemestane               12/2013   Tablets (25 mg)
                                                                          Alvogen

                                                                          Teva, Mylan, Lupin, Zydus,
72.   Fenofibrate              3/2013    Tablets (48 and 145 mg)
                                                                          Perrigo

                                                                          Teva, Glenmark, Greenstone,
73.   Fluconazole              5/2013    Tablets (50, 100, 150, 200 mg)
                                                                          Citron, Dr. Reddy’s

                                         Cream                            Cream & Ointment: Sandoz,
74.   Fluocinolone Acetonide   1/2012    Ointment                         G&W, Teligent
                                         Solution                         Solution: Sandoz, Taro, Teligent

                                                                          Bausch, Glenmark, Perrigo,
75.   Fluocinonide             1/2014    Cream (0.1%)
                                                                          Sandoz, Taro

76.   Fluoxetine HCL           6/2014    Tablets                          Teva, Mylan, Par

77.   Flurbiprofen             7/2011    Tablets                          Teva, Mylan

78.   Flutamide                8/2014    Capsules                         Teva, Actavis, Par

                                                                          Nasal Spray: Apotex, West-
                                         Nasal spray                      Ward, Wockhardt, (Akorn)
79.   Fluticasone Propionate   3/2010
                                         Lotion                           Lotion: Glenmark, Perrigo,
                                                                          Sandoz

80.   Fluvastatin Sodium       4/2014    Capsules                         Teva, Mylan

81.   Gabapentin               10/2014   Tablets (600 and 800 mg)         Teva, Glenmark, Aurobindo

82.   Glimepiride              8/2014    Tablets                          Teva, Dr. Reddy's

                                         Suspension                       Suspension: Teva, Actavis
83.   Griseofulvin             9/2013
                                         Microsize tablets                Tablets: Sandoz, (Rising)




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                                          Cream
84.   Halobetasol Proprionate   8/2012                                        Perrigo, G&W, Sandoz, Taro
                                          Ointment

85.   Haloperidol               7/2013    Tablets (0.5, 1, 2, 5, 10, 20 mg)   Sandoz, Mylan, Zydus

86.   Hydrocortisone Acetate    6/2013    Suppositories                       G&W, Perrigo

87.   Hydrocortisone Valerate   10/2010   Cream                               Taro, Perrigo, G&W

88.   Hydroxyurea               3/2010    Capsules                            Teva, Par

89.   Hydroxyzine Pamoate       10/2013   Capsules                            Teva, Sandoz, Actavis, (Rising)

90.   Imiquimod                 2/2010    Cream                               Sandoz, Perrigo, Taro

91.   Irbesartan                3/2012    Tablets                             Teva, Lupin

92.   Isoniazid                 6/2013    Tablets                             Teva, Sandoz

93.   Isosorbide Dinitrate      3/2012    Tablets (5, 10, 20, 30 mg)          Sandoz, Par, West-Ward

                                                                              Cream: Teva, Sandoz, Taro,
                                          Cream                               G&W
94.   Ketoconazole              2/2014
                                          Tablets
                                                                              Tablets: Teva, Mylan, Taro

95.   Ketoprofen                9/2012    Capsules                            Teva, Mylan

96.   Ketorolac Tromethamine 10/2012      Tablets                             Teva, Mylan

                                                                              Teva, Sandoz, Par, Actavis,
97.   Labetalol HCL             4/2012    Tablets (100, 200, 300 mg)
                                                                              Alvogen

                                                                              Teva, Lupin, Aurobindo,
98.   Lamivudine/ Zidovudine    4/2012    Tablets
                                                                              Camber

                                                                              Bausch, Greenstone, Sandoz,
99.   Latanoprost               9/2011    Opthalmic solution
                                                                              (Akorn)

100. Lidocaine HCL              4/2012    5% Ointment                         Sandoz, Taro, Akorn

101. Loperamide HCL             7/2012    Capsules                            Teva, Mylan

102. Medroxyprogesterone        3/2013    Tablets                             Teva, Greenstone


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103. Metformin ER (F)        6/2015    Tablets (500, 1000 mg)    Actavis, Lupin

104. Methadone HCL           6/2014    Tablets (5 & 10 mg)       West-Ward, Mallinckrodt

105. Methazolamide           6/2014    Tablets                   Sandoz, Perrigo

106. Methotrexate Sodium     9/2012    Tablets                   Teva, Mylan, Par, West-Ward

                                                                 Tablets: Sandoz, Actavis, Sun,
                                       Tablets (5, 10, 20 mg)
107. Methylphenidate HCL     1/2013                              Mallinckrodt, Impax, Par
                                       ER tablets (20 mg)
                                                                 ER: Sandoz, Mallinckrodt

                                                                 Sandoz, Par, Breckenridge,
108. Methylprednisolone      2/2011    Tablets (4 mg)
                                                                 Greenstone, Cadista

                                       Cream
                                       Gel                       Teva, Sandoz, G&W, Taro,
109. Metronidazole           6/2011
                                       Lotion                    Impax, Bausch
                                       Vaginal cream

110. Moexipril HCL           5/2013    Tablets                   Teva, Glenmark

111. Moexipril HCL HCTZ      5/2013    Tablets                   Teva, Glenmark

                                       Cream
                                                                 Glenmark, Perrigo, G&W,
112. Mometasone Furoate      5/2013    Ointment
                                                                 Impax
                                       Solution

                                                                 Teva, Sandoz, Glenmark,
113. Nabumetone              5/2013    Tablets
                                                                 Actavis

                                                                 Teva, Mylan, Sandoz,
114. Nadolol                 7/2012    Tablets (20, 40, 80 mg)
                                                                 Greenstone

115. Nafcillin Sodium        12/2012   Injectable vials          Aurobindo, Sandoz

116. Naproxen Sodium         1/2015    Tablets (275, 550 mg)     Amneal, Glenmark

       Neomycin Polymyxin
117.                         3/2010    Otic solution             Bausch, Sandoz
       Hydrocortisone

118. Niacin                  3/2014    ER tablets                Teva, Lupin, Zydus

119. Nitrofurantoin          12/2010   Macrocrystal capsules     Teva, Mylan, Alvogen

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120. Norethindrone Acetate       9/2014    Tablets                     Teva, Amneal, Glenmark

       Norethindrone / Ethinyl
121.                             1/2014    Tablets                     Teva, Lupin
       Estradiol (Balziva)

       Nortriptyline
122.                             1/2011    Capsules                    Teva, Taro, Actavis
       Hydrochloride

       Nystatin Triamcinolone              Cream
123.                             11/2012                               Sandoz, Taro
       Acetonide                           Ointment

       Omega-3-Acid Ethyl
124.                             6/2014    Capsules                    Teva, Par, Apotex
       Esters

125. Oxacillin Sodium            12/2012   Injectable vials            Aurobindo, Sandoz

                                                                       Teva, Dr. Reddy's, Greenstone,
126. Oxaprozin                   6/2012    Tablets (600 mg)
                                                                       Sandoz

127. Oxybutynin Chloride         10/2011   Tablets                     Teva, Upsher-Smith, Par

128. Oxycodone HCL               10/2013   Tablets (5, 15, 30 mg)      Actavis, Mallinckrodt, Par, Sun

       Oxycodone/                                                      Actavis, Mallinckrodt, Alvogen,
129.                             8/2013    Tablets (5/7.5/10-325 mg)
       Acetaminophen                                                   Aurobindo, Par, Amneal

130. Paricalcitol                2/2014    Capsules                    Teva, Dr. Reddy’s, Zydus

                                                                       Teva, Sandoz, Aurobindo,
131. Penicillin V Potassium      1/2014    Tablets
                                                                       Greenstone

132. Pentoxifylline              8/2009    Tablets                     Teva, Mylan, Apotex, Bausch

133. Permethrin                  5/2010    Cream                       Actavis, Perrigo, Mylan

134. Perphenazine                7/2009    Tablets                     Sandoz, Par

135. Phenytoin Sodium            3/2014    ER capsules                 Mylan, Taro, Amneal, Sun

136. Pilocarpine HCL             1/2014    Tablets                     Actavis, Lannett, Impax

       Pioglitazone Metformin                                          Mylan, Teva, Aurobindo,
137.                             2/2013    Tablets
       HCL                                                             Sandoz, Torrent



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138. Piroxicam               4/2010    Capsules (10, 20 mg)             Teva, Mylan, Greenstone

                                                                        Actavis, Sandoz, Zydus, Mylan,
139. Potassium Chloride      7/2010    Tablets (8, 10, 20 mEq)
                                                                        Upsher-Smith

140. Prazosin HCL            10/2012   Capsules (1, 2, 5 mg)            Teva, Mylan

141. Prednisolone Acetate    7/2013    Ophthalmic suspension            Sandoz, Greenstone

                                                                        Actavis, West-Ward, Par,
142. Prednisone              5/2013    Tablets (1, 2.5, 5, 10, 20 mg)
                                                                        Cadista

                                                                        Suppositories: G&W, Perrigo
     Prochlorperazine                  Suppositories
143.                         1/2012                                     Tablets: Teva, Mylan, Sandoz,
     Maleate                           Tablets
                                                                        Cadista

                                                                        Actavis, G&W, Perrigo, Mylan,
144. Promethazine HCL        8/2012    Suppositories (12.5, 25 mg)
                                                                        Taro

145. Raloxifene HCL          9/2014    Tablets                          Teva, Camber

                                                                        Capsules: Dr. Reddy’s, Sandoz
                                       Capsules (150 & 300 mg)
146. Ranitidine HCL          11/2011                                    Tablets: Teva, Sandoz,
                                       Tablets (150 mg)
                                                                        Glenmark, Amneal

147. Silver Sulfadiazine     5/2012    Cream                            Actavis, Ascend

148. Spironolactone HCTZ     1/2013    Tablets                          Mylan, Sun, Greenstone

149. Tacrolimus              8/2014    Ointment (30, 60, 100 gm)        Sandoz, Perrigo

150. Tamoxifen Citrate       5/2012    Tablets (10, 20 mg)              Teva, Mylan, Actavis

151. Temozolomide            7/2013    Capsules                         Teva, Sandoz

152. Terconazole             4/2013    Vaginal cream (0.8%, 0.4%)       Actavis, Taro

153. Timolol Maleate         12/2013   Opthalmic Gel                    Sandoz, Bausch

                                                                        Sandoz, Mylan, Dr. Reddy's,
154. Tizanidine HCL          4/2013    Tablets (2 & 4 mg)
                                                                        Sun, Apotex

155. Tobramycin              10/2013   Inhalation solution              Teva, Sandoz


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       Tobramycin
156.                              9/2012     Opthalmic suspension                  Bausch, Sandoz
       Dexamethasone

157. Tolmetin Sodium              5/2013     Capsules                              Teva, Mylan

                                             Regular tablets
158. Tolterodine                  6/2012                                           Teva, Mylan, Greenstone
                                             ER tablets

159. Topiramate                   4/2014     Sprinkle capsules                     Teva, Actavis, Zydus

160. Trazodone HCL                4/2015     Tablets (50, 100, 150 mg)             Apotex, Par, Sun, Teva

                                                                                   Cream: Sandoz, Perrigo, Par,
                                             Cream                                 Taro, Ascend
       Triamcinolone
161.                              6/2010     Ointment
       Acetonide                                                                   Ointment: Sandoz, Perrigo, Taro
                                             Paste
                                                                                   Paste: Taro, (Rising)

                                                                                   Tablets: Actavis, Mylan, Sandoz,
                                             Tablets (37.5-25, 75-50 mg)           Apotex
162. Triamterene HCTZ             10/2011
                                             Capsules (37.5-25 mg)                 Capsules: Mylan, Sandoz,
                                                                                   Lannett

163. Trifluoperazine HCL          7/2013     Tablets (1, 2, 5, 10 mg)              Sandoz, Mylan, Upsher-Smith

164. Valsartan HCTZ               9/2012     Tablets                               Sandoz, Mylan

                                             Tablets
165. Warfarin Sodium              6/2014                                           Teva, Taro, Zydus, Amneal
                                             (1, 2, 2.5, 3, 4, 5, 6, 7.5, 10 mg)



               4.      In addition to the Drugs at Issue identified in this complaint, End-Payers have filed

        complaints alleging conspiratorial conduct relating to 30 other drugs involving nearly all of these

        Defendants.2 These existing cases are related to and are part of the same conspiracy alleged here.


               2
                 The EPP complaints for other drugs implicated in this MDL include: Albuterol (Case
        2:16-AL-27242-CMR, Doc. 109); Amitriptyline (Case 2:16-AM-27242-CMR, Doc. 101);
        Baclofen (Case 2:16-BC-27242-CMR, Doc. 107); Benazepril (Case 2:16-BZ-27242-CMR, Doc.
        89); Clobetasol (Case 2:16-CB-27242-CMR, Doc. 168); Clomipramine (Case 2:16-CM-27242-
        CMR, Doc. 134); Desonide (Case 2:16-DS-27242-CMR, Doc. 160); Digoxin (Case 2:16-DG-

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volume and frequency of inter-Defendant communication that occurred in furtherance of the

conspiracy is mind-boggling. Plaintiffs are aware of numerous direct and private telephone

communications between generic manufacturers, and discovery will likely uncover even more.

       8.      The purpose of Defendants’ unlawful “Fair Share” agreement was to fix, maintain

and stabilize prices—either for a particular generic drug or any number of generic drugs. In this

way, each entrant would benefit from coordination as a whole, even if a manufacturer did not seek

a market allocation for a particular drug. Defendants implemented the “Fair Share” agreement by

refusing to bid for a particular customer or by providing a pretextual bid that they knew would not

be successful. Defendants also frequently ceded customers to co-conspirators rather than compete

on price.

       9.      Defendants also agreed to raise prices for certain Drugs at Issue. Defendants were

able to raise, maintain or slow the decline of prices that would have been lower absent their

conspiratorial agreements.

       10.     The generic drug pricing described in this Complaint cannot be explained by

changes in supply, the costs of production, or demand, or any other competitive market feature.

Instead, the price levels were the result of an illegal agreement among Defendants to fix the prices

of the Drugs at Issue and not the result of free and fair market competition.

       11.     The generic pharmaceutical industry has a number of features that make it highly

susceptible to collusion. The markets for the Drugs at Issue were controlled by Defendants, and

are subject to high barriers to entry, including substantial manufacturing costs and regulatory

requirements. Each generic drug described in this Complaint is a commodity product, for which

reasonable substitutes are not available and demand is highly inelastic. Federal regulations require

generic products to contain the same type and amount of active pharmaceutical ingredient and to



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be therapeutically equivalent to one another. Interchangeability facilitates collusion, as cartel

members can easily monitor and detect deviations from a price-fixing or market allocation

agreement.

       12.     Because purchasers choose whose generic pharmaceutical product to buy based

primarily on price, and unilateral price increases generally result in loss of market share, it would

have been economically irrational for any one Defendant to raise its prices without assurance that

its competitors either would also increase prices or at least not compete on pricing.

       13.     Moreover, due to the regulated nature of the industry, generic pharmaceutical

manufacturers are typically able to determine in advance which manufacturers are coming in and

out of the market for a particular generic drug. Armed with that knowledge, Defendants were able

to reach a common understanding that each competitor would be entitled to a “Fair Share,”

meaning that each Defendant would be entitled to a percentage of the market for each generic drug

that it manufactures.

       14.     Defendants’ attendance at trade association meetings, conferences, and workshops

provided ample opportunities to agree on generic drug prices and allocate markets and customers.

As alleged in greater detail below, the sheer volume of industry meetings provided the perfect

opportunity for Defendants to implement and maintain their conspiracy, and evidence uncovered

in the pending governmental investigations confirms that Defendants availed themselves of this

opportunity. Defendants implemented their conspiracy through numerous meetings and

communications between and among their representatives, including at industry events such as the

Generic Pharmaceutical Association (“GPhA”) (now the Association for Accessible Medicines),

the National Association of Chain Drug Stores (“NACDS”), the Healthcare Distribution

Management Association (“HDMA”) (now the Healthcare Distribution Alliance) (“HDA”),



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       Sandoz                                    $195 million criminal fine

       Apotex                                    $24.1 million fine

       Taro                                      $205.6 million criminal fine

       Glenmark                                  Case pending

       Teva                                      Case pending



       19.    DOJ also has pursued criminal sanctions against a number of individuals for the

price-fixing of generic pharmaceuticals. In January 2017, two senior executives from Heritage—

Jeffrey Glazer and Jason Malek—pleaded guilty to Sherman Act violations arising from conduct

relating to the sale of Glyburide and Doxycycline Hyclate. Armando Kellum, Sandoz Director of

Contracts and Pricing, also has pleaded guilty to Sherman Act violations. Ara Aprahamian, former

Taro Vice President of Sales and Marketing, has been charged with criminal violations of the

Sherman Act and his trial is pending.

       20.    In addition to the non-prosecution agreements and guilty pleas, numerous other

Defendants named here have received criminal subpoenas in connection with the DOJ

investigation, including: Actavis Holdco U.S., Inc.; Aurobindo Pharma USA, Inc.; Citron Pharma

LLC; Dr. Reddy’s Laboratories, Inc.; Impax Laboratories, Inc.; Lannett Company, Inc.; Lupin

Pharmaceuticals, Inc.; Mallinckrodt plc; Mayne Pharma Inc.; Mylan Pharmaceuticals, Inc.; Par

Pharmaceutical, Inc.; Perrigo New York, Inc.; Pfizer, Inc.; Sun Pharmaceutical Industries, Inc.;

West-Ward Pharmaceuticals Corp.; and Zydus Pharmaceuticals USA, Inc.




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       21.     Further, at least two Defendants have been raided by federal authorities in

connection with the investigation. Perrigo disclosed that its offices were raided in 2017, and

Mylan’s Pennsylvania headquarters were raided by the FBI in the fall of 2016.4

       22.     Plaintiffs bring this action against Defendants on account of their past and ongoing

violations of Sections 1 and 3 of the Sherman Act (15 U.S.C. §§ 1, 3) and the state laws set forth

below. Plaintiffs bring this action both individually and on behalf of (a) a national injunctive class

of persons and entities in the United States and its territories who indirectly purchased, paid and/or

provided reimbursement for some or all of the purchase price of Drugs at Issue manufactured by

any Defendant, other than for resale, from at least May 2009 to the present (“Class Period”), and

(b) a damages class of persons and entities in the states and territories identified herein who

indirectly purchased, paid and/or provided reimbursement for some or all of the purchase price of

Drugs at Issue manufactured by any Defendant, other than for resale, from at least May 2009 to

the present.

       23.     The allegations herein are based on Plaintiffs’ personal knowledge as to their own

acts and on information and belief as to all other matters, such information and belief having been

informed by the investigation conducted by and under the supervision of Plaintiffs’

counsel. Plaintiffs believe that substantial additional evidentiary support will exist for the

allegations set forth herein after a reasonable opportunity for discovery. On behalf of themselves

and the classes they seek to represent, Plaintiffs allege as follows:




       4
          David McLaughlin & Drew Armstrong, Generic-Drug Companies to Face First
Charges in U.S. Probe, BLOOMBERG (Apr. 24, 2018),
https://www.bloomberg.com/news/articles/2018-04-24/generic-drug-companies-said-to-face-
first-charges-in-u-s-probe.

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                             II.     JURISDICTION AND VENUE

       24.      Plaintiffs bring Count One of this action under Section 16 of the Clayton Act (15

U.S.C. § 26) for injunctive relief and costs of suit, including reasonable attorneys’ fees, against

Defendants for the injuries sustained by Plaintiffs and the members of the Classes described herein

by reason of the violations of Sections 1 and 3 of the Sherman Act (15 U.S.C. §§ 1, 3).

       25.      This action is also instituted under the antitrust, consumer protection, and common

laws of various states and territories for damages and equitable relief, as described in Counts Two

through Four below.

       26.      Jurisdiction is conferred upon this Court by 28 U.S.C. §§ 1331 and 1337 and by

Section 16 of the Clayton Act (15 U.S.C. § 26). In addition, jurisdiction is conferred upon this

Court by 28 U.S.C. §§ 1332(d) and 1367.

       27.      Venue is proper in this District pursuant to 15 U.S.C. §§ 15(a) and 22 and 28 U.S.C

§§ 1391(b), (c), and (d); and § 1407 and MDL Order dated April 6, 2017 (ECF No. 291), and

because, during the Class Period, Defendants resided, transacted business, were found, or had

agents in this District, and a substantial portion of the affected interstate trade and commerce

described below has been carried out in this District. Venue is also proper in this District because

the federal grand jury investigating the pricing of generic drugs is empaneled here and therefore it

is likely that acts in furtherance of the alleged conspiracy took place here. According to DOJ

guidelines, an “investigation should be conducted by a grand jury in a judicial district where venue

lies for the offense, such as a district from or to which price-fixed sales were made or where

conspiratorial communications occurred.”5




       5
           DOJ, Antitrust Division Manual at III-83.

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       28.     This Court has personal jurisdiction over each Defendant because, inter alia, each

Defendant: (a) transacted business throughout the United States, including in this District; (b) sold

generic drugs throughout the United States, including in this District; (c) had substantial contacts

with the United States, including in this District; (d) was engaged in an illegal scheme and

nationwide price-fixing conspiracy that was directed at, had the intended effect of causing injury

to, and did cause injury to persons residing in, located in, or doing business throughout the United

States, including in this District; and/or (e) took overt action in furtherance of the conspiracy in

this District or conspired with someone who did, and by doing so could reasonably have expected

to be sued in this District. In addition, nationwide personal jurisdiction was authorized by Congress

pursuant to the Clayton Act and by 28 U.S.C. § 1407.

                                      III.    PLAINTIFFS

       29.     Plaintiffs 1199SEIU National Benefit Fund, 1199SEIU Greater New York Benefit

Fund, 1199SEIU National Benefit Fund for Home Care Workers, and 1199SEIU Licensed

Practical Nurses Welfare Fund are jointly administered health and welfare funds (collectively,

“1199SEIU Benefit Funds”). The 1199SEIU Benefit Funds are among the largest labor-

management funds in the nation, providing comprehensive health benefits to hundreds of

thousands of working and retired healthcare industry workers and their families. They provide

health and welfare benefits to 400,000 members, retirees, and their families, who reside in

numerous locations in the United States. During the Class Period, the 1199SEIU Benefit Funds

indirectly purchased and paid, not for resale, for some or all of the purchase price for numerous

Drugs at Issue manufactured by the Defendants. Plaintiffs made such payments and/or

reimbursements in numerous jurisdictions, thereby suffering injury to its business and property.

During the Class Period, the 1199SEIU Benefit Funds paid and reimbursed more for these products

than they would have absent Defendants’ anticompetitive conduct to fix, raise, maintain, and

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stabilize the prices and allocate markets and customers for those products. As a result of the alleged

conspiracy, the 1199SEIU Benefit Funds were injured in their business or property by reason of

the violations of law alleged herein. The 1199SEIU Benefit Funds intend to continue purchasing

and/or reimbursing for these drugs and will continue to be injured unless the Defendants are

enjoined from their unlawful conduct as alleged herein.

       30.     Plaintiff American Federation of State, County and Municipal Employees District

Council 37 Health & Security Plan (“DC 37”) is a health and welfare benefit plan headquartered

in New York, New York. District Council 37 (the “Union”) is New York City’s largest public

employee union. The Union includes 51 local unions, representing public sector employees serving

in thousands of job titles from Accountants to Zoo Keepers. Members covered by DC 37’s benefit

plan work in almost every agency in New York City, including but not limited to the City’s police

and fire departments, hospitals, schools, libraries, social service centers, water treatment facilities,

and city colleges. DC 37 provides supplemental health benefits, including a prescription drug

benefit, to approximately 313,000 individuals, including both active members and their families

and 50,000 retirees, who reside in numerous locations in the United States. During the Class

Period, DC 37 indirectly purchased and paid, other than for resale, for some or all of the purchase

price for numerous Drugs at Issue manufactured by the Defendants. Plaintiff made such payments

and/or reimbursements in numerous jurisdictions, thereby suffering injury to its business and

property. During the Class Period, DC 37 paid and reimbursed more for these products than it

would have absent Defendants’ anticompetitive conduct to fix, raise, maintain, and stabilize the

prices and allocate markets and customers for those products. As a result of the alleged conspiracy,

DC 37 was injured in its business or property by reason of the violations of law alleged herein. DC




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37 intends to continue purchasing and/or reimbursing for these drugs and will continue to be

injured unless the Defendants are enjoined from their unlawful conduct as alleged herein.

       31.     Plaintiff Louisiana Health Service & Indemnity Company d/b/a Blue Cross and

Blue Shield of Louisiana and HMO Louisiana, Inc. is a not-for-profit mutual insurance company

organized and existing under the laws of the state of Louisiana. HMO Louisiana, Inc. (“HMOLA”)

is a domestic health maintenance organization licensed to conduct business in the state of

Louisiana and is a wholly owned subsidiary of Louisiana Health Service & Indemnity Company

(collectively, “BCBS-LA”). BCBS-LA provides health insurance coverage to over one million

members who reside in numerous locations in the United States and also provides third party

administrative (“TPA”) services for self-funded employee health plans. During the Class Period,

BCBS-LA indirectly purchased and paid, not for resale, for some or all of the purchase price for

numerous Drugs at Issue manufactured by the Defendants. Plaintiff made such payments and/or

reimbursements in numerous jurisdictions, thereby suffering injury to its business and property.

During the Class Period, BCBS-LA paid and reimbursed more for these products than it would

have absent Defendants’ anticompetitive conduct to fix, raise, maintain, and stabilize the prices

and allocate markets and customers for those products. As a result of the alleged conspiracy,

BCBS-LA was injured in its business or property by violations of law alleged herein. BCBS-LA

intends to continue purchasing and/or reimbursing for these drugs and will continue to be injured

unless the Defendants are enjoined from their unlawful conduct as alleged herein.

       32.     Plaintiff Self-Insured Schools of California (“SISC”) is a Joint Powers Authority

under California law that serves the interests of California public schools. It is headquartered in

Bakersfield, California. It provides pharmacy benefits to approximately 260,000 members who

reside in numerous locations in the United States. During the Class Period, SISC indirectly



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purchased and paid, other than for resale, for some or all of the purchase price for numerous Drugs

at Issue manufactured by the Defendants. Plaintiff made such payments and/or reimbursements in

numerous jurisdictions, thereby suffering injury to its business and property. During the Class

Period, SISC paid and reimbursed more for these products than it would have absent Defendants’

anticompetitive conduct to fix, raise, maintain, and stabilize the prices and allocate markets and

customers for those products. As a result of the alleged conspiracy, SISC was injured in its business

or property by reason of the violations of law alleged herein. SISC intends to continue purchasing

and/or reimbursing for these drugs and will continue to be injured unless the Defendants are

enjoined from their unlawful conduct as alleged herein.

       33.     Sergeants Benevolent Association Health and Welfare Fund (“SBA Fund”) is a

citizen of the State of New York and has its principal place of business at 35 Worth Street, New

York, New York. SBA Fund is an independent labor organization operating under Internal

Revenue Code section 501(c)(5) and is sponsored and administered by a Board of Trustees. As

such, SBA Fund is a legal entity entitled to bring suit in its own name. SBA Fund is an “employee

welfare benefit plan” and an “employee benefit plan” with membership of approximately 4,700

active and 7,600 retired sergeants of the New York City Police Department. It provides

comprehensive health care benefits, including prescription drug benefits, to participants and their

dependents. During the Class Period, SBA Fund indirectly purchased and paid, other than for

resale, for some or all of the purchase price for numerous Drugs at Issue manufactured by the

Defendants. Plaintiff made such payments and/or reimbursements in numerous jurisdictions,

thereby suffering injury to its business and property. During the Class Period, SBA Fund paid and

reimbursed more for these products than it would have absent Defendants’ anticompetitive conduct

to fix, raise, maintain, and stabilize the prices and allocate markets and customers for these



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products. As a result of the alleged conspiracy, SBA Fund was injured in its business or property

by reason of the violations of law alleged herein. SBA Fund intends to continue paying and/or

reimbursing for these drugs and will continue to be injured unless the Defendants are enjoined

from their unlawful conduct as alleged herein.

                                     IV.     DEFENDANTS

        A.      Actavis Defendants

        34.     Defendant Actavis Holdco U.S., Inc. (“Actavis Holdco”) is a Delaware corporation

with its principal place of business in Parsippany, New Jersey. In August 2016, Teva

Pharmaceuticals USA, Inc. acquired the Actavis Generics business of Allergan plc, including

Actavis, Inc. Upon the acquisition, Actavis, Inc.—the acquired Allergan plc generics operating

company (formerly known as Watson Pharmaceuticals)—was renamed Allergan Finance, LLC,

which in turn assigned all of the assets and liabilities of the former Allergan plc generic business

to the newly formed Actavis Holdco, including subsidiaries Actavis Pharma, Inc. and Actavis

Elizabeth LLC (a research, development and manufacturing entity for Actavis generic operations),

among others. Actavis Holdco is a wholly-owned subsidiary of Teva Pharmaceuticals USA, Inc.,

which is a Delaware corporation with its principal place of business in North Wales, Pennsylvania.

Teva Pharmaceuticals USA, Inc. is a wholly-owned subsidiary of Teva Pharmaceuticals Industries

Ltd., an Israeli entity.

        35.     Defendant Actavis Pharma, Inc. (“Actavis Pharma”) is Delaware corporation with

its principal place of business in Parsippany, New Jersey. It is a wholly-owned subsidiary of

Actavis Holdco and is a principal operating company in the U.S. for Teva’s generic products

acquired from Allergan plc. It manufactures, markets, and/or distributes generic drugs. Actavis

Pharma is registered with the Pennsylvania Department of State as a foreign corporation and

maintains a registered agent in Pennsylvania.

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       36.     Actavis Elizabeth LLC (“Actavis Elizabeth”) is a Delaware limited liability

company with its principal place of business in Elizabeth, New Jersey. It is a wholly-owned

subsidiary of Actavis Holdco and is a research, development and manufacturing entity for Actavis

generic operations.

       37.     Unless addressed individually, Actavis Holdco, Actavis Pharma and Actavis

Elizabeth are collectively referred to herein as “Actavis.” During the Class Period, Actavis

marketed and sold generic pharmaceuticals in this District and throughout the United States.

       B.      Akorn Defendants

       38.     Defendant Akorn, Inc. is a Louisiana corporation with its principal place of

business in Lake Forest, Illinois. It is the parent company of Hi-Tech Pharmacal Co., Inc. and

Akorn Sales, Inc.

       39.     Defendant Akorn Sales, Inc. is a Delaware corporation. It is a wholly-owned

subsidiary of Akorn, Inc. It is registered with the Pennsylvania Department of State as a foreign

corporation and maintains a registered agent in Pennsylvania.

       40.     Defendant Hi-Tech Pharmacal Co., Inc. (“Hi-Tech”) is a Delaware corporation with

its principal place of business in Amityville, New York. It is a wholly-owned subsidiary of Akorn,

Inc. Akorn, Inc. acquired and integrated Hi-Tech into its operations in April 2014.

       41.     Defendant Versapharm, Inc. is a Georgia corporation with its principal place of

business in Marietta, GA. It is a wholly-owned subsidiary of Akorn, Inc. Versapharm was acquired

by Akorn, Inc. in August 2014.

       42.     Unless addressed individually, Akorn, Inc., Akorn Sales, Inc., Hi-Tech and

Versapharm are collectively referred to herein as “Akorn.” During the Class Period, Akorn

marketed and sold generic pharmaceuticals in this District and throughout the United States.



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        43.     On May 20, 2020, Akorn filed for bankruptcy. By operation of 11 U.S. Code § 362,

further action against Akorn is enjoined. Accordingly, Akorn is not named as a Defendant with

respect to those claims that have been added by amendment to this complaint and EPPs do not

seek to hold Akorn accountable for those claims either arising from its own conduct or as joint and

several liability.

        C.      Alvogen

        44.     Defendant Alvogen Inc. is a Delaware corporation with its principal place of

business in Pine Brook, New Jersey. It is a privately held company that was founded in 2009 by a

former CEO of Defendant Actavis. During the Class Period, Alvogen marketed and sold generic

pharmaceuticals in this District and throughout the United States.

        D.      Amneal Defendants

        45.     Defendant Amneal Pharmaceuticals, Inc. is a Delaware corporation with its

principal place of business in Bridgewater, New Jersey. It is the parent company of Defendant

Amneal Pharmaceuticals LLC.

        46.     Defendant Amneal Pharmaceuticals, LLC is a Delaware limited liability company

with its principal place of business in Bridgewater, New Jersey. Amneal Pharmaceuticals LLC is

registered with the Pennsylvania Department of State as a foreign corporation and maintains a

registered agent in Pennsylvania.

        47.     Unless addressed individually, Amneal Pharmaceuticals, Inc. and Amneal

Pharmaceuticals, LLC are collectively referred to as “Amneal.” During the Class Period, Amneal

marketed and sold generic pharmaceuticals in this District and throughout the United States.




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       E.      Apotex

       48.     Defendant Apotex Corp. (“Apotex”) is a Delaware corporation with its principal

place of business in Weston, Florida. During the Class Period, Apotex marketed and sold generic

pharmaceuticals in this District and throughout the United States.

       F.      Ascend

       49.     Defendant Ascend Laboratories, LLC (“Ascend”) is a New Jersey limited liability

company with its principal place of business in Parsippany, New Jersey. It is a wholly-owned

subsidiary of Alkem Labs, an Indian pharmaceutical company. During the Class Period, Ascend

marketed and sold generic pharmaceuticals in this District and throughout the United States.

       G.      Aurobindo

       50.     Defendant Aurobindo Pharma USA, Inc. (“Aurobindo”) is a Delaware corporation

with its principal place of business in Dayton, New Jersey. Aurobindo is a subsidiary of Aurobindo

Pharma Limited, a corporation based in Hyderabad, India. During the Class Period, Aurobindo

marketed and sold generic pharmaceuticals in this District and throughout the United States.

       H.      Bausch Defendants

       51.     Defendant Bausch Health Americas, Inc. (formerly Valeant Pharmaceuticals

International, Inc.) is a Delaware corporation with its US headquarters located in Bridgewater,

New Jersey.

       52.     Bausch Health US, LLC (formerly Valeant Pharmaceuticals North America LLC)

is a Delaware limited liability company with its principal place of business in Bridgewater, New

Jersey. Bausch Health US is registered with the Pennsylvania Department of State as a foreign

corporation and maintains a registered agent in Pennsylvania.




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       53.     Defendant Oceanside Pharmaceuticals, Inc. (“Oceanside”) is a wholly-owned

subsidiary of Bausch Health Americas, Inc. It is a Delaware corporation with its principal place of

business in Bridgewater, New Jersey.

       54.     Unless addressed individually, Bausch Health Americas, Bausch Health USA,

Oceanside and Valeant are collectively referred to as “Bausch.” During the Class Period, Bausch

marketed and sold generic pharmaceuticals in this District and throughout the United States.

       I.      Breckenridge

       55.     Defendant Breckenridge Pharmaceuticals, Inc. (“Breckenridge”) is a Delaware

corporation with its headquarters in Boca Raton, Florida. During the Class Period, Breckenridge

marketed and sold generic pharmaceuticals in this District and throughout the United States.

       J.      Cadista

       56.     Defendant Jubilant Cadista Pharmaceuticals Inc. (“Cadista”) is a Delaware

corporation with its principal place of business in Salisbury, Maryland. It is a wholly-owned

subsidiary of Jubilant Life Sciences Company, an Indian pharmaceutical company. Cadista is

registered with the Pennsylvania Department of State as a foreign corporation and maintains a

registered agent in Pennsylvania. During the Class Period, Cadista marketed and sold generic

pharmaceuticals in this District and throughout the United States.

       K.      Camber

       57.     Defendant Camber Pharmaceuticals, Inc. (“Camber”) is a Delaware corporation

with its principal place of business in Piscataway, New Jersey. Camber is a wholly-owned

subsidiary of Hetero Drugs, an Indian pharmaceutical company. During the Class Period, Camber

marketed and sold generic pharmaceuticals in this District and throughout the United States.




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          L.     Citron

          58.    Citron Pharma, LLC (“Citron”) is a New Jersey limited liability company with its

principal place of business in East Brunswick, New Jersey. The operating assets of Citron were

acquired in December 2016 by co-conspirator Rising Pharmaceuticals Inc., which is a subsidiary

of Aceto Corp. During the Class Period, Citron marketed and sold generic pharmaceuticals in this

District and throughout the United States.

          M.     Dr. Reddy’s

          59.    Dr. Reddy’s Laboratories, Inc. (“Dr. Reddy’s”) is a New Jersey corporation with

its principal place of business in Princeton, New Jersey. It is a wholly-owned subsidiary of Dr.

Reddy’s Laboratories Ltd., which is an Indian company with its principal place of business in

Hyderabad, Telangana, India. Dr. Reddy’s is registered with the Pennsylvania Department of State

as a foreign corporation and maintains a registered agent in Pennsylvania. During the Class Period,

Dr. Reddy’s marketed and sold generic pharmaceuticals in this District and throughout the United

States.

          N.     Epic

          60.    Defendant Epic Pharma, LLC (“Epic”) is a Delaware limited liability company with

its principal place of business in Laurelton, New York. During the Class Period, Epic marketed

and sold generic pharmaceuticals in this District and throughout the United States.

          O.     Glenmark

          61.    Defendant Glenmark Pharmaceuticals Inc., USA (“Glenmark”) is a Delaware

corporation with its principal place of business in Mahwah, New Jersey. It is a wholly-owned

subsidiary of Glenmark Pharmaceuticals Ltd., headquartered in Mumbai, India. During the Class

Period, Glenmark marketed and sold generic pharmaceuticals in this District and throughout the

United States.

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       P.      Greenstone Defendants

       62.     Defendant Pfizer, Inc. (“Pfizer”) is a Delaware corporation that is headquartered in

New York, New York. Pfizer is registered with the Pennsylvania Department of State as a foreign

corporation and maintains a registered agent in Pennsylvania. Pfizer is the parent company of

Defendant Greenstone LLC.

       63.     Defendant Greenstone LLC (“Greenstone”) is a Delaware limited liability company

with its principal place of business in Peapack, New Jersey. It is a wholly-owned subsidiary of

Pfizer. Greenstone operates out of Pfizer’s Peapack, New Jersey campus. A majority of

Greenstone’s employees—including its President—also are employees of Pfizer’s Essential

Health Division. Greenstone employees use Pfizer for financial analysis, human resources and

employee benefit purposes, making the two companies essentially indistinguishable.

       64.     Unless addressed individually, Greenstone and Pfizer are collectively referred to

herein as “Greenstone.” During the Class Period, Greenstone marketed and sold generic

pharmaceuticals in this District and throughout the United States.

       Q.      G&W

       65.     Defendant G&W Laboratories, Inc. (“G&W”) is a New Jersey corporation with its

principal place of business in South Plainfield, New Jersey. During the Class Period, G&W

marketed and sold generic pharmaceuticals in this District and throughout the United States.

       R.      Heritage

       66.     Defendant Heritage Pharmaceuticals, Inc. (“Heritage”) is a Delaware corporation

with its principal place of business in Eatontown, New Jersey. It is the exclusive United States

commercial operation for Emcure Pharmaceuticals Ltd., an Indian company headquartered in

Pune, India. During the Class Period, Heritage marketed and sold generic pharmaceuticals in this

District and throughout the United States.

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       S.      Impax

       67.     Defendant Impax Laboratories, LLC (“Impax”) is a Delaware limited liability

company that is the successor entity of Impax Laboratories, Inc. As of May 2018, Impax merged

with Amneal and became a wholly-owned subsidiary of Defendant Amneal Pharmaceutical, LLC.

During the relevant period, Impax’s generics division was called Global Pharmaceuticals

(“Global”). Impax is registered with the Pennsylvania Department of State as a foreign corporation

and maintains a registered agent in Pennsylvania. During the Class Period, Impax marketed and

sold generic pharmaceuticals in this District and throughout the United States.

       T.      Lannett

       68.     Defendant Lannett Company, Inc. (“Lannett”) is a Delaware corporation with its

principal place of business in Philadelphia, Pennsylvania. Lannett is registered with the

Pennsylvania Department of State as a foreign corporation. During the Class Period, Lannett

marketed and sold generic pharmaceuticals in this District and throughout the United States.

       U.      Lupin

       69.     Defendant Lupin Pharmaceuticals, Inc. (“Lupin”) is a Delaware corporation with

its principal place of business in Baltimore, Maryland. It is a wholly-owned subsidiary of Lupin

Ltd., an Indian company with its principal place of business in Mumbai, India. Lupin is registered

with the Pennsylvania Department of State as a foreign corporation and maintains a registered

agent in Pennsylvania. During the Class Period, Lupin marketed and sold generic pharmaceuticals

in this District and throughout the United States.

       V.      Mallinckrodt

       70.     Defendant Mallinckrodt Inc. is a Delaware corporation with its principal place of

business in Webster Groves, Missouri. As a result of a tax inversion acquisition, as of 2013 it is a

wholly-owned subsidiary of Mallinckrodt plc, which is based in the United Kingdom.

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Mallinckrodt is registered with the Pennsylvania Department of State as a foreign corporation and

maintains a registered agent in Pennsylvania. During the Class Period, Mallinckrodt marketed and

sold generic pharmaceuticals in this District and throughout the United States.

       W.        Mayne

       71.       Defendant Mayne Pharma Inc. is a Delaware corporation with its principal place of

business in Raleigh, North Carolina. Mayne is registered with the Pennsylvania Department of

State as a foreign corporation and maintains a registered agent in Pennsylvania. In 2012, Mayne

acquired Metrics, Inc. and its division, Midlothian Laboratories, and has also operated under the

name Midlothian since that time. In 2013, Mayne acquired Libertas Pharma. Unless addressed

individually, Metrics, Inc., Midlothian Laboratories, Libertas Pharma and Mayne Pharma Inc. are

collectively referred to herein as “Mayne.” During the Class Period, Mayne marketed and sold

generic pharmaceuticals in this District and throughout the United States.

       X.        Mylan Defendants

       72.       Defendant Mylan Inc. is a Pennsylvania corporation with its principal place of

business in Canonsburg, Pennsylvania.

       73.       Defendant Mylan Pharmaceuticals, Inc. is a West Virginia corporation with its

principal place of business in Morgantown, West Virginia. It is a subsidiary of Mylan Inc. Mylan

Pharmaceuticals, Inc. is registered with the Pennsylvania Department of State as a foreign

corporation and maintains a registered agent in Pennsylvania.

       74.       Mylan Inc. and Mylan Pharmaceuticals, Inc. are wholly-owned subsidiaries of

Mylan N.V., a Dutch pharmaceutical company. Unless addressed individually, Mylan Inc. and

Mylan Pharmaceuticals, Inc. are collectively referred to herein as “Mylan.” During the Class

Period, Mylan marketed and sold generic pharmaceuticals in this District and throughout the

United States.

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       Y.        Par Defendants

       75.       Defendant Par Pharmaceutical, Inc. (“PPI”) is a New York corporation with its

principal place of business in Chestnut Ridge, New York. PPI is registered with the Pennsylvania

Department of State as a foreign corporation and maintains a registered agent in Pennsylvania.

       76.       Defendant Generics Bidco I, LLC (“Generics Bidco”) is a Delaware limited

liability company with its principal place of business in Huntsville, Alabama. Generics Bidco

formerly conducted business as Qualitest Pharmaceuticals (“Qualitest”).

       77.       Defendant DAVA Pharmaceuticals, LLC (“DAVA”) is a Delaware limited liability

company with its principal place of business in Fort Lee, New Jersey.

       78.       PPI, Generics Bidco and DAVA are wholly-owned subsidiaries of Endo

International plc (“Endo”), an Irish corporation with its principal place of business located in

Dublin, Ireland and its U.S. headquarters located in Malvern, Pennsylvania. PPI, Generics Bidco

and DAVA collectively do business as Par Pharmaceutical. Unless addressed individually, Endo,

PPI, Generics Bidco, DAVA and Qualitest are collectively referred to herein as “Par.” During the

Class Period, Par marketed and sold generic pharmaceuticals in this District and throughout the

United States.

       Z.        Perrigo

       79.       Defendant Perrigo New York, Inc. (“Perrigo”) is a Delaware corporation with its

executive offices in Allegan, Michigan and its primary business location in Bronx, NY. It is a

subsidiary of Perrigo Company plc, an Irish company with its principal place of business in Dublin,

Ireland. Perrigo is registered with the Pennsylvania Department of State as a foreign corporation

and maintains a registered agent in Pennsylvania. During the Class Period, Perrigo marketed and

sold generic pharmaceuticals in this District and throughout the United States.



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       AA.     Sandoz Defendants

       80.     Defendant Sandoz Inc. is a Colorado corporation with its principal place of business

in Princeton, New Jersey. Sandoz is a subsidiary of Novartis AG, a global pharmaceutical company

based in Basel, Switzerland. Sandoz is registered with the Pennsylvania Department of State as a

foreign corporation and maintains a registered agent in Pennsylvania.

       81.     Defendant Fougera Pharmaceuticals Inc. (“Fougera”) is a New York corporation

with its principal place of business in Melville, New York. Foguera is a wholly-owned subsidiary

of Defendant Sandoz, Inc. In 2012, Sandoz acquired and integrated Fougera into its US-based

generic pharmaceutical business.

       82.     Unless addressed individually, Fougera and Sandoz Inc. are collectively referred to

herein as “Sandoz.” During the Class Period, Sandoz marketed and sold generic pharmaceuticals

in this District and throughout the United States.

       BB.     Sun Defendants

       83.     Defendant Sun Pharmaceutical Industries, Inc. (“SPII”) is a Michigan corporation

with its principal place of business in Cranbury, New Jersey. SPII is a wholly-owned subsidiary

of Sun Pharmaceutical Industries Ltd. (“Sun Pharma”), an Indian corporation, which also owns a

majority stake in Taro Pharmaceutical Industries, Ltd., and Taro’s U.S. subsidiary, Taro

Pharmaceutical USA, Inc. Beginning in 1997, Sun Pharma began a series of investments in Caraco

Pharmaceutical Laboratories Ltd. (“Caraco”) and in 2013 acquired 100% of Caraco and merged it

into SPII to become Sun Pharma’s US operations for generic pharmaceutical products. In late

2012, SPII acquired URL Pharma, Inc. (“URL”) and its subsidiary, Mutual Pharmaceutical

Company, Inc. (“Mutual”), both of which have their principal place of business in Philadelphia,

PA. Until at least June 2016, URL and Mutual operated a pharmaceutical manufacturing facility

in Philadelphia. URL was registered with the Pennsylvania Department of State as a foreign

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corporation and maintained a registered agent in Pennsylvania during the Class Period until April

28, 2015, at which time it was merged with Mutual.

       84.     Defendant Mutual is a Delaware corporation with its principal place of business

located in Philadelphia, PA. It is a wholly-owned subsidiary of SPII. Since April 29, 2015 (the day

after Mutual and URL merged), Mutual has been registered with the Pennsylvania Department of

State as a foreign corporation and maintains a registered agent in Pennsylvania. Many of the

pharmaceutical products sold and distributed throughout the United States during the Class Period

by SPII, URL and Mutual were marked with the trade name “MUTUAL” on the pill or capsule.

       85.     Unless addressed individually, SPII, URL, Mutual and Caraco are collectively

referred to herein as “Sun.” During the Class Period, Sun marketed and sold generic

pharmaceuticals in this District and throughout the United States.

       CC.     Taro

       86.     Defendant Taro Pharmaceuticals USA, Inc. (“Taro”) is a New York corporation

with its principal place of business in Hawthorne, New York. Taro is a wholly-owned subsidiary

of Taro Pharmaceutical Industries, Ltd., an Israeli entity, which in turn is majority owned by Sun

Pharma. During the Class Period, Taro marketed and sold generic pharmaceuticals in this District

and throughout the United States.

       DD.     Teligent

       87.     Defendant Teligent, Inc. (“Teligent”) is a Delaware corporation with its principal

place of business in Buena, New Jersey. Teligent is registered with the Pennsylvania Department

of State as a foreign corporation and maintains a registered agent in Pennsylvania. Teligent was

known as IGI Laboratories, Inc. until 2015. During the Class Period, Teligent sold generic

pharmaceuticals in this District and throughout the United States.



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        EE.     Teva Defendants

        88.     Defendant Teva Pharmaceuticals USA, Inc. (“Teva USA”) is a Delaware

corporation with its principal place of business in North Wales, Pennsylvania. It is a subsidiary of

Teva Pharmaceutical Industries Ltd., an Israeli entity. Teva USA is registered with the

Pennsylvania Department of State as a foreign corporation and maintains a registered agent in

Pennsylvania.

        89.     Defendant Barr Pharmaceuticals, LLC (“Barr”) is a Delaware limited liability

company with its principal place of business in North Wales, Pennsylvania. Barr is a wholly-

owned subsidiary of Teva USA, which acquired Barr (then called Barr Pharmaceuticals, Inc.) in

2008.

        90.     Defendant PLIVA, Inc. is a New Jersey corporation with its principal place of

business in East Hanover, New Jersey. PLIVA is a wholly-owned subsidiary of Teva USA, which

acquired the PLIVA assets as part of the Barr acquisition.

        91.     Unless addressed individually, Teva USA, Barr and PLIVA are collectively

referred to herein as “Teva.” During the Class Period, Teva sold generic pharmaceuticals in this

District and throughout the United States.

        FF.     Torrent

        92.     Defendant Torrent Pharma Inc. (“Torrent”) is a Delaware corporation with its

principal place of business in Basking Ridge, New Jersey. Torrent is registered with the

Pennsylvania Department of State as a foreign corporation and maintains a registered agent in

Pennsylvania. It is a wholly-owned subsidiary of Torrent Pharmaceuticals Ltd., an Indian

pharmaceutical company. During the Class Period, Torrent sold generic pharmaceuticals in this

District and throughout the United States.



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       GG.     Upsher-Smith

       93.     Defendant Upsher-Smith Laboratories, LLC (“Upsher-Smith”) is a Minnesota

limited liability company with its principal place of business in Maple Grove, Minnesota. It is

wholly owned by Sawai Pharmaceutical Co., Ltd. (“Sawai”), a large publicly traded generic

pharmaceutical company in Japan. Sawai acquired Upsher-Smith Laboratories, Inc. in June 2017.

During the Class Period, Upsher-Smith sold generic pharmaceuticals to customers in this District

and throughout the United States.

       HH.     West-Ward Defendants

       94.     Defendant West-Ward Columbus, Inc. is a Delaware corporation with its principal

place of business in Eatontown, New Jersey.

       95.     Defendant Hikma Pharmaceuticals USA, Inc. is a Delaware corporation with its

principal place of business in Eatontown, New Jersey.

       96.     Defendant Hikma Labs, Inc. (formerly Roxane Laboratories, Inc.) is a Nevada

corporation with its principal place of business in Eatontown, New Jersey.

       97.     Defendants West-Ward Columbus, Hikma Pharmaceuticals USA and Hikma Labs

are subsidiaries of Hikma Pharmaceuticals PLC (“Hikma”), a London-based global

pharmaceutical company. Unless addressed individually, these Hikma subsidiaries are collectively

referred to herein as “West-Ward.” During the Class Period, West-Ward marketed and sold generic

pharmaceuticals in this District and throughout the United States.

       II.     Wockhardt Defendants

       98.     Defendant Wockhardt USA LLC is a Delaware limited liability company with its

principal place of business in Parsippany, New Jersey. It is a wholly-owned subsidiary of Morton

Grove Pharmaceuticals, Inc.



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       99.     Defendant Morton Grove Pharmaceuticals, Inc. (“Morton Grove”) is a Delaware

corporation with its principal place of business in Morton Grove, Illinois. It is a wholly-owned

subsidiary of Wockhardt Ltd., a pharmaceutical and biotechnology company headquartered in

Mumbai, India. Morton Grove is registered with the Pennsylvania Department of State as a foreign

corporation and maintains a registered agent in Pennsylvania.

       100.    Unless addressed individually, Wockhardt and Morton Grove are collectively

referred to herein as “Wockhardt.” During the Class Period, Wockhardt marketed and sold generic

pharmaceuticals in this District and throughout the United States.

       JJ.     Zydus

       101.    Defendant Zydus Pharmaceuticals (USA), Inc. (“Zydus”) is a New Jersey

corporation with its principal place of business in Pennington, New Jersey. It is a subsidiary of

Cadila HealthCare, an Indian company headquartered in Mumbai. Zydus is registered with the

Pennsylvania Department of State as a foreign corporation and maintains a registered agent in

Pennsylvania. During the Class Period, Zydus marketed and sold generic pharmaceuticals in this

District and throughout the United States.

                                 V.     CO-CONSPIRATORS

       A.      Rising

       102.    Rising Pharmaceuticals, Inc. (“Rising”) is a Delaware corporation with its principal

place of business in East Brunswick, New Jersey. Rising is a wholly-owned subsidiary of Aceto

Corp., which, along with Rising, filed for bankruptcy in 2019. On December 3, 2019, the

Department of Justice announced that Rising entered into a deferred prosecution agreement

relating to a felony price-fixing charge and that Rising has agreed to cooperate with the ongoing

DOJ investigation into generic pharmaceutical price fixing.



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        B.      Unknown Co-Conspirators

        103.    Various other persons, firms, corporations, and entities have participated as co-

conspirators with Defendants in the violations and conspiracy alleged herein. In order to engage

in the violations alleged herein, these co-conspirators have performed acts and made statements in

furtherance of the antitrust violations and conspiracies alleged herein. Plaintiffs may amend this

Complaint to allege the names of additional co-conspirators as they are discovered.

                  VI.     DEFENDANTS’ OVERARCHING CONSPIRACY

        104.    Defendants have participated in a long-running conspiracy to allocate market shares

and to fix, raise and/or stabilize the prices of the Drugs at Issue.

        105.    As detailed below, Defendants facilitated their conspiracy through personal

connections formed through frequent movement within the industry, through frequent in-person

meetings at various happy hours, dinners, lunches, golf outings, trade shows, and industry

conferences, and through frequent direct communications in person, via chat and email, and on the

telephone (both voice and text).

        106.    Inter-defendant communications were commonplace in the industry and date as far

back as 2006. Starting in at least May 2009, if not before, Defendants implemented anti-

competitive agreements to increase the prices and allocate the markets of at least the Drugs at

Issue, and possibly many more.

        107.    The foundational agreement between all Defendants was premised on the

understanding that they are current or future competitors with each other across numerous generic

drugs. All of these Defendants market and sell multiple products. The effectiveness of an

agreement on any one drug would be limited and unstable without a broader agreement that

encompassed other drugs as well. For example, an agreement between two Defendants to raise

prices or to allocate market share on one drug would not likely hold where those same two

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Defendants engaged in vigorous price competition on another drug, or where a third manufacturer

not party to that agreement entered the market with an intent to compete on price. Therefore,

Defendants understood that in order to be effective, their agreement needed to extend to multiple

manufacturers and drugs.

       108.    In furtherance of that objective, Defendants developed the concept of “Fair Share,”

in which each market participant (within and across multiple drugs) was able to obtain an allocated

share of market sales without resorting to free and fair price competition. Because Defendants are

repeat players who routinely enter new markets but face the same competitors, their basic

agreement—to eschew price competition and seek only a “Fair Share” of the market—became the

“rules of the road” that governed their overarching conspiracy. As described more fully below,

Defendants’ decisions whether and if so when to enter a market, how to price their drugs, and

which customers to target were made in accordance with their unlawful “Fair Share” agreement.

       109.    From this broad agreement among all Defendants to market and sell the Drugs at

Issue under a “Fair Share” understanding, sprang subsidiary agreements among the manufacturing

Defendants relating to each of the Drugs at Issue.

       110.    The higher prices and overcharges for Drugs at Issue that resulted from Defendants’

anticompetitive conduct are directly traceable through the pharmaceutical distribution chain to

End-Payers.

       111.    The drug-specific agreements involve only those Defendants that marketed and

sold the relevant Drug at Issue during the Class Period. But each Defendant, including the

Defendants who did not manufacture the particular drug involved in each drug-specific agreement,

was a party to the broader, overarching conspiracy to abide by the “Fair Share” agreement covering




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all Drugs at Issue. The purpose and effect of these agreements was to lessen competition in the

markets for each of the Drugs at Issue.

       112.    Both the “Fair Share” agreement and the drug-specific agreements created a web

of relationships and understandings among and between all Defendants that had the purpose and

effect of lessening competition among Defendants for all the Drugs at Issue.

       A.      Defendants Are Competitors or Potential Competitors for All Drugs at Issue.

       113.    All Defendants are competitors or potential competitors with each other for every

Drug at Issue. As described below, far more Defendants had the right (i.e., regulatory approval) to

sell the Drugs at Issue than actually did so during the Class Period. And all Defendants could have

obtained approval or otherwise acquired marketing rights (by, e.g., licensing) to sell the Drugs at

Issue, had they chosen to do so.

       114.    Although the process for obtaining approval to sell a generic drug can be long,

Defendants were able to obtain and did obtain numerous ANDAs covering the Drugs at Issue. The

core function of Defendants’ businesses is to market and sell generic pharmaceuticals and,

accordingly, Defendants are highly adept at obtaining access to the markets for generic

pharmaceuticals, including the Drugs at Issue.

       115.    Defendants gain access to generic pharmaceutical markets through at least three

methods, all of which were employed by Defendants during the relevant time frame. First,

Defendants can go through the ANDA process to obtain approval from the FDA to sell a specific

drug. Second, Defendants can obtain existing ANDAs by purchasing them from companies that

have ANDAs, or by acquiring the company that owns them. Third, Defendants can license the use

of an ANDA held by someone else.

       116.    The ANDAs owned or licensed by Defendants for Drugs at Issue demonstrate the

extent to which these Defendants can and do access the markets for generic drugs and highlight

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that Defendants have the resources and ability to access the market for any Drug at Issue.6

       B.      The Principles of “Playing Fair” and “Fair Share” Governed Defendants’
               Interactions.

       117.    In a competitive generic drug market, new market entrants typically price their

product below the prevailing market price in order to gain market share.7 As a result, each

subsequent entry into a generic market tends to decrease the market prices as manufacturers

compete for market share. As discussed in detail below, this did not happen for the Drugs at Issue

because Defendants used their “fair play” and “Fair Share” agreement to coordinate market share

and pricing.

       118.    Because application for entry into a generic market is a public process, Defendants

know which manufacturers have approval to manufacture a generic drug and approximately when

they will enter the market. This creates an incentive and opportunity to coordinate pricing and

allocate the market among competitors in order to maintain pricing levels and maximize profit.

       119.    The practice of contacting competitors to determine their market intentions—

whether through in-person meetings, telephone communications, or other interactions—is a long-

standing and common industry practice.

       120.    Defendants understood and engaged in the practice of contacting their competitors

when they were preparing to enter a particular generic market so that they could reach agreements



       6
          The FDA Orange Book (available at https://www.fda.gov/drugs/drug-approvals-and-
databases/approved-drug-products-therapeutic-equivalence-evaluations-orange-book) lists
current and discontinued ANDAs for all Drugs at Issue. “Discontinued” ANDAs can be re-
activated with relative ease. See Kurt R. Karst, “Waking From a Drug Coma: How to Bring a
Drug Out of Discontinued Status – It’s As Easy As 1, 2, 3 . . . 4, and 5,” available at
http://www.fdalawblog.net/2015/09/waking-from-a-drug-coma-how-to-bring-a-drug-out-of-
discontinued-status-its-as-easy-as-1-2-3-4-and-5/.
        7
          U.S. Government Accountability Office Report: Generic Drugs Under Medicare (“GAO
Report”) at 23, (August 2016), available at https://www.gao.gov/assets/680/679022.pdf.

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       C.      Defendants’ Conspiracy Spanned Multiple Drugs and Manufacturers

       128.    The concept of Fair Share was not limited to a specific drug. Rather, the concept of

Fair Share extended across (at least) the Drugs at Issue. Defendants that “played fair” and

maintained a Fair Share would benefit from the overarching conspiracy as a whole, even if

Defendants would occasionally “lose out” on one specific drug. For example, customers for one

generic drug were sometimes traded for customers for a different generic drug so that Fair Shares

could be allocated across the larger market. In other instances, competitors would support a price

increase for one drug with the understanding that their competitors would support a price increase

for a different drug. Defendants who undercut other Defendants’ prices were seen as “not playing

fair” and “punishing” a competitor, which was contrary to the Fair Share agreement.

       129.    Although many of the allegations in this Complaint highlight the drug-specific

conduct and price-fixing agreements between manufacturers of certain drugs, it is clear that

Defendants also reached a broader Fair Share agreement that spanned the Drugs at Issue. A few

specific examples—elaborated in detail in the States’ Complaint—highlight the overarching nature

of Defendants’ Fair Share agreement.

               1.     Example 1: Nisha Patel and Teva’s Systematic Price Fixing

       130.    In April 2013, Defendant Teva hired Nisha Patel as its Director of Strategic

Customer Marketing. As the States’ Complaint makes plain, Patel’s “strategy” primarily focused

on a widespread effort to implement collusive price increases on numerous drugs manufactured

by numerous manufacturers. Before joining Teva, Patel worked at a large drug wholesaler,

working her way up to Director of Global Generic Sourcing. During her time at the wholesaler,

Patel developed and maintained relationships with many sales and marketing executives at Teva’s

competitors. Teva hired Patel for the express purpose of strengthening Teva’s relationships with

other manufacturers in order to maintain prices and to implement price increases.

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       131.    On May 1, 2013, Patel began creating a spreadsheet with a list of “Price Increase

Candidates.” In a separate tab of the spreadsheet, she rated Teva’s “Quality of Competition” by

assigning companies into several categories, including “Strong Leader/Follower,” “Lag Follower,”

“Borderline,” and “Stallers.”

       132.    As she was creating the list, Patel was talking to competitors to determine their

willingness to increase prices and adjusted the ratings accordingly. For example, in one of her first

conversations with another manufacturer after joining Teva, Patel learned that Sandoz would

follow Teva’s price increases and would not poach Teva’s customers after Teva price increases.

Sandoz was thus rated as one of Teva’s highest “quality” competitors. Patel and Teva based many

anticompetitive decisions on this understanding with Sandoz over the next several years.

       133.    By May 6, 2013, Patel created an initial rating of fifty-six (56) different

manufacturers in the generic drug market by their “quality.” Patel defined “quality” by her

assessment of whether a manufacturer would agree to lead or follow price increases. The rating

system was a scale from +3 for the “highest quality” manufacturer to a -3 ranking for the “lowest

quality” manufacturer.

       134.    Patel used her rating system, in conjunction with other market factors, to identify

drugs that were candidates for price increases. The best candidates (aside from a drug where Teva

was the sole supplier) were drugs where there was only one other “high quality” manufacturer in

the market. Drug markets with several “low quality” competitors were less desirable candidates

for price increases.

       135.    Patel’s systematic approach to collusive pricing was understood and authorized by

her supervisors and executives at Teva, including Maureen Cavanaugh (Senior Vice President of

Sales and Marketing) and David Rekenthaler (Vice President of Sales).



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       136.    Approximately one year after her initial set of “competitor” ratings, on May 9,

2014, Patel updated her ratings of the various manufacturers. The updates took into account Teva’s

work over the prior year to expand and solidify agreements with numerous manufacturers,

including many Defendants here. Some manufacturers had a high-quality rating throughout the

entire relevant time period, while other competitors’ ratings increased after successfully colluding

with Teva on one or more drugs.

       137.    The breadth of Patel’s list—56 manufacturers—and Teva’s systematic effort to

maintain and strengthen the Fair Share agreement across all of them, even those with “low” quality

rankings, underscores the overarching and multi-drug aspect of Defendants’ conspiracy.

       138.    For example, Apotex was one of the “lowest” rated manufacturers in May 2013. A

year later, Apotex’s rating was adjusted to +2. Apotex made this jump in large part due to Patel’s

relationship with B.H., National Sales Director at Apotex, and the successful coordination between

Apotex and Teva in 2013 on Pravastatin and Doxazosin Mesylate price increases.

       139.    Notably, Apotex’s low rating in 2013 does not indicate that it was not colluding

with Teva—or other manufacturers—during that period. Quite the contrary. For example,

Apotex’s B.H., National Sales Director, communicated with more than just Nisha Patel; she also

communicated with M.B., a Director of National Accounts at Actavis, at least as early as May

2011 and numerous times thereafter. Apotex’s B.H. also communicated with M.D., a Vice

President of Sales at Cadista, at least as early as February 2012, and with C.M., a Director of

National Accounts at Aurobindo, at least as early as May 2013.

       140.    Other Apotex employees also communicated with generic manufacturers

notwithstanding its “low quality” rating by Patel in 2013. For example, at least as early as 2010,

J.V., Apotex’s Vice President of Retail Sales, communicated with (at least) D.D., the Senior



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National Account Manager at Defendant Impax. Almost as soon as Apotex hired J.H., a new Senior

Vice President and General Manager, in April 2013, Teva’s Rekenthaler began to communicate

directly with him by phone, and did so throughout 2013 (and thereafter). That same Apotex SVP

also communicated by phone with individuals at (at least) Defendants Actavis, Aurobindo and Par

during 2013, and additional Defendants in 2014.

               2.     Example 2: Price Fixing of Multiple Drugs All at Once

       141.    Defendants’ businesses—and their anticompetitive agreements with each other—

were not siloed by drug. Rather, all Defendants market and sell multiple generic drugs, many of

which also are marketed and sold by various other manufacturers. Defendants thus are repeat

players that compete on any number of drugs and can expect to compete on additional drugs as

their portfolios expand. Accordingly, Defendants’ agreements to fix, raise or stabilize the prices

of Drugs at Issue often were coordinated across groups or portfolios of overlapping drugs.

       142.    For example, Teva orchestrated and implemented price increases (effective July 31,

2012) for at least seven drugs all at once: Buspirone HCL, Estradiol, Labetalol HCL, Loperamide,

Nadolol, Nitrofurantoin and Tamoxifen Citrate. Teva’s Rekenthaler and Kevin Green (Director of

National Accounts) communicated with the other manufacturers of those drugs (which included

Mylan, Sandoz, Actavis and Alvogen). Rekenthaler communicated by phone with A.S., the Vice

President of Sales at Actavis, twice on July 11, 2012. Green spoke to P.K., Director of National

Accounts at Sandoz, on July 29 and July 31, 2012 and to Jim Nesta (Vice President of National

Accounts at Mylan) on July 23, 24, 25, 26, 30, and 31, 2012. Nesta (Mylan) spoke with B.H.,

Executive Vice President of Sales at Alvogen, on a number of occasions in April, May, June and

July 2012. Teva’s Green also spoke to the Alvogen EVP in April 2012.

       143.    Similarly, Teva and Glenmark coordinated pricing on at least six drugs all at once

in the spring of 2013. On May 2, 2013, Patel spoke to P.D., an Executive Vice President at

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Glenmark, several times. Those two manufacturers worked out pricing agreements on Adapalene,

Nabumetone, Pravastatin, Ranitidine, Moexipril and Moexipril HCTZ. Other Defendants,

including Amneal, Apotex, Lupin, Sandoz, Taro and Zydus manufactured at least one of these

drugs. During the week preceding and the week following Patel’s discussions with the Glenmark

EVP, contacts between and among all of the manufacturers also took place. For example, Teva’s

Rekenthaler communicated by phone with S.R., Vice President of Sales at Amneal, and with J.H.,

SVP and General Manager at Apotex. Teva’s Green communicated with multiple sales personnel

at Zydus and with David Berthold, the Vice President of Sales at Lupin. Mitchell Blashinsky, Vice

President of Sales at Glenmark, spoke with Ara Aprahamian (Vice President of Sales at Taro) as

well as additional contacts at Taro. This series of communications and agreements is an example

of Defendants’ broader, coordinated anticompetitive conduct, which involved overlapping webs

of communications in furtherance not only of the drug-specific price-fixing agreements that they

reached, but also of the Fair Share agreement that spanned multiple drugs.

               3.     Example 3: Collusion on Drugs that Manufacturers Did Not Sell

       144.    All Defendants market and sell numerous drugs and are in the business of adding

new drugs to their product offerings. This means that they regularly enter new drug markets. It

also means that new competitors sometimes enter the markets that they already occupy. Thus,

during the relevant period, each Defendant was a potential competitor of every other Defendant.

Accordingly, each Defendant had an interest in the conduct and pricing of their co-conspirators

relating to drugs that they did not (at least at that juncture) market or sell. Monitoring co-

conspirator conduct served at least two purposes. First, it provided each Defendant with

information about whether and the extent to which co-conspirators were abiding by their

anticompetitive agreements. The rating system for 56 manufacturers compiled by Teva’s Nisha

Patel is another manifestation of the same interest. Second, by monitoring co-conspirator conduct,

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each Defendant was able to ascertain when and where supracompetitive prices were in place and

likely to hold, which provided an incentive and opportunity for them to enter that market. Without

some confidence that the Fair Share agreement would hold across drugs, it was less likely that

each Defendant would abide by it for any single drug.

        145.    The States’ Complaint demonstrates that Defendants’ interest in drugs beyond

those that each of them sold was not merely theoretical. For example, after Teva and Mylan

coordinated a number of price increases in the summer of 2013, Sandoz sought to obtain a

“comprehensive list of items” subject to those price increases, even as to drugs that Sandoz did not

sell. P.K., a Director of National Accounts at Sandoz, reached out to Rekenthaler at Teva to obtain

a copy of the Teva price increase list, including drugs that Sandoz did not sell. During the same

period, D.L., another Director of National Accounts at Sandoz, reached out to Nesta at Mylan, and

asked him to identify all of Mylan’s price increases. Nesta complied, and provided the Sandoz

Director with a list that included at least one drug—Haloperidol—on which Mylan had not yet

raised its price.

                4.     Example 4: Widespread Sharing of Competitively Sensitive
                       Confidential Information

        146.    In competitive generic drug markets, manufacturers battle with each other to win

customers by offering a better price. For the Drugs at Issue, Defendants turned their competitors

into allies and their customers into the enemies. The foremost and common goal of all Defendants

was to charge their customers higher prices for Drugs at Issue than they would have been able to

do in a competitive environment. To tilt the field in their own favor, Defendants communicated

extensively. The free flow of information, including competitively sensitive and confidential

information, allowed Defendants to develop relationships that were then used to effectuate

enormous price increases.


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       149.    Moreover, many of the personnel employed by Defendants have worked at multiple

companies—including other Defendants—during their careers. These employees maintained

contact with people at their prior employers. In turn, this facilitated the ease with which

conspiratorial agreements could be reached. Among Defendants, this familiarity spawned

collusion.

       150.    Defendants’ geographic proximity to each other—at least 41 different generic drug

manufacturers are concentrated between the New York City and Philadelphia metropolitan areas—

facilitated Defendants’ frequent in-person meetings at “industry dinners” and other social events.

These events provided Defendants with additional opportunities to collude.

       151.    Defendants also had almost constant opportunities to conspire and interact with

each other at trade shows and customer conferences and such contacts were commonplace and

encouraged by industry executives. See Exhibit A (Trade Association Contacts).

       152.    But trade shows were not the only place where Defendant personnel communicated

with one another. Defendants also had their own events and activities that presented numerous

opportunities for sharing competitive information.

       153.    For instance, certain sales representatives, including those employed by

Defendants, regularly met for what was referred to as “Girls Night Out” (“GNO”) or “Women in

the Industry” meetings or dinners which were used as a place to meet with competitors and discuss

competitively sensitive information.

       E.      Defendants Frequently Communicated Directly and Privately As Part of the
               Overarching Conspiracy.

       154.    In addition to their regular meetings in person, Defendants used text messages,

phone calls, and messages passed through third-party services such as LinkedIn to facilitate their

conspiratorial communications.


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       155.     For example, every Defendant named in this Complaint communicated directly by

telephone with multiple other Defendants. The following table shows some (and almost certainly

not all, given the preliminary stage of discovery in this litigation) of the private and direct inter-

Defendant communications between sales, marketing and executive personnel at Defendants.

                    Table 2: Widespread Inter-Defendant Communications

      Defendant        Direct Phone Communication between May 2009 and March 2016
                      Akorn, Alvogen, Amneal, Apotex, Ascend, Aurobindo, Bausch,
                      Breckenridge, Cadista, Camber, Citron, Dr. Reddy’s, Epic, Glenmark,
    Actavis           Greenstone, G&W, Heritage, Impax, Lannett, Mallinckrodt, Mayne,
                      Mylan, Par, Perrigo, Rising, Sandoz, Sun, Taro, Teligent, Teva, Torrent,
                      Upsher-Smith, West-Ward, Wockhardt, Zydus
                      Actavis, Alvogen, Amneal, Apotex, Aurobindo, Bausch, Camber, Epic,
    Akorn             Glenmark, Greenstone, Impax, Lannett, Mallinckrodt, Mayne, Par,
                      Perrigo, Sandoz, Taro, Teva, West-Ward, Wockhardt
                      Actavis, Akorn, Amneal, Apotex, Aurobindo, Bausch, Breckenridge,
    Alvogen           Citron, Dr. Reddy’s, Epic, G&W, Heritage, Impax, Lannett, Mylan, Par,
                      Sandoz, Taro, Teva, Upsher-Smith, Wockhardt, Zydus
                      Actavis, Akorn, Alvogen, Ascend, Aurobindo, Breckenridge, Cadista,
                      Citron, Dr. Reddy’s, Glenmark, G&W, Heritage, Impax, Lannett,
    Amneal
                      Mallinckrodt, Mylan, Par, Perrigo, Sandoz, Taro, Teva, Torrent, Upsher-
                      Smith, West-Ward, Zydus
                      Actavis, Akorn, Alvogen, Ascend, Aurobindo, Cadista, Citron, Dr.
    Apotex            Reddy’s, Glenmark, Greenstone, Heritage, Impax, Lupin, Mallinckrodt,
                      Par, Perrigo, Rising, Sandoz, Taro, Teva, Torrent, Upsher-Smith, Zydus
                      Actavis, Amneal, Apotex, Aurobindo, Breckenridge, Camber, Citron,
    Ascend            Dr. Reddy’s, Epic, Glenmark, Heritage, Lannett, Par, Sun, Taro, Teva,
                      West-Ward
                      Actavis, Akorn, Alvogen, Amneal, Apotex, Ascend, Breckenridge,
                      Cadista, Camber, Citron, Dr. Reddy’s, Glenmark, Greenstone, G&W,
    Aurobindo         Heritage, Lannett, Lupin, Mallinckrodt, Mayne, Mylan, Par, Perrigo,
                      Rising, Sandoz, Sun, Taro, Teligent, Teva, Torrent, Upsher-Smith,
                      West-Ward, Wockhardt, Zydus
                      Actavis, Akorn, Alvogen, Aurobindo, Breckenridge, Citron, Glenmark,
    Bausch            G&W, Heritage, Lannett, Mallinckrodt, Perrigo, Sandoz, Wockhardt,
                      Zydus




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               Actavis, Alvogen, Amneal, Ascend, Aurobindo, Bausch, Cadista,
               Camber, Citron, Glenmark, Greenstone, G&W, Heritage, Impax,
Breckenridge
               Lannett, Lupin, Par, Perrigo, Sandoz, Sun, Taro, Teligent, Teva, Upsher-
               Smith, Wockhardt
               Actavis, Akorn, Amneal, Apotex, Aurobindo, Breckenridge, Dr.
               Reddy’s, Glenmark, G&W, Heritage, Impax, Lannett, Lupin, Mylan,
Cadista
               Par, Perrigo, Rising, Sandoz, Sun, Teva, West-Ward, Wockhardt,
               Upsher-Smith, Zydus
               Actavis, Akorn, Amneal, Ascend, Aurobindo, Breckenridge, Citron, Dr.
Camber         Reddy’s, Glenmark, G&W, Impax, Lannett, Lupin, Mallinckrodt,
               Mayne, Par, Sandoz, Sun, Taro, Teva, Upsher-Smith, Wockhardt, Zydus
               Actavis, Alvogen, Amneal, Apotex, Ascend, Aurobindo, Bausch,
               Breckenridge, Camber, Dr. Reddy’s, Glenmark, Greenstone, G&W,
Citron
               Heritage, Impax, Lannett, Lupin, Par, Perrigo, Sandoz, Sun, Taro, Teva,
               Torrent, Upsher-Smith, Zydus
               Actavis, Alvogen, Amneal, Apotex, Ascend, Aurobindo, Cadista,
               Camber, Citron, Glenmark, Greenstone, G&W, Heritage, Impax,
Dr. Reddy’s
               Lannett, Lupin, Mallinckrodt, Mayne, Mylan, Par, Perrigo, Rising,
               Sandoz, Sun, Taro, Teva, Upsher-Smith, West-Ward, Wockhardt, Zydus
               Actavis, Akorn, Alvogen, Ascend, Lannett, Perrigo, Sun, Torrent, West-
Epic
               Ward
               Actavis, Akorn, Amneal, Apotex, Ascend, Aurobindo, Breckenridge,
               Cadista, Camber, Citron, Dr. Reddy’s, Greenstone, G&W, Heritage,
Glenmark
               Impax, Lannett, Lupin, Mallinckrodt, Par, Perrigo, Rising, Sandoz, Sun,
               Taro, Teva, Torrent, West-Ward, Wockhardt, Zydus
               Actavis, Akorn, Apotex, Aurobindo, Breckenridge, Citron, Dr. Reddy’s,
Greenstone     Glenmark, G&W, Heritage, Impax, Lannett, Lupin, Mylan, Par, Perrigo,
               Sandoz, Teva, Zydus
               Actavis, Alvogen, Amneal, Aurobindo, Bausch, Breckenridge, Cadista,
               Camber, Citron, Dr. Reddy’s, Glenmark, Greenstone, Heritage, Impax,
G&W
               Lannett, Lupin, Mallinckrodt, Mylan, Par, Perrigo, Sandoz, Sun, Taro,
               Teligent, Teva, Torrent, Upsher-Smith, Wockhardt, Zydus
               Actavis, Alvogen, Amneal, Apotex, Ascend, Aurobindo, Bausch,
               Breckenridge, Cadista, Citron, Dr. Reddy’s, Glenmark, Greenstone,
Heritage
               G&W, Lannett, Lupin, Mallinckrodt, Mayne, Mylan, Par, Sandoz, Sun,
               Teligent, Taro, Teva, Torrent, Upsher-Smith, West-Ward, Wockhardt
               Actavis, Akorn, Alvogen, Amneal, Apotex, Breckenridge, Cadista,
               Camber, Citron, Dr. Reddy’s, Glenmark, Greenstone, G&W, Lannett,
Impax
               Lupin, Mylan, Par, Perrigo, Sandoz, Sun, Taro, Teligent, Upsher-Smith,
               Wockhardt, Zydus



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                     Actavis, Alvogen, Amneal, Ascend, Aurobindo, Bausch, Breckenridge,
                     Cadista, Camber, Citron, Dr. Reddy’s, Epic, Glenmark, Greenstone,
   Lannett           G&W, Heritage, Impax, Lupin, Mallinckrodt, Mayne, Mylan, Par,
                     Perrigo, Sandoz, Sun, Taro, Teligent, Teva, Upsher-Smith, West-Ward,
                     Wockhardt, Zydus
                     Actavis, Akorn, Apotex, Aurobindo, Breckenridge, Camber, Cadista,
                     Citron, Dr. Reddy’s, Glenmark, G&W, Heritage, Impax, Lannett,
   Lupin
                     Mallinckrodt, Mylan, Par, Sandoz, Sun, Teva, Torrent, Wockhardt,
                     Zydus
                     Actavis, Akorn, Amneal, Apotex, Aurobindo, Bausch, Camber, Dr.
   Mallinckrodt      Reddy’s, Glenmark, G&W, Heritage, Lannett, Lupin, Mylan, Perrigo,
                     Sandoz, Taro, Teligent, Upsher-Smith, West-Ward, Wockhardt
                     Actavis, Akorn, Aurobindo, Camber, Dr. Reddy’s, Heritage, Lannett,
   Mayne
                     Mylan, Perrigo, Sun, Taro, Teva, Upsher-Smith
                     Actavis, Alvogen, Amneal, Aurobindo, Cadista, Dr. Reddy’s,
                     Greenstone, G&W, Heritage, Impax, Lannett, Lupin, Mallinckrodt,
   Mylan
                     Mayne, Par, Perrigo, Sandoz, Taro, Teva, Upsher-Smith, West-Ward,
                     Zydus
                     Actavis, Akorn, Alvogen, Amneal, Apotex, Ascend, Aurobindo,
                     Breckenridge, Cadista, Camber, Citron, Dr. Reddy’s, Glenmark,
   Par               Greenstone, G&W, Heritage, Impax, Lannett, Mylan, Perrigo, Sandoz,
                     Sun, Taro, Teligent, Teva, Torrent, Upsher-Smith, West-Ward,
                     Wockhardt, Zydus
                     Actavis, Akorn, Amneal, Apotex, Aurobindo, Bausch, Breckenridge,
                     Cadista, Citron, Dr. Reddy’s, Epic, Glenmark, Greenstone, G&W,
   Perrigo
                     Heritage, Impax, Lannett, Mallinckrodt, Mayne, Mylan, Par, Sandoz,
                     Sun, Taro, Teligent, Upsher-Smith, West-Ward, Wockhardt, Zydus
                     Actavis, Apotex, Aurobindo, Cadista, Dr. Reddy’s, Glenmark, Sandoz,
   Rising8
                     Taro, Teva, Upsher-Smith, West-Ward, Zydus
                     Actavis, Akorn, Alvogen, Amneal, Apotex, Aurobindo, Bausch,
                     Breckenridge, Cadista, Camber, Citron, Dr. Reddy’s, Glenmark,
   Sandoz            Greenstone, G&W, Heritage, Impax, Lannett, Lupin, Mallinckrodt,
                     Mylan, Par, Perrigo, Rising, Taro, Teva, Upsher-Smith, West-Ward,
                     Wockhardt, Zydus
                     Actavis, Ascend, Aurobindo, Breckenridge, Cadista, Camber, Citron,
   Sun               Dr. Reddy’s, Epic, Glenmark, G&W, Heritage, Impax, Lannett, Lupin,
                     Mayne, Par, Perrigo, Taro, Teva, Upsher-Smith, West-Ward, Zydus



         8
         Rising, although not named as a Defendant in this complaint, was a co-conspirator in
the alleged conspiracy and therefore is included here.

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                      Actavis, Akorn, Alvogen, Amneal, Apotex, Ascend, Aurobindo,
                      Breckenridge, Citron, Dr. Reddy’s, Glenmark, G&W, Heritage, Impax,
   Taro
                      Lannett, Mallinckrodt, Mayne, Mylan, Par, Perrigo, Rising, Sandoz,
                      Sun, Teligent, Teva, West-Ward, Wockhardt
                      Actavis, Aurobindo, Breckenridge, Glenmark, G&W, Heritage, Impax,
   Teligent
                      Lannett, Mallinckrodt, Par, Perrigo, Taro, Teva, West-Ward, Wockhardt
                      Actavis, Akorn, Alvogen, Amneal, Apotex,          Ascend, Aurobindo,
                      Breckenridge, Cadista, Camber, Citron, Dr.        Reddy’s, Glenmark,
   Teva               Greenstone, G&W, Heritage, Lannett, Lupin,        Mayne, Mylan, Par,
                      Rising, Sandoz, Sun, Taro, Teligent, Torrent,     Upsher-Smith, West-
                      Ward, Wockhardt, Zydus
                      Actavis, Apotex, Amneal, Aurobindo, Citron, Epic, Glenmark, G&W,
   Torrent
                      Heritage, Lupin, Par, Teva, Zydus
                      Actavis, Alvogen, Amneal, Apotex, Aurobindo, Breckenridge, Cadista,
                      Camber, Citron, Dr. Reddy’s, G&W, Heritage, Impax, Lannett,
   Upsher-Smith
                      Mallinckrodt, Mayne, Mylan, Par, Perrigo, Rising, Sandoz, Sun, Teva,
                      Wockhardt
                      Actavis, Akorn, Amneal, Ascend, Aurobindo, Cadista, Dr. Reddy’s,
   West-Ward          Epic, Glenmark, G&W, Heritage, Lannett, Mallinckrodt, Mylan, Par,
                      Perrigo, Rising, Sandoz, Sun, Taro, Teligent, Teva, Wockhardt
                      Actavis, Akorn, Alvogen, Aurobindo, Bausch, Breckenridge, Cadista,
                      Camber, Dr. Reddy’s, Glenmark, G&W, Heritage, Impax, Lannett,
   Wockhardt
                      Lupin, Mallinckrodt, Par, Perrigo, Sandoz, Taro, Teligent, Teva,
                      Upsher-Smith, West-Ward, Zydus
                      Actavis, Alvogen, Amneal, Apotex, Aurobindo, Bausch, Cadista,
   Zydus              Camber, Citron, Dr. Reddy’s, Glenmark, Greenstone, G&W, Lannett,
                      Lupin, Mylan, Par, Perrigo, Rising, Sandoz, Sun, Teva, Wockhardt


       156.    The above catalog of inter-defendant phone contacts is by no means complete. It is

clear, however, even from the incomplete information available to date, that direct

communications between Defendants were commonplace during the conspiracy period.

     VII.     DEFENDANTS CONSPIRED TO FIX PRICES, ALLOCATE MARKETS
                     AND/OR RIG BIDS FOR THE DRUGS AT ISSUE

       157.    From at least as early as May 2009 until the present, Defendants agreed to raise the

prices of and allocate the markets for the Drugs at Issue.



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       158.       No shortages or other market features can explain Defendants’ price increases for

the Drugs at Issue.

       159.       The elevated prices of Drugs at Issue that resulted from Defendants’

anticompetitive conduct have injured Plaintiffs and the Class and caused them to pay more than

they would have paid in a free and fair market.

       160.       Each Defendant entered into the Fair Share agreement, which encompassed all

Drugs at Issue.

       161.       Each Defendant also entered into drug-specific price-fixing agreements as to those

Drugs at Issue which it sold. The drug-specific agreements between certain Defendants with

respect to each of the individual Drugs at Issue was part of all Defendants’ overarching conspiracy

to unreasonably restrain trade and to fix, raise or stabilize the prices of all Drugs at Issue.

       162.       Throughout the relevant period, each Defendant attended trade association and

other events along with other Defendants. See, e.g., Exhibit A (Trade Association Contacts). These

trade events provided opportunities for Defendants to reach agreement on price fixing and Fair

Share for Drugs at Issue.

       163.       Defendants’ conduct clearly cuts across multiple drugs and inculpates all

Defendants. Allegations relating to each of the Drugs at Issue are included below.9

       164.       Two types of price charts are included in the allegations relating to Defendants’

conduct: (1) charts of list prices, also known as WAC (wholesale acquisition cost) prices; and (2)

charts of IQVIA NSP (National Sales Perspectives) prices. Defendants’ anticompetitive


       9
         The narration of each Drug at Issue as an individual set of events does not mean and is
not intended to suggest that the events and actions relating to individual Drugs at Issue are
unrelated. As described in the preceding section, the opposite was true: Defendants’
anticompetitive efforts were systematic, widespread and not limited to individual drugs.


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agreements often are evidenced in one or both of these types of prices. For example, in some

instances, Defendants coordinated increases in their list (WAC) prices, and communications

among them occurred around the times of list (WAC) price increase announcements. In other

instances, Defendants agreed to raise prices—and did raise prices—without ever announcing a list

(WAC) price increase. In other words, Defendants increased the prices that they charged their

customers, but did not update the list (WAC) prices for those products. The prices actually paid by

Defendants’ customers are reflected in the NSP prices.

        165.    The allegations below include the conduct of numerous individuals employed by

Defendants. Individuals named as Defendants in the States’ complaints are identified by name. All

other individuals are identified only by their initials.

                1.      Carbamazepine

        166.    Plaintiffs allege that as part of Defendants’ overarching conspiracy with respect to

the Drugs at Issue, they conspired to fix, raise, maintain or stabilize the prices of Carbamazepine

extended release (“ER”) tablets, regular tablets and chewable tablets beginning at least as early as

May 2009.

        167.    Carbamazepine, also known by the brand name Tegretol, among others, is an

anticonvulsant medication used to treat trigeminal neuralgia.

        168.    During the relevant time frame, Taro and Sandoz were the primary manufacturers

of Carbamazepine ER tablets; Taro, Teva, Apotex and Torrent were the primary manufacturers of

regular Carbamazepine tablets; and Taro, Teva and Torrent were the primary manufacturers of

Carbamazepine chewable tablets.

        169.    The story of Carbamazepine provides a snapshot of the Fair Share agreement in

operation over time. What began as coordination between two manufacturers—Sandoz and Taro—

that focused on allocating customers and avoiding price erosion, evolved into large and

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unprecedented price increases, and metastasized to incorporate multiple products and numerous

manufacturers.

       170.       In the spring and summer of 2009, Taro and Sandoz were preparing to launch

Carbamazepine ER tablets. They would be the first generics on the market. Typically, prices tend

to go down as manufacturers compete for customers. Taro and Sandoz wanted to avoid this.

       171.       Frequent trade events in the generic pharmaceutical industry provided Taro and

Sandoz—and, as discussed below, numerous other Defendants—opportunities to develop

relationships with competitors. And, as described throughout, these relationships fostered

anticompetitive agreements among numerous Defendants. D.S., Taro Assistant Vice President of

National Accounts, and D.L, Sandoz Director of National Accounts, met at one such trade event.

Their conversations quickly turned to business, and soon the two executives agreed that it was

much preferable for each manufacturer to get a Fair Share of the market, instead of chasing prices

down in pursuit of every last customer.

       172.       The general understanding and agreement that D.S. (Taro) and D.L. (Sandoz)

reached about Fair Share was not just an abstraction; it provided the framework for specific action,

and the two executives began to communicate by phone after becoming acquainted at the trade

event. Once the lines of communication were open, they soon began to collude about numerous

Drugs at Issue.

       173.       In the spring and early summer of 2009, as Taro and Sandoz were in the process of

launching Carbamazepine ER, D.L. (Sandoz) called D.S. (Taro) to coordinate their product

launches. D.S. shared Taro’s confidential plans, including which customers it was targeting, with

D.L. (Sandoz). D.L. understood that Sandoz should pursue other customers and thus each company

would obtain a Fair Share of the market without needing to compete. And that is what each



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and J.H., SVP and General Manager at Apotex, communicated by text message, and spoke for

approximately 8 minutes on June 17.

       184.    Apotex announced its Carbamazepine list (WAC) price increases on July 14. J.H at

Apotex and Rekenthaler spoke again before the increase (July 3) and after (July 15). Teva’s Patel

was again in touch with Taro’s Aprahamian that month. The two spoke for approximately 21

minutes on July 29.

       185.    On August 27, 2014, Patel and Aprahamian spoke yet again. The next day, August

28, Teva announced list (WAC) price increases on its Carbamazepine products. On September 11,

2014—the day before Torrent announced list (WAC) price increases on Carbamazepine—T.C.,

Teva Senior Director of Sales and K.G., Torrent VP of Sales, communicated by phone. Teva’s

Patel and Taro’s Aprahamian next spoke on September 12, the same day that Torrent announced

list (WAC) price increases for its Carbamazepine products. Apotex’s J.H. also was in touch with

Teva that month. He spoke to Rekenthaler on September 8, 10, 25 and 27. He also spoke to

Maureen Cavanaugh, Teva’s SVP of Sales and Marketing, on September 18 for approximately 17

minutes.

               2.      Perphenazine

       186.    Plaintiffs allege that as part of Defendants’ overarching conspiracy with respect to

the Drugs at Issue, they conspired to fix, raise, maintain or stabilize the prices of Perphenazine

tablets beginning at least as early as July 2009.

       187.    Perphenazine, also known by the brand name Trilafon, is an anti-psychotic

medication.

       188.    During the relevant time frame, Defendants Par/Qualitest and Sandoz were the

primary manufacturers of Perphenazine.



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       228.    During these periods, Defendants also communicated by telephone. For example,

on January 9, 2012, around the time that Wockhardt was entering the market, E.B., Akorn/Hi-Tech

Vice President of Sales, spoke on the phone to M.C., Wockhardt Vice President of Sales, for nearly

nine minutes. The two spoke again multiple times in March and April of 2012.

       Fluticasone Propionate Lotion

       229.    Fluticasone Propionate lotion, also known by the brand name Cutivate, is a topical

corticosteroid used to treat swelling and itching that result from various chronic skin disorders,

including atopic dermatitis.

       230.    During the relevant time frame, Defendants Glenmark, Perrigo and Sandoz were

the primary manufacturers of Fluticasone lotion.

       231.    Generic versions of Fluticasone lotion first became available in 2012. Glenmark

was the first manufacturer to enter the market. As Sandoz and Perrigo prepared to enter the market

in late 2012, the three companies communicated to coordinate pricing and market share.

       232.    In August 2012, C.B., Sandoz Director of National Accounts, was directed by

Armando Kellum, Sandoz Director of Contracts and Pricing, to figure out what Perrigo was

planning to do with respect to Fluticasone lotion. To find out the answers, C.B. (Sandoz) called

T.P., Perrigo Director of National Accounts.

       233.    C.B. (Sandoz) also made inroads with Glenmark during August 2012. At the

NACDS Conference C.B. connected with Mitchell Blashinsky, Glenmark Vice President of Sales.

As Sandoz’s launch date for Fluticasone lotion approached in November 2012, C.B. (Sandoz)

followed-up by telephone with Blashinsky (Glenmark) to coordinate. The men discussed pricing

and customers for Fluticasone lotion. C.B. (Sandoz) also communicated directly with T.P.

(Perrigo) during this period, sometimes on the same day he spoke to Blashinsky (Glenmark).



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       234.       In December 2012 and January 2013, the three companies continued to coordinate.

Each company was careful to abide by the Fair Share agreement. Perrigo’s entry to the market was

delayed, so Sandoz and Glenmark focused on their Fair Shares. For example, Sandoz targeted the

customers that were discussed by C.B. (Sandoz) and Blashinsky (Glenmark) and refused to pursue

other customers, even when solicited by potential new customers.

       235.       In the first months of 2013, Sandoz concluded that the customers it had agreed to

target for Fluticasone lotion were not sufficient to give it a Fair Share. Rather than compete with

better pricing to win the share it wanted, C.B. (Sandoz) redoubled communications with

Blashinsky (Glenmark) to reach an agreement. And they did. Glenmark agreed to cede additional

business to Sandoz.

       236.       In April and May 2013, C.B. (Sandoz) and Blashinsky (Glenmark) continued to

communicate and coordinated additional price increases for Fluticasone lotion, among other drugs.

During the same period, C.B. (Sandoz) kept in touch with T.P. (Perrigo), as Perrigo was preparing

to launch Fluticasone lotion. The men discussed pricing, and as C.B learned information from

Perrigo, he shared it with his colleagues at Sandoz. He also called Blashinsky (Glenmark) to keep

him in the loop.

       237.       In July, as Perrigo’s launch approached, Sandoz and Perrigo communicated to

hammer out details of the Fair Share agreement. Because Glenmark had a majority share of the

market at that time, Perrigo agreed to focus on certain of Glenmark’s customers. C.B. (Sandoz)

kept contemporaneous notes of his discussions with T.P. (Perrigo) concerning Fluticasone lotion.

       238.       When Perrigo entered the market on August 1, 2013, it announced pricing in line

with Glenmark and Sandoz. T.P. (Perrigo) and C.B. (Sandoz) communicated by phone multiple

times that day.



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               7.      Imiquimod

       249.    Plaintiffs allege that as part of Defendants’ overarching conspiracy with respect to

the Drugs at Issue, they conspired to fix, raise, maintain or stabilize the prices of Imiquimod cream

beginning at least as early as February 2010.

       250.    Imiquimod cream, also known by the brand names Aldara and Zyclara, is a topical

medication used to treat actinic keratosis, or pre-cancerous growths on the skin.

       251.    During the relevant time frame, Defendants Fougera, Perrigo, Sandoz and Taro

were the primary manufacturers of Imiquimod cream.12

       252.    Fougera received approval to launch generic Imiquimod cream in late February

2010. It would be the first generic on the market. Perrigo publicly announced in April 2010 that it

would be launching a generic Imiquimod cream. Even before either company entered the market,

they began to communicate to coordinate pricing and to target customers.

       253.    Walter Kaczmarek, Fougera Senior Vice President of Commercial Operations, and

A.T., Fougera National Account Executive, worked to ensure that Fougera and Perrigo would be

able to charge the highest prices possible for Imiquimod. To that end, A.T. (Fougera) began to

communicate with T.P., Perrigo Director of National Accounts, in February 2010. The two men

spoke multiple times in February 2010 leading up to Sandoz’s launch of Imiquimod cream. They

spoke again in April multiple times, leading up to Perrigo’s launch of Imiquimod cream.

       254.    Typically, the entrant of a second generic manufacturer into a new market tends to

drive prices down as the manufacturers compete for customers by reducing price. Here, and which

would prove to be a repeated feature of the Fair Share agreement among Defendants, the entry of



       12
          Fougera was acquired by Sandoz in July 2012. As described below, before Sandoz and
Fougera joined together officially via merger in 2012, they joined together as price-fixing co-
conspirators.

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         293.    The pattern repeated in 2013. This time, Perrigo led the list (WAC) price increase

on March 13, 2013. The next day, the Actavis and Perrigo Directors spoke for more than 10

minutes. They spoke again for nearly 25 minutes on April 12. On April 25, Actavis announced list

(WAC) prices identical to those of Perrigo.

         294.    Before Mylan entered the market in late 2013, Mylan’s Jim Nesta and Perrigo’s

T.P. (Director of National Accounts) communicated. On August 27, the two executives exchanged

messages but finally connected on the 28th and spoke for 10 minutes. They spoke again on

November 15. Perrigo’s Director of National Accounts kept Actavis in the loop. He again spoke

to M.D., Director of National Accounts at Actavis on August 21, 23 and September 11, 2013.

                 11.    Triamcinolone Acetonide

         295.    Plaintiffs allege that as part of Defendants’ overarching conspiracy with respect to

the Drugs at Issue, they conspired to fix, raise, maintain or stabilize the prices of Triamcinolone

Acetonide cream and ointment beginning at least as early as June 2010, and paste beginning at

least as early as February 2013.

         296.    Triamcinolone Acetonide, also known by the brand name Cinolar, is a topical

corticosteroid used to treat inflammation caused by conditions such as allergic reactions, eczema,

and psoriasis.

         297.    During the relevant time frame, Defendants Sandoz/Fougera, Perrigo, Taro,

Par/Qualitest, and Ascend were the primary manufacturers of Triamcinolone Acetonide cream and

Sandoz/Fougera, Perrigo and Taro were the primary manufacturers of Triamcinolone Acetonide

ointment. Defendant Taro and Rising were the primary manufacturers of Triamcinolone Acetonide

paste.

         298.    The markets for Triamcinolone Acetonide cream and ointment were mature and at

all relevant times had multiple manufacturers.

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       306.   Throughout this period, Sandoz/Fougera, Perrigo, Taro, Par/Qualitest and Ascend

met at trade conferences and communicated directly with each other in furtherance of their price-

fixing agreement on Triamcinolone Acetonide and of their Fair Share agreement.

       307.   For example, in the summer of 2010, Sandoz/Fougera and Perrigo raised prices for

Triamcinolone Acetonide cream significantly to match those of Taro. During this period, A.T.,

Sandoz/Fougera National Account Executive, and T.P., Perrigo Director of National Accounts,

frequently communicated by phone. A.T. (Sandoz/Fougera) also was communicating with H.M.,

Taro Director of Corporate Accounts, in late summer 2010, and they continued to communicate

with some frequency through at least July 2012.

       308.   D.S., Assistant Vice President of National Accounts at Taro, kept in touch with

Perrigo, and had phone calls with A.F., a National Account Director at Perrigo, on January 24 and

February 10, 2011.

       309.   Shortly after Ascend entered the market in 2012, G.W., Ascend’s Vice President of

National Accounts, spoke to D.S., the AVP at Taro (on July 11, 19 and 20).

       310.   Taro’s D.S. did not limit his communications to the cream and ointment

competitors; he also communicated with P.K., Rising Senior Vice President of Sales, to coordinate

price increases and to target customers for Triamcinolone Acetonide paste.

              12.      Potassium Chloride

       311.   Plaintiffs allege that as part of Defendants’ overarching conspiracy with respect to

the Drugs at Issue, they conspired to fix, raise, maintain or stabilize the prices of Potassium

Chloride tablets (8 mEq, 10 mEq, 20 mEq) beginning at least as early as July 2010.

       312.   Potassium Chloride tablets, also known by the brand name K-Dur, among others,

is a medication used to prevent and to treat low potassium, which is important for the heart,

muscles, and nerves.

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that Sandoz knew where to price its own offers to those customers. Perrigo and Sandoz discussed

which customers would be ceded to Sandoz. Perrigo also identified specific customers that it

intended to keep. C.B. kept contemporaneous notes of the discussions.

       336.      Again, the companies hewed to the agreement. Sandoz targeted the agreed upon

customers at the agreed upon prices and avoided the customers that Perrigo had flagged. Perrigo,

for its part, ceded those customers to Sandoz. C.B. (Sandoz) and T.P. (Perrigo) continued to

communicate by phone that summer. C.B. also communicated with A.F., Perrigo National Account

Director, during this period. Over the ensuing months, the companies continued to communicate

and abide by the Fair Share agreement.

       Adapalene Gel

       337.      During the relevant time frame, Defendants Glenmark, Teva and Taro were the

primary manufacturers of Adapalene gel.

       338.      In May 2013, Teva, Taro and Glenmark wanted to fix, raise or stabilize the prices

of Adapalene gel. Accordingly, the manufacturers engaged in a series of direct telephone

communications to put their plan into action.

       339.      For example, Teva’s Patel communicated multiple times with multiple contacts at

Glenmark during May of 2013 to discuss price increases on Adapalene gel and other drugs. Patel

also spoke with Taro’s Aprahamian in May to coordinate the Adapalene price increase.

       340.      The manufacturers were careful to maintain Fair Share as they implemented price

increases. For example, internally, Teva closely monitored price requests from customers to make

sure that no unintended shifts in market share occurred.

       341.      Between May and July, 2013, Glenmark, Teva and Taro all increased prices on

Adapalene gel.



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               14.     Betamethasone Dipropionate

               15.     Betamethasone Dipropionate Augmented

               16.     Betamethasone Dipropionate Clotrimazole

               17.     Betamethasone Valerate

               18.     Hydrocortisone Valerate

       342.    Plaintiffs allege that as part of Defendants’ overarching conspiracy with respect to

the Drugs at Issue, they conspired to fix, raise, maintain or stabilize the prices of Betamethasone

Dipropionate cream, ointment and lotion, Betamethasone Valerate cream, ointment, and lotion,

Betamethasone Dipropionate Clotrimazole cream and lotion, Betamethasone Dipropionate

Augmented lotion and Hydrocortisone Valerate cream at least as early as October 2010.

       343.    These five drugs treat related conditions, are sold by the same manufacturers, and

involve related anticompetitive conduct. Accordingly, all five drugs are discussed together.

       344.    Betamethasone Dipropionate, also known by the brand names Alphatrex, Del-Beta,

and Diprosone, is a medication used to help relieve redness, itching, swelling or other discomforts

caused by certain skin conditions.

       345.    Betamethasone Dipropionate Augmented, also known by the brand name

Diprolene, is a corticosteroid used to treat itching, redness, and swelling caused by certain skin

conditions.

       346.    Betamethasone Dipropionate Clotrimazole, also known by the brand name

Lotrisone, is a medication used to treat fungal infections.

       347.    Betamethasone Valerate, also known by the brand name Betamethacot, among

others, is a medication used to help relieve redness, itching, swelling or other discomforts caused

by certain skin conditions.




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agreements on Betamethasone Dipropionate, Betamethasone Valerate, Betamethasone

Dipropionate Clotrimazole, Hydrocortisone Valerate and their Fair Share agreement.

       357.   For example, on January 4, 2011, Perrigo implemented a large list (WAC) price

increase on Betamethasone Dipropionate lotion. On January 7, T.P., Director of National Accounts

at Perrigo, spoke to A.T., a National Account Executive at Sandoz/Fougera. On January 11,

Sandoz/Fougera imposed its own list (WAC) price increase.

       358.   In December 2011, Sandoz/Fougera planned a large price increase on

Betamethasone Valerate lotion. A.T., Sandoz/Fougera National Account Executive, spoke by

telephone numerous times with Jim Grauso, G&W Vice President of Sales, to coordinate the

increase.

       359.   Similarly, D.L., Director of National Accounts at Sandoz and D.S., AVP of

National Accounts at Taro, communicated a number of times during the relevant period as Sandoz

and Taro coordinated pricing. In October 2012, when Sandoz announced another price increase on

lotion, the two spoke. In February 2013, when Taro raised its lotion prices to follow Sandoz, the

two spoke again.

       360.   Mitchell Blashinsky, Taro VP of Marketing, and Michael Perfetto, Actavis VP of

Sales and Marketing, also were communicating; the two men communicated by phone every

month from February 2011 through May 2012.

       361.   In March 2013, when Taro and Perrigo began to raise prices to customers for

Hydrocortisone Valerate cream, the two companies were communicating. D.S., the AVP of

National Accounts at Taro, and A.F., Perrigo National Account Director, communicated by phone

on March 13, 2013.




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       372.    Throughout the relevant period, Mylan, Teva and Alvogen met at trade conferences

and communicated directly with each other in furtherance of their price-fixing agreement on

Nitrofurantoin and of the Fair Share agreement.

       373.    For example, In December 2010, as Mylan began to increase its prices for

Macrodantin, Mylan communicated by phone with Teva, the other incumbent generic

manufacturer, as well as with Alvogen, which was still six months away from launching its

product. On December 16, 2010, R.P., Mylan Senior Vice President of National Accounts, spoke

to R.C., Teva Vice President of Sales, for approximately 11 minutes. On the same day, R.P.

(Mylan) exchanged calls with D.M., Alvogen Vice President of Strategic Development. From

there forward, the three companies communicated frequently. R.P. (Mylan) and R.C. (Teva)

communicated by text message and voice call numerous times in 2011. R.C. (Teva) also

communicated with D.M. (Alvogen), exchanging texts or voice calls multiple times in May, June,

July and October of 2011.

       374.    There were other points of contact between the companies during this period, as

well. B.H., Alvogen, Executive Vice President of Sales, was in frequent communication with Jim

Nesta, Mylan Vice President of National Accounts, beginning at least as early as January 2011.

The two men communicated multiple times per month thereafter. Nesta (Mylan) also

communicated with R.C. (Teva) frequently in the second half of 2011.

       375.    In the weeks before Teva raised its list (WAC) prices in 2012 to bring them more

in line with Mylan’s list prices, Teva’s Green spoke to Nesta of Mylan on July 23, July 24 (2 calls);

July 25; July 26; July 30 (2 calls); and July 31, 2012 (5 calls).

       376.    After some of the calls between Green and Nesta on July 31, 2012, Nesta called

B.H. (Alvogen).



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       377.      Teva, Mylan and Alvogen continued to coordinate and communicate in order to

maintain Fair Shares. For example, on October 10, 2012, a distributor customer approached Teva

requesting a lower price for Nitrofurantoin Macrocrystal. This prompted Teva’s Green to reach

out to both Nesta at Mylan and again to B.H. at Alvogen. Nesta separately spoke to the same

contact at Alvogen. After coordinating with Mylan and Alvogen and re-confirming their price-

fixing agreement on Nitrofurantoin Macrocrystal capsules, Teva did not lower its price.

                 20.    Carisoprodol

       378.      Plaintiffs allege that as part of Defendants’ overarching conspiracy with respect to

the Drugs at Issue, they conspired to fix, raise, maintain or stabilize the prices of Carisoprodol

tablets beginning at least as early as January 2011.

       379.      Carisoprodol, also known by the brand name Soma, among others, is medication

used to relax certain muscles and to relieve pain.

       380.      During the relevant time frame, Defendants Par/Qualitest and Actavis were the

primary manufacturers of Carisoprodol tablets.

       381.      The market for Carisoprodol was mature and at all relevant times had multiple

manufacturers.

       382.      For years, the prices for Carisoprodol tablets were relatively low and stable. In early

2011, however, Par and Actavis abruptly and in close succession imposed large price increases.

The price chart below shows the sudden price increases imposed by Par and Actavis. [CHART

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        391.    Throughout this period, Actavis, Teva and Taro met at trade conferences and

communicated directly with each other in furtherance of their price-fixing agreements on

Nortriptaline HCL and their Fair Share agreement.

        392.    For example, in late 2013, Teva, Actavis and Taro carefully orchestrated Taro’s

entry into the Nortryptaline HCL market. In order to accommodate Taro’s entry without disrupting

prices, David Rekenthaler of Teva and Marc Falkin of Actavis spoke by phone on November 10,

14, 15 and 18. Falkin also exchanged text messages with Maureen Cavanaugh of Teva on

November 17 and 18. Also during November, Ara Aprahamian of Taro spoke by telephone with

Teva’s Patel and Actavis’s M.D. to hammer out their agreement. Teva and Actavis both agreed to

cede customers to Taro, and Taro was careful not to pursue more than its “fair share” from Teva

or Actavis. Thereafter, Aprahamian (Taro), Falkin (Actavis) and Rekenthaler and Patel (Teva)

continued to coordinate the pricing of Nortriptyline HCL, with numerous direct communications

between them in 2014 and 2015.

                22.     Methylprednisolone

        393.    Plaintiffs allege that as part of Defendants’ overarching conspiracy with respect to

the Drugs at Issue, they conspired to fix, raise, maintain or stabilize the prices of

Methylpredinosolone 4 mg tablets beginning at least as early as February 2011.

        394.    Methylprednisolone, also known by the brand name Solu-Medrol, is an

adrenocortical steroid used to treat arthritis, lupus, psoriasis, and ulcerative colitis.

        395.    During the relevant time frame, Defendants Sandoz, Par, Greenstone, Breckenridge

and Cadista were the primary manufacturers of Methylprednisolone.

        396.    The market for Methylprednisolone 4 mg tablets was mature and at all relevant

times had multiple manufacturers.



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       412.    Teva’s Rekenthaler communicated consistently with Mylan at least as early as April

2010 and continued thereafter with Mylan’s J.K. (VP and Executive Director of Sales), B.P.

(Senior VP of Sales) and Nesta over the following months and years.

       413.    In the spring and summer of 2013, Teva wanted to raise its Amiloride prices again.

Accordingly, Teva’s Kevin Green and Mylan’s Jim Nesta spoke numerous times via telephone to

coordinate and agree to the price increase. They spoke at least on May 7, 8, 9, 10 and July 10, 11,

23 and August 1, 2, 6, 8 in 2013.

       414.     In 2014, Teva was eager to impose yet another price increase, and again

coordinated with Mylan to do so. This time, Teva’s Rekenthaler communicated with Mylan’s

Nesta. They spoke by phone at least on May 9, 20 and 27, 2014.

       415.    Teva and Mylan’s prices increased in parallel throughout the period of

communications between Nesta (Mylan) and Rekenthaler (Teva).

               24.    Erythromycin

       416.    Plaintiffs allege that as part of Defendants’ overarching conspiracy with respect to

the Drugs at Issue, they conspired to fix, raise, maintain or stabilize the prices of Erythromycin

solution beginning at least as early as May 2011.

       417.    Erythromycin solution, also known by the brand name A/T/S, among others, is a

topical medication used to treat acne.

       418.    During the relevant time frame, Sandoz/Fougera, Perrigo, and Wockhardt were the

primary manufacturers of Erythromycin solution.

       419.    In 2011, Sandoz/Fougera and Wockhardt were the only manufacturers selling

Erythromycin solution. In the spring of 2011, Perrigo assessed whether it should re-enter the

Erythromycin solution market. To that end, in May 2011, Perrigo reached out directly to

Sandoz/Fougera to gather information and begin coordination under the Fair Share agreement.

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example, in August and September 2012, C.B. (Sandoz) communicated by phone with T.P.

(Perrigo) and K.K (Wockhardt). C.B. kept his Sandoz colleagues, including Kellum and M.V.

(Associate Director of Pricing) informed of the discussions. As a result of the Fair Share

agreement, Sandoz passed up opportunities with large customers and kept Perrigo and Wockhardt

informed of its intention to target customers only as contemplated by their Fair Share agreement.

               25.    Amphetamine Salts (Adderall)

       430.    Plaintiffs allege that as part of Defendants’ overarching conspiracy with respect to

the Drugs at Issue, they conspired to fix, raise, maintain or stabilize the prices of Amphetamine

Salts tablets (5, 10, 20 and 30 mg dosages) and capsules (5, 10, 15, 20, 25 and 30 mg dosages)

beginning at least as early as June 2011.

       431.    Amphetamine Salts, also known by the brand name Adderall, is a medication used

to treat attention deficit hyperactivity disorder (ADHD). The drug is comprised of a combination

of dextroamphetamine salts and levoamphetamine salts and is sometimes referred to as “Mixed

Amphetamine Salts” or “MAS” or simply “amphetamine/dextroamphetamine.” The drug is

available in two formulations: Extended Release (“XR”) capsules and Immediate Release (“IR”)

tablets. Both formulations were part of Defendants’ Fair Share agreement.

       432.    During the relevant time frame, Defendants Teva, Sandoz and Impax14 were the

primary manufacturers of generic Adderall IR tablets. Defendants Aurobindo and Mallinckrodt

joined the generic Adderall IR tablet market and conspiracy in 2014.

       433.    During the relevant time frame, Defendants Teva, Impax and Actavis were the

primary manufacturers of Adderall XR capsules.




       14
        The relevant entity at the time of the MAS-IR price increase (summer 2011) was
Corepharma, which was acquired by Impax in October 2014.

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learned the new competitor was Actavis, which was expecting approval for the drug soon, Teva

deferred its decision in pricing until Actavis entered the market.

       437.    Actavis obtained FDA approval to manufacture various formulations of MAS-XR

on June 22, 2012. Teva and Actavis immediately began coordinating regarding market share.

That evening, Rekenthaler instructed Teva employees to find out Actavis’s plans, including

shipping details and inventory levels. The next morning, T.S., a National Account Manager at

Teva, confirmed that she had spoken to a contact at Actavis. She conveyed to Rekenthaler what

she had learned: “Spoke to [Actavis]. Going after approx 15 share. 1 wholesaler (either

McKesson or Cardinal) as backup and possibly Econdisc. NOT Walgreens and CVS.”

       438.    Defendants also communicated and coordinated shares in the MAS-IR market.

For example, Teva announced its list (WAC) price increase on August 17 and Sandoz followed

on August 24, 2011. Teva’s Kevin Green spoke to P.K., Sandoz Director of National Accounts,

on August 3, 9, 16, 17 and 18.

       439.    Just as in the MAS-XR capsule market, when new entrants joined the MAS-IR

tablet market, Defendants again coordinated to ensure Fair Shares. For example, on January 24,

2014, as Mallinckrodt was preparing to enter the MAS-IR market, K.K., the National Account

Director at Mallinckrodt (who was a former National Account Executive at Sandoz) called C.B.,

a former colleague and National Account Executive at Sandoz. The two spoke for approximately

25 minutes. They spoke again for approximately 19 minutes on February 10. Mallinckrodt

entered the market at high prices the next week.

       440.    Similarly, in March 2014, Aurobindo was making plans to enter the MAS-IR

market. On March 11 and 12, T.G., a Director of National Accounts at Aurobindo, spoke to C.B.,

a National Accounts Manager at Sandoz. The next week, on March 18, Teva’s Rekenthaler and



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       465.   Throughout this period, Teva, Mallinckrodt, Impax, Actavis and Aurobindo met at

trade conferences and communicated directly with each other in furtherance of their price-fixing

agreement on Dextroamphetamine Sulfate and the Fair Share agreement.

       466.   For example, representatives from Teva and Impax attended the NACDS 2011

Pharmacy & Technology Meeting in Boston on August 27 to 30, 2011, shortly before Impax

entered the Dextroamphetamine Sulfate ER capsule market in September 2011 at the inflated

prices that Teva had recently imposed.

       467.   Similarly, representatives of Mallinckrodt and Teva attended the HDMA 2012

Business and Leadership Conference in San Antonio on June 13, 2012, not long before Teva

announced list (WAC) price increases on Dextroamphetamine Sulfate tablets in July that

Mallinckrodt quickly followed.

       468.   Defendants also communicated directly with each other by phone to coordinate

pricing. For example, in January and February 2014—when Aurobindo was entering the market

for Dextroamphetamine Sulfate tablets, Teva’s Rekenthaler spoke to R.C., the CEO of Aurobindo

multiple times.

       469.   Teva’s Rekenthaler also coordinated with Actavis when it entered the

Dextroamphetamine Sulfate capsule market later that year. On June 19, 2014, as Actavis was

entering the market, Rekenthaler spoke twice with Falkin of Actavis, and they discussed Actavis’s

market share goal of “20-25%.” Actavis entered the market not long after, and as contemplated by

the Fair Share agreement between them, Teva conceded a large Dextroamphetamine Sulfate

customer to Actavis. That same week (on June 13, 20, 23 and 26), Falkin (Actavis) communicated

by phone with T.E., Impax Senior Director of Sales Operations.




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               28.      Metronidazole

        470.    Plaintiffs allege that as part of Defendants’ overarching conspiracy with respect to

the Drugs at Issue, they conspired to fix, raise, maintain or stabilize the prices of Metronidazole

cream, gel, lotion, and vaginal cream at least as early as June 2011.

        471.   Metronidazole, also known by the brand name Flagyl, is a medication used to treat

parasitic infections including Giardia infections of the small intestine, amebic liver abscess, and

amebic dysentery, bacterial vaginosis and trichomonas vaginal infections.

        472.   During the relevant time frame, Defendants G&W, Impax, Sandoz/Fougera, Taro,

Teva, and Bausch/Oceanside were the primary manufacturers of Metronidazole.

        473.    After a period of relatively low and stable pricing for Metronidazole cream, gel,

lotion and vaginal cream, Defendants imposed a series of rapid price increases that were similar

in timing and amount.

        Metronidazole Cream, Gel & Lotion

        474.   In 2011, Defendants G&W, Sandoz/Fougera, and Teva were the primary generic

manufacturers of Metronidazole cream, gel (0.75%) and lotion. Impax entered the gel market in

2012.

        475.   Beginning in June 2011, G&W, Sandoz/Fougera, and Teva imposed price increases

of more than 400% for Metronidazole cream, gel and lotion. When Impax entered the market in

2012, it did not disturb the inflated pricing. Prices have remained at inflated levels since that time.

        476.   The NSP price charts below show the large and parallel price increases by Teva,

Sandoz/Fougera, G&W, Taro and Impax on their Metronidazole cream, gel and lotion products.

[CHARTS REDACTED]




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       483.    For example, The Metronidazole cream, gel and lotion price hikes occurred shortly

after trade association meetings where representatives (including NAMs) from G&W, Impax,

Sandoz/Fougera, Teva, Taro and Bausch/Oceanside were in attendance. See Exhibit A (Trade

Association Contacts).

       484.    Direct communications between the Metronidazole manufacturers were extensive,

going at least as far back as early 2011. For example, in the months leading up to price increases

on Metronidazole cream by G&W, Sandoz/Fougera and Teva, all three manufacturers

communicated by phone beginning at least as early as February 2011. For example, on February

16, 2011, Jim Grauso, G&W Vice President of Sales, communicated by phone with R.C., Teva

Vice President of Sales. The same day, Grauso (G&W) spoke multiple times with A.T.,

Sandoz/Fougera National Account Executive. As the June 2011 price increases approached,

Grauso had multiple communications with Teva in March, April, May and June 2011 with R.C.

(Teva), Kevin Green, Teva Director of National Accounts, and T.S., Teva National Account

Manager. Grauso (G&W) also stayed in contact with A.T. (Sandoz/Fougera), communicating

again in February, April, May and June 2011.

       485.    At Sandoz/Fougera, Walter Kaczmarek, Senior Vice President of Commercial

Operations, and A.T. communicated with competitors about pricing and customers for

Metronidazole. At Taro, inter-competitor communications relating to Metronidazole were

undertaken by B.S., Taro Chief Commercial Officer, and Mitchell Blashinsky, Taro Vice President

of Marketing. After Jim Grauso moved on to Aurobindo, Kurt Orlofski, G&W President, and Erika

Vogel-Baylor, Vice President of Sales, took over communicating with competitors to coordinate

pricing on Metronidazole beginning at least as early as February 2012. At Teva, Kevin Green,




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Teva Director of National Accounts, and David Rekenthaler, Vice President of Sales,

communicated with competitors at least as early as 2011.

               29.     Chlorpromazine HCL

       486.    Plaintiffs allege that as part of Defendants’ overarching conspiracy with respect to

the Drugs at Issue, they conspired to fix, raise, maintain or stabilize the prices of Chlorpromazine

HCL tablets beginning at least as early as July 2011.

       487.    Chlorpromazine, also known by the brand name Largactil, is a medication used to

treat mood disorders such as schizophrenia or bipolar disorder.

       488.    During the relevant time frame, Defendants Sandoz and Upsher-Smith were the

primary manufacturers of Chlorpromazine tablets.

       489.    The market for Chlorpromazine tablets was mature and at all relevant times had

multiple manufacturers.

       490.    After years of relatively low and stable prices for Chlorpromazine tablets, Sandoz

and Upsher-Smith agreed to implement large price increases. In the summer of 2011, Sandoz and

Upsher-Smith began to implement nearly simultaneous and identical price increases. By January

2012, Sandoz and Upsher-Smith list prices approximately quadrupled and NSP prices increased

nearly 10 times. These incredibly large price-increases look small on the chart below because

Sandoz and Upsher-Smith imposed even larger price increases after that. Both manufacturers’ list

prices eventually exceeded $7.50 (compared to less than 50 cents before they agreed to raise prices)

and their NSP prices peaked over $6.00 (compared to approximately 15 cents before their

agreement).

       491.    The following charts of NSP prices and list prices show the large and parallel price

increases by Sandoz and Upsher-Smith. [NSP CHART REDACTED]



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        493.    In October 2014, when Upsher-Smith increased prices, D.Z., Upsher-Smith

National Account Manager, communicated with C.B., a Sandoz Director of National Accounts.

The two spoke on September 16, 2014 for approximately 4 minutes. Upsher-Smith raised its

Chlorpromazine prices (again) a few weeks later.

        494.    Sandoz didn’t immediately follow Upsher-Smith’s October 2014 price increase.

But eventually it did so, announcing identical list (WAC) prices to Upsher-Smith on May 15, 2015.

The day before announcing, C.B. at Sandoz again spoke to D.Z. at Upsher-Smith.

                30.     Flurbiprofen

        495.    Plaintiffs allege that as part of Defendants’ overarching conspiracy with respect to

the Drugs at Issue, they conspired to fix, raise, maintain or stabilize the prices of Flurbiprofen at

least as early as July 2011.

        496.    Flurbiprofen, also known by the brand name Ansaid, is a nonsteroidal anti-

inflammatory drug (NSAID) used to relieve symptoms of arthritis, such as inflammation, swelling,

stiffness, and joint pain.

        497.    During the relevant time frame, Defendants Teva and Mylan were the primary

manufacturers of Flurbiprofen.

        498.    The market for Flurbiprofen tablets was mature and at all relevant times had

multiple manufacturers.

        499.    For years, the prices of Flurbiprofen tablets were relatively low and stable. In the

summer of 2011, however, Teva imposed a very large price increase. Notwithstanding its higher

prices, Teva was able to maintain its share of the market in light of the Fair Share agreement it

reached with Mylan. Mylan eventually raised prices as well, and in 2013 imposed a significant

increase, raising its prices well above Teva’s. Mylan, too, was able to maintain a relatively stable

share of the market notwithstanding its higher prices. The pattern repeated in 2014, when Teva

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               31.     Clonidine-TTS Patch

       503.    Plaintiffs allege that as part of Defendants’ overarching conspiracy with respect to

the Drugs at Issue, they conspired to fix, raise, maintain or stabilize the prices of Clonidine-TTS

beginning at least as early as September 2011.

       504.    Clonidine TTS Patch, also known by the brand name Catapres-TTS, is a medication

in the form of a transdermal patch that is used to treat high blood pressure.

       505.    During the relevant time frame, Defendants Teva and Mylan were the primary

manufacturers of Clonidine-TTS. Defendant Actavis joined the Clonidine-TTS market and the

Clonidine-TTS conspiracy in 2014.

       506.    Teva and Mylan had roughly equal shares of the Clonidine-TTS market, as

contemplated by their Fair Share agreement. Mylan, however, encountered some supply

disruptions that skewed share in favor of Teva. In order to navigate and reallocate the market, Teva

and Mylan communicated frequently to ensure that each of them had a Fair Share.

       507.    For example, in early 2012, after the first of Mylan’s supply issues were resolved,

Teva conceded two large customers to Mylan to help it regain its Fair Share.

       508.    In May, not long after ceding the Clonidine-TTS business to Mylan, Teva was

approached by another large customer seeking bids on a different drug, Doxazosin. Teva declined

the opportunity to the Doxazosin business in an effort to “be cautious after what happened with

Clonidine.”

       509.    Later in 2012, Mylan again experienced supply disruptions, this time severe enough

to force it out of the market entirely on certain dosages from approximately September 2012

through February 2013. To coordinate how to deal with this, on September 28, 2012, Mylan’s

Nesta and Teva’s Green spoke by phone at least twice. Mylan and Teva maintained regular contact

as former Mylan customers approached Teva because of Mylan’s supply issues. For example,

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Rekenthaler spoke to a contact at Mylan on October 1, and Green spoke to Nesta on October 1 and

4, 2012. On October 10, 2012, Green and Nesta spoke again.

        510.    When Mylan relaunched Clonidine-TTS in early 2013, Teva conceded accounts to

Mylan to allow it to regain a Fair Share of the market. For example, Teva’s internal documents

state that they chose to “concede” a number of large customers to Mylan. Teva’s internal

documents are explicit that it had no intention of competing on price, but instead was “trying to

concede the Clonidine business” to Mylan.

        511.    Teva and Mylan remained in regular contact in order to coordinate and maintain

Fair Shares. In February and March 2013 alone, Teva and Mylan representatives called each other

at least 33 different times.

        512.    In the spring of 2014, another manufacturer, Actavis, was preparing to enter the

market for Clonidine-TTS. Teva and Actavis immediately commenced an extensive negotiation

over price and market share. Teva’s Rekenthaler and Actavis’s Falkin were in direct phone contact

to hammer out the details. Teva considered which customers to concede, and encouraged Actavis

to enter the market with high prices.

        513.    Teva’s Patel also communicated with Actavis to work out the details of Actavis’s

entry into the market. She spoke with Actavis’s Rogerson multiple times, learning that Actavis

wanted 25% of the market and expected that 10%-15% of its share would come from Teva.

        514.    Rekenthaler expressed his view that Actavis could have no more than a 15%

market share from Teva, which prompted a Teva executive to admonish Rekenthaler to “play nice

in the sand box” so that Actavis would be “responsible in the market.”

        515.    Rekenthaler heeded the advice and Teva conceded share to Actavis in order to allow

it to gain its Fair Share of the market for Clonidine-TTS.



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                 32.    Latanoprost

       516.      Plaintiffs allege that as part of Defendants’ overarching conspiracy with respect to

the Drugs at Issue, they conspired to fix, raise, maintain or stabilize the prices of Latanoprost

beginning at least as early as September 2011.

       517.      Latanoprost, also known by the brand name Xalatan, is available as a 0.005%

ophthalmic solution used to treat glaucoma and to lower pressure in the eye.

       518.      During the relevant time frame, the primary manufacturers of Latanoprost were

Akorn15 and Defendants Bausch, Greenstone, and Sandoz.

       519.      The market for Latanoprost was mature and at all relevant times had multiple

manufacturers.

       520.      For years, the prices for Latanoprost were relatively low and stable. In fall 2011,

however, Bausch, Greenstone and Sandoz imposed large and unprecedented price increases in

close succession. When Akorn entered the market in July 2012, rather than offer lower prices to

win customers, it announced prices at the same or higher levels than Bausch, Greenstone and

Sandoz.

       521.      The price chart below shows the large and parallel price increases imposed by

Akorn, Bausch, Greenstone, and Sandoz. [CHART REDACTED]




       15
          Akorn and related entities filed for bankruptcy on May 20, 2020. Accordingly, Akorn
is not named as a Defendant or sought to be held liable with respect to Latanoprost or any other
drug added by amendment to this complaint.

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        556.    To facilitate the price increases and to ensure that each manufacturer was able to

obtain a Fair Share of the market, Teva, Glenmark, Amneal and Sandoz communicated by phone

to work out the details of their agreement.

        557.    For example, Teva’s Patel communicated by phone with multiple contacts at

Glenmark in May 2013, while Teva’s Rekenthaler was communicating with a contact at Amneal

during the same period of time.

        558.    Teva’s Patel also coordinated with a contact at Sandoz to orchestrate the Ranitidine

HCL tablet price increase.

        559.    On the heels of these communications, all manufacturers raised prices. Glenmark

was the first to raise prices. Teva quickly followed the price increase, as did Amneal and Sandoz.

        560.    In the wake of the price increases, Glenmark, Teva, Sandoz and Amneal were

committed to the Fair Share agreement, as evidenced by their unwillingness to gain share by

offering better prices. For example, when Teva was approached by several customers looking for

a lower price it refused to bid, or, it intentionally bid high so that it would not win the business.

                36.     Amantadine HCL

        561.    Plaintiffs allege that as part of Defendants’ overarching conspiracy with respect to

the Drugs at Issue, they conspired to fix, raise, maintain or stabilize the prices of Amantadine HCL

capsules beginning at least as early as December 2011.

        562.    Amantadine HCL, also known by the brand name Symmetrel, is a medication used

to treat a certain type of flu and also to treat Parkinson’s disease.

        563.    During the relevant time frame, Defendants Sandoz, Upsher-Smith and Lannett

were the primary manufacturers of Amantadine HCL capsules.

        564.    The market for Amantadine HCL capsules was mature and at all relevant times had

multiple manufacturers.

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       579.    Throughout this period, Sandoz/Fougera, G&W, Teligent and Taro met at trade

conferences and communicated directly with each other in furtherance of their price-fixing

agreements on Fluocinolone Acetonide and their Fair Share agreement.

       580.    For example, around the time that G&W was entering the Fluocinolone Acetonide

cream and ointment markets, Kurt Orlofski, G&W President, communicated by phone with Walter

Kaczmarek, Sandoz/Fougera Senior VP of Commercial Operations, on February 8, 9 and 10, 2012.

       581.    Similarly, when Teligent was entering the Fluocinolone Acetonide ointment and

solution markets in early 2013, H.M., Taro Director of Corporate Accounts, communicated by

phone with S.M., Teligent Director of Nationals Accounts, on February 6 and 26, 2013. When

Teligent was entering the cream market in late spring/early summer of 2014, S.M. (Teligent)

communicated by phone with Erika Vogel-Baylor, G&W Vice President of Sales and Marketing,

on April 29 and May 1, 2014. A few months before, Vogel-Baylor (G&W) also had communicated

by phone with J.G., Teligent President and CEO, in November 2013 and January 2014. S.M.

(Teligent) also communicated with E.G., Taro Director of Corporate Accounts, on July 25, 2009.

               38.     Prochlorperazine Maleate

       582.    Plaintiffs allege that as part of Defendants’ overarching conspiracy with respect to

the Drugs at Issue, they conspired to fix, raise, maintain or stabilize the prices of Prochlorperazine

Maleate suppositories beginning at least as early as January 2012, and Prochlorperazine Maleate

tablets beginning at least as early as May 2014.

       583.    Prochlorperazine, also known by the brand name Compro, is a medication used to

treat psychotic disorders such as schizophrenia, as well as control severe nausea.

       Prochlorperazine Maleate Suppositories

       584.    During the relevant time frame, Defendants G&W and Perrigo were the primary

manufacturers of Prochlorperazine Maleate suppositories.

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Within a week of their lunch date, both companies put into motion price increases on

Prochlorperazine Maleate suppositories.

       591.    By the third week of March, G&W had announced large price increases. Around

the time of the price increase, Orlofski (G&W) called Boothe (Perrigo). Within a few weeks,

Perrigo announced that it, too, would be increasing prices on Prochlorperazine.

       592.    Boothe (Perrigo), Orlofksi (G&W), and Vogel-Baylor, G&W Vice President,

attended the NACDS 2013 annual meeting in Palm Beach, Florida between April 20 and April 23,

2013. The competitors capitalized on the opportunities to meet in person at the conference.

       593.    Over the ensuing months, G&W and Perrigo adhered to the Fair Share agreement

and declined to seek more than their agreed upon share of the Prochlorperazine Maleate

suppository market.

       Prochlorperazine Maleate Tablets

       594.    During the relevant time frame, Teva, Mylan, Sandoz and Cadista were the primary

manufacturers of Prochlorperazine Maleate tablets.

       595.    Prochlorperazine tablets were among the drugs that Teva targeted for price

increases in late August 2014. In order to coordinate prices and Fair Shares for Prochlorperazine,

Teva’s Patel and Rekenthaler communicated with each of the other primary manufacturers in the

market.

       596.    Teva’s Patel communicated frequently with the Associate Director of Pricing at

Sandoz in July, August and September 2014.

       597.    Rekenthaler spoke to M.D., Vice President of Sales at Cadista, on at least June 18,

2014. And he spoke to Nesta at Mylan on June 24 and at least four times in August (on the 7th,

11th, 18th, and 21st).



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       598.    Nesta (Mylan) also communicated with M.D. at Cadista, on at least July 2, 30, 31

and August 7, 11, 21, 22 and 23.

               39.     Ciclopirox

       599.    Plaintiffs allege that as part of Defendants’ overarching conspiracy with respect to

the Drugs at Issue, they conspired to fix, raise, maintain or stabilize the prices of Ciclopirox

Olamine (“Ciclopirox”) cream at least as early as February 2012, shampoo at least as early as

September 2012, and solution at least as early as April 2013.

       Ciclopirox Cream

       600.    Plaintiffs allege that as part of Defendants’ overarching conspiracy with respect to

the Drugs at Issue, they conspired to fix, raise, maintain or stabilize the prices of Ciclopirox cream

beginning at least as early as February 2012.

       601.    Ciclopirox cream, also known by the brand name Loprox, is an antifungal

medication used to treat skin infections such as athlete’s foot and ringworm.

       602.    During the relevant time frame, the primary manufacturers of Ciclopirox cream

were Defendants Perrigo, Glenmark, and G&W.

       603.    In early 2012, the incumbent generic manufacturers of Ciclopirox cream were

Perrigo and Glenmark. G&W was planning to enter the market, but before doing so, coordinated

with Perrigo and Glenmark to ensure that it obtained a Fair Share without the risks of price

competition.

       604.    In February 2012, Kurt Orlofksi, G&W President, communicated multiple times by

phone with S.K., Executive Vice President and General Manager at Perrigo. The two

communicated multiple times in April 2012, as well.

       605.    In March 2012, Erika Vogel-Baylor, G&W Vice President of Sales, communicated

with Glenmark. After meeting P.D., Glenmark Executive Vice President, at a trade event, the two

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sales executives communicated dozens of times to coordinate pricing, including on Ciclopirox

cream.

         606.   In April 2012, the conspirators convened at the NACDS annual meeting in Palm

Beach, Florida. G&W’s Orlofski and Vogel-Baylor attended, as did S.K. (Perrigo) and P.D.

(Glenmark). Their direct phone communications with each other continued throughout April 2012.

         607.   The coordination worked. The companies imposed price increases and continued

to communicate in the summer of 2012. They also refused to offer competitive bids to each other’s

customers so that each company could maintain a Fair Share of the market.

         608.   The following spring, in May 2013, Glenmark coordinated another price increase

on Ciclopirox Cream.

         609.   Glenmark’s P.D. and Jim Brown, Vice President of Sales, communicated by phone

multiple times with Vogel-Baylor (G&W). Vogel-Baylor also communicated with Perrigo via a

conduit; A.T., Aurobindo Director of National Accounts, served as a go-between with T.P.

(Perrigo).

         610.   Again, the coordination worked. Each company imposed price increases on

Ciclopirox cream. As the companies made their price-increase announcements in May 2013, they

continued to communicate to ensure that Fair Shares were maintained.

         Ciclopirox Shampoo

         611.   Plaintiffs allege that as part of Defendants’ overarching conspiracy with respect to

the Drugs at Issue, they conspired to fix, raise, maintain or stabilize the prices of Ciclopirox

shampoo beginning at least as early as September 2012.

         612.   Ciclopirox shampoo, also known by the brand name Loprox, is used to treat

seborrheic dermatitis, an inflammatory skin condition of the scalp.



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        613.   During the relevant time frame, the primary manufacturers of Ciclopirox shampoo

were Perrigo, Actavis, Taro, and Sandoz.

        614.   In the summer of 2012, Perrigo, Actavis, and Taro were the manufacturers of

generic Ciclopirox shampoo. Sandoz (then Fougera) had exited the market in the year prior, but

was making plans to re-enter in July 2012. This prompted a series of conspiratorial

communications among Sandoz, Perrigo, Taro and Actavis.

        615.   In September 2012, C.B., Sandoz Director of National Accounts, communicated by

phone with T.P., Perrigo Director of National Accounts, and H.M., Taro Director of Corporate

Accounts. The express purpose of the communications was to coordinate Sandoz’s re-entry into

the market for Ciclopirox shampoo.

        616.   In November 2012, C.B. (Sandoz) communicated by phone multiple times with Ara

Aprahamian, Actavis Director of Pricing, to coordinate on Ciclopirox Shampoo. C.B. (Sandoz)

also continued his communications with T.P. (Perrigo) in November to coordinate on pricing and

market share for Ciclopirox shampoo.

        617.   In early December 2012, Sandoz re-entered the market. That week, C.B. (Sandoz)

again communicated with Aprahamian (Actavis). Meanwhile, T.P. (Perrigo) communicated by

phone directly with M.D., Actavis Director of National Accounts. C.B. (Sandoz) communicated

again with H.M. (Taro) in mid-December 2012.

        618.   The coordination among conspirators worked. Sandoz launched Ciclopirox

shampoo and quickly obtained its Fair Share of the market, as agreed with Actavis, Perrigo and

Taro.




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during this period. In the midst of these communications, Perrigo announced its list (WAC) price

increase for Ciclopirox on August 1, 2013.

               40.     Irbesartan

        629.   Plaintiffs allege that as part of Defendants’ overarching conspiracy with respect to

the Drugs at Issue, they conspired to fix, raise, maintain or stabilize the prices of Irbesartan tablets

beginning at least as early as March 2012.

        630.   Irbesartan, also known by the brand name Avapro, is a medication used in the

treatment of hypertension.

        631.   During the relevant time frame, Defendants Teva and Lupin were the primary

manufacturers of Irbesartan.

        632.   Teva received approval to manufacture generic Irbesartan in March 2012.

        633.   On March 6, 2012, K.G., a Teva senior marketing executive, asked the sales team

for information about competitors that were also making offers to supply Irbesartan.

        634.   At 11:27 a.m., J.P., an account manager at Teva, responded: “Lupin is promising

offers today.” Less than twenty minutes later, Teva’s Kevin Green called David Berthold at Lupin.

They talked for seventeen (17) minutes. Shortly after the call, Green emailed his Teva colleagues

with the information he obtained: “Lupin is looking for a 15% share. They already have ABC.

Confirmed Zydus is out.”

        635.   That same day, Teva’s David Rekenthaler informed the group that he still had not

received “a call from any other manufacturer on Irbesartan.” A senior commercial operations

executive at Teva immediately responded: “Then work harder….” Rekenthaler followed that

directive.

        636.   The next morning, Green called Berthold again. He learned details regarding which

competitors were launching or not launching the drug and the identities of customers who received

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        647.    Throughout this period, Sandoz, Par and West-Ward met at trade conferences and

communicated directly with each other in furtherance of their price-fixing agreements on

Isosorbide Dinitrate tablets and their Fair Share agreement.

        648.    For example, on October 11, 2012, Sandoz’s C.B, Director of National Accounts,

spoke for approximately 21 minutes to M.R., West-Ward’s Director of National Accounts. The

next day, West-Ward announced its Isosorbide list (WAC) price increases that tracked the earlier

price increases by Sandoz.

        649.    Par announced its list (WAC) price increases on March 11, 2013. Not long after,

on March 26, K.O, VP of National Accounts at Par, spoke to M.V., Associate Director of Pricing

at Sandoz for approximately 25 minutes.

                42.     Clindamycin Phosphate

        650.    Plaintiffs allege that as part of Defendants’ overarching conspiracy with respect to

the Drugs at Issue, they conspired to fix, raise, maintain or stabilize the prices of Clindamycin

Phosphate gel, lotion, vaginal cream and solution beginning at least as early as April 2012.

        651.    Clindamycin Phosphate, also known by the brand name Cleocin, is an antibiotic

used to treat certain serious bacterial infections.

        652.    During the relevant time frame, the following Defendants were the primary

manufacturers of Clindamycin Phosphate:

      Clindamycin Phosphate Gel                       Sandoz, Greenstone

      Clindamycin Phosphate Lotion                    Sandoz, Greenstone

      Clindamycin Phosphate Vaginal Cream Sandoz, Greenstone

      Clindamycin Phosphate Solution                  Sandoz, Greenstone, Perrigo, Taro, Actavis




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       662.    In August and September of 2013, as Perrigo was preparing to enter the market for

solution, T.P., Perrigo’s Director of National Accounts, spoke by phone a number of times with

C.B., a National Accounts Executive at Sandoz.

       663.    Similarly, as Taro was preparing to enter the market in December 2013, it too

communicated with the incumbent suppliers before doing so. For example, on October 11 and 14,

2013, D.S., the Assistant Vice President of National Accounts at Taro spoke to D.L., the Director

of National Accounts at Sandoz.

       664.    The pattern repeated when Actavis was preparing to enter the market in January

2015. Taro’s Ara Aprahamian and M.D., Actavis’s Senior National Account Executive, had a 25

minute conversation on January 7, 2015. They spoke again on January 30 for 19 minutes.

               43.     Labetalol HCL

       665.    Plaintiffs allege that as part of Defendants’ overarching conspiracy with respect to

the Drugs at Issue, they conspired to fix, raise, maintain or stabilize the prices of Labetalol HCL

tablets beginning at least as early as April 2012.

       666.    Labetalol, also known by brand names such as Normodyne and Trandate, is a “beta

blocker” medication used to treat high blood pressure.

       667.    During the relevant time frame, Defendants Sandoz, Teva, Actavis16 and Par were

the primary manufacturers of Labetalol. Defendant Alvogen joined the Labetalol HCL market and

the Labetalol HCL conspiracy in late 2014/early 2015.

       668.    The market for Labetalol HCL tablets was mature and at all relevant times had

multiple manufacturers.



       16
         Watson Pharmaceuticals, Inc. (“Watson”) acquired Actavis in October 2012. The two
companies operated as a single entity, albeit under separate names, until January 2013, after
which the company became knowns as Actavis, Inc.

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       671.    Throughout this period, Teva, Sandoz, Actavis, Par and Alvogen met at trade

conferences and communicated directly with each other in furtherance of their price-fixing

agreements on Labetalol HCL and their Fair Share agreement.

       672.    Before raising its price, Teva coordinated with its competitors. For example,

Rekenthaler spoke to A.S., a senior Actavis/Watson sales executive on July 11, 2012 (2 calls); and

Green spoke to a contact at Sandoz on July 29, 2012 (2 calls) and July 31, 2012.

       673.    After Teva increased its pricing on Labetalol in the summer of 2012, it continued

to coordinate with its competitors to maintain that supracompetitive pricing for that drug. For

example, on October 16, 2012, Green again spoke to his Sandoz contact two (2) times. After those

calls, Green emailed a Teva colleague: “Sandoz is back in good supply. They took a 500% price

increase several months back, and they are holding firm with their prices. Stay the course and

maintain our higher price.”

       674.    Teva’s Rekenthaler worked the phones to confirm that Actavis/Watson also was

still committed to the Labetalol price-fixing agreement. To that end, on October 18, 2012,

Rekenthaler called and again spoke to the senior sales executive at Actavis/Watson, four (4) times.

       675.    As Par and Alvogen entered the market, Teva, Sandoz and Actavis incorporated

them into the Labetalol price-fixing agreement. For example, when Teva learned of a competitive

challenge from Par on Labetalol HCL tablets in February 2014, it promptly called Par to coordinate

a response. T.S., a National Account Manager at Teva, spoke to R.K., a Senior Vice President of

Sales at Par, three times on February 7, 2014, and days later, Rekenthaler called G.B., Vice

President of National Accounts at Par, twice to work out the details.




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       676.    After these discussions between Teva and Par executives, Teva ultimately offered

only a nominal price reduction to that customer, knowing that this would likely result in Par

gaining the customer, and building its Fair Share of the Labetalol market.

       677.    As Alvogen prepared to enter the market in late 2014, B.H., Alvogen’s Executive

Vice President of Commercial Sales, communicated with Actavis’s Falkin. The two spoke multiple

times in September, October, and December of 2014 and in January 2015.

               44.    Lamivudine/Zidovudine

       678.    Plaintiffs allege that as part of Defendants’ overarching conspiracy with respect to

the Drugs at Issue, they conspired to fix, raise, maintain or stabilize the prices of

Lamivudine/Zidovudine tablets beginning at least as early as April 2012.

       679.    Lamivudine/Zidovudine, also known by the brand name Combivir, is a

combination of mediations used in the treatment of human immunodeficiency virus (HIV)

infection.

       680.    During the relevant time frame, Defendants Teva, Lupin, Aurobindo, and Camber

were the primary manufacturers of generic Combivir.

       681.    Teva launched its generic Combivir product in December 2011. In mid-May, 2012,

two competitors – Lupin and Aurobindo – received FDA approval for generic Combivir and were

preparing to enter the market.

       682.    Even before Lupin and Aurobindo obtained FDA approval, Teva was

communicating with both about how to divvy up the market. In late April 2012, Teva’s

Rekenthaler was speaking to the CEO at Aurobindo, who was a former colleague of Rekenthaler’s

at Teva. Meanwhile, Teva’s Green was speaking to David Berthold, an executive at Lupin, and

Jim Grauso at Aurobindo.



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       683.    In early May 2012, with the Lupin and Aurobindo launches just days away,

communications among all three competitors accelerated. Between May 7 and 10, for example,

the three companies spoke at least 32 times. Green (Teva), Berthold (Lupin) and Grauso

(Aurobindo) discussed the specific customers that Teva would concede in order to ensure that

Lupin and Aurobindo gained a Fair Share of the market without eroding prices.

       684.    Similarly, when Camber received approval to market a generic form of Combivir,

Teva, again, coordinated the entry. Konstantin Ostaficiuk, the President of Camber, communicated

with Rekenthaler of Teva and Berthold of Lupin to negotiate Camber’s entry into the market. For

example, on September 24, 2014, Ostaficiuk spoke to Rekenthaler three times and to Berthold

twice. That same day, Berthold also spoke to a senior operations executive at Aurobindo, to close

the loop on generic Combivir communications.

       685.    By coordinating the entry of competitors into the generic Combivir market, Teva,

Lupin, Aurobindo and Camber were able to keep prices higher than they would have been in a

competitive market.

               45.    Lidocaine HCL

       686.    Plaintiffs allege that as part of Defendants’ overarching conspiracy with respect to

the Drugs at Issue, they conspired to fix, raise, maintain or stabilize the prices of Lidocaine HCL

5% ointment beginning at least as early as April 2012.

       687.    Lidocaine HCL 5% is used as an anesthetic lubricant for intubation and for the

temporary relief of pain associated with minor burns.

       688.    During the relevant time frame, Defendants Sandoz, Taro and Akorn were the

primary manufacturers of Lidocaine HCL 5% ointment.

       689.    The market for Lidocaine HCL 5% ointment was mature and at all relevant times

had multiple manufacturers.

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       699.     Ethinyl estradiol and levonorgestrel, when used in combination, is an oral

contraceptive used to prevent pregnancy.

       700.     During the relevant time period, both Teva and Sandoz marketed ethinyl estradiol and

levonorgestrel under multiple names – including both Portia and Jolessa.

       701.     In May 2012, Teva had much higher market share than Sandoz for both Portia and

Jolessa. When Walmart contacted Teva with a right of first refusal and explained that Sandoz made

an offer for the sale of drugs including Portia and Jolessa, Teva initially sent a competitive offer.

However, after Teva’s Green spoke to a contact at Sandoz, Teva withdrew its offer for Portia and

Jolessa the next day and conceded Walmart to Sandoz.

       702.     Sandoz continued to coordinate with Teva to achieve its Fair Share of the markets

for Portia and Jolessa. In July 2013, a key customer contacted Teva stating it had received bids on

Portia and Jolessa, and in order for Teva to retain the business, Teva would have to submit its “best

bids.” A few days later, Teva’s Patel spoke to a contact at Sandoz, and Teva’s Rekenthaler spoke

to a different Sandoz contact. Ultimately, Teva submitted a cover bid to the customer for Portia

and Jolessa, intentionally inflating the bid to ensure that Sandoz obtained the primary award with

the customer.

                47.    Etodolac

       703.     Plaintiffs allege that as part of Defendants’ overarching conspiracy with respect to

the Drugs at Issue, they conspired to fix, raise, maintain or stabilize the prices of Etodolac

beginning at least as early as May 2012.

       704.     Etodolac, also known by the brand name Lodine, is a nonsteroidal anti-

inflammatory drug (NSAID) used to treat pain, swelling and joint stiffness from arthritis.

       705.     During the relevant time frame, Defendants Apotex and Taro were the primary

manufacturers of Etodolac capsules.

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       721.   Leading up to their price increases that were imposed in late July and early August,

Sandoz, Teva and Taro continued to communicate and re-affirm their intentions to raise Etodolac

prices. For example, on July 23, Patel at Teva spoke with her contact at Sandoz, and Aprahamian

at Taro spoke with his contact at Sandoz.

       722.   Between July 29 and August 2, 2013, Patel engaged in a series of thirteen calls with

her Sandoz contact and Aprahamian of Taro. Aprahamian also spoke to his contact at Sandoz

during this time, including three calls between July 30 and August 2, 2013.

       723.   When Patel sent the “Price Increase Overview” spreadsheet to her supervisor on

August 7, 2013, summarizing Teva’s upcoming August 9 price increases, she again made it clear

that the reason Teva was increasing its prices for Etodolac and Etodolac ER was because Teva

senior executives knew that Taro would be raising its prices on both drugs “this week.” Patel’s

supervisor quickly instructed her to delete those entries. Notably, he did not tell her to stop

colluding with Taro or any of Teva’s other ostensible competitors, and so she continued to do so.

       724.   On August 8, 2013, Patel again spoke to Aprahamian (Taro) numerous times and

to her contact at Sandoz. The next day, Teva and Taro announced identical and very large price

increases on their Etodolac and Etodolac ER products.

       725.   In the spring of 2014, Zydus’s entry into the Etodolac ER market spurred another

round of communications and coordination aimed at keeping prices high. In the days leading up

to the Zydus launch, there were numerous communications between Teva, Zydus and Taro to

discuss how customers would be ceded to Zydus without driving prices down.

       726.   The conversations accomplished their goal. Zydus announced list prices identical

to those of Teva and Taro. And Teva and Taro ceded customers to Zydus. For example, when Teva

learned on May 14, 2014 that one of its wholesaler customers had received a bid from Zydus for



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Etodolac ER, it prompted a series of communications between Teva’s Patel, Taro’s Aprahamian,

and Zydus’s Green, as well as direct communications between Maureen Cavanaugh at Teva and

K.R., Vice President of Sales at Zydus. The end result: Teva ceded its wholesaler customer to

Zydus.

         727.   In July of 2014, Teva ceded another customer to Zydus to allow it to gain a Fair

Share of the market. Patel explained Teva’s decision as needed to make room for a new market

entrant.

         728.   Taro, too, worked to ensure that Zydus maintained a Fair Share of the Etodolac

market. For example, in August 2015, Taro declined to bid on Etodolac ER at a large customer

where Zydus was the incumbent. Taro worried that pursuing Zydus’s customer would result in

retaliation, possibly on another product that was part of their Fair Share agreement, Warfarin

Sodium Tablets: Zydus “could hit us on Warfarin. Not worth a fight in the sandbox over 300

annual units for Etodolac.”

                48.    Silver Sulfadiazine

         729.   Plaintiffs allege that as part of Defendants’ overarching conspiracy with respect to

the Drugs at Issue, they conspired to fix, raise, maintain or stabilize the prices of Silver

Sulfadiazine beginning at least as early as May 2012.

         730.   Silver Sulfadiazine, also known by the brand name Silvadene, among others, is an

antibiotic available in a 1% cream used to prevent and treat infections in patients with burns.

         731.   During the relevant time frame, Defendants Actavis and Ascend were the primary

manufacturers of Silver Sulfadiazine 1% cream.

         732.   The market for Silver Sulfadiazine cream was mature and at all relevant times had

multiple manufacturers.



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       774.    Meanwhile, Dr. Reddy’s continued supply disruptions caused it to leave the market

by the end of 2012. By the spring of 2013, however, Dr. Reddy’s was preparing to re-enter the

market. Around the same time, Greenstone also was planning to enter the market. Both did so, and

rather than announce lower prices to compete for customers, both promptly announced WAC

prices in line with Teva and Sandoz.

       775.    Over the ensuing months, Teva, Sandoz, Dr. Reddy’s and Greenstone monitored

and adhered to their Fair Share agreement, which enabled them to keep the prices of Oxaprozin

elevated above competitive levels. For example, as Dr. Reddy’s was preparing to enter the market,

Teva was analyzing how to make sure it obtained a Fair Share. Teva’s Rekenthaler directed Patel,

“look at our business on Oxaprozin in order to accommodate Dr. Reddy’s entry.”

       776.    Leading up to Greenstone’s entry into the market, Green (Teva) and R.H., Director

of National Accounts at Greenstone, were in frequent communication by phone and text to

coordinate the entry, speaking on March 6, 11, 18, 20, 21, 22, and 27, 2013. During these

communications, Teva agreed to concede specific customers to Greenstone in order to avoid

competition and price erosion resulting from Greenstone’s entry.

       777.    After Walmart informed Teva that it had received a bid from Greenstone shortly

after Greenstone’s entry into the market, Teva immediately called Dr. Reddy’s. On March 27,

2013, Green (Teva) called R.H. at Greenstone, but did not connect. The next morning, Green

reached R.H. After they spoke, R.H. relayed the information from Green to her boss, Jill Nailor,

in a series of conversations and text messages. Ultimately, Greenstone agreed to withdraw its offer

to Walmart and honor its Fair Share agreement with Teva.

       778.    Similarly, when Dr. Reddy’s was interested in acquiring Walgreens as a customer,

Teva and Dr. Reddy’s spoke on the phone to devise a strategy and work out the details of their



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market in January 2014. Around the same time that Greenstone entered the tablet market in January

2014, Teva and Mylan were the first manufacturers to launch Tolterodine ER tablets.

       785.    Throughout this period, Teva, Mylan and Greenstone met at trade events and

communicated directly in order to keep Tolterodine prices higher than they would have been in a

competitive market.

       786.    For example, in the second half of 2012, Teva and Mylan regularly communicated

on the telephone. Teva’s Green spoke to Mylan’s Nesta numerous times between May and July of

2012, the period during which Teva was launching Tolterodine tablets. Green and Nesta spoke

again in January 2013, around the time that Mylan was launching its Tolterodine tablets.

       787.    Similarly, in the days leading up to Greenstone’s entry to the Tolterodine tablet

market, Jill Nailor and a colleague at Greenstone were speaking frequently to Teva’s Patel and

Rekenthaler to coordinate. For example, on January 21, 2014, Nailor called Patel twice, and on

January 22, Patel called Nailor twice, Nailor called Patel once, and the two exchanged multiple

text messages. During these communications, Teva and Greenstone agreed that Teva would

concede business to Greenstone in order to avoid significant price erosion in the market. And when

Greenstone finally entered the market, it announced the exact same list (WAC) prices as Teva.

       788.    Teva and Greenstone continued to communicate over the following months to

ensure that Greenstone was able to obtain a Fair Share of the market. For example, in late January

and early February, Teva’s Patel and a contact at Greenstone communicated a number of times to

coordinate Teva’s concession of a large pharmacy customer to Greenstone on Tolterodine tablets.

       789.    During this period, Teva and Mylan planned to launch generic Tolterodine ER. In

order to coordinate market share and pricing, Teva and Mylan were in regular contact. For

example, on December 23 and 24, 2013, Teva’s Rekenthaler and Mylan’s Nesta had a series of



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calls during which they agreed to allocate the Tolterodine ER market on launch day so that Teva

and Mylan could each get a Fair Share without eroding pricing.

                 54.    Buspirone HCL

       790.      Plaintiffs allege that as part of Defendants’ overarching conspiracy with respect to

the Drugs at Issue, they conspired to fix, raise, maintain or stabilize the prices of Buspirone HCL

beginning at least as early as July 2012.

       791.      Buspirone HCL, also known by the brand name Buspar, among others, is a

medication used to treat anxiety disorders or to relieve the symptoms of anxiety.

       792.      During the relevant time frame, Defendants Teva, Mylan and Actavis/Watson were

the primary manufacturers of Buspirone HCL.

       793.      In the summer of 2012, Teva increased pricing on Buspirone HCL. Before this price

increase, Teva coordinated with its competitors. In the weeks leading up to the price increase,

Teva’s Green spoke to Nesta of Mylan on July 23, 24, 25, 26, 30, and 31, 2012. In addition, Teva’s

Rekenthaler spoke to A.S., VP of Sales at Watson/Actavis, twice on July 11, 2012.

                 55.    Estradiol

       794.      Plaintiffs allege that as part of Defendants’ overarching conspiracy with respect to

the Drugs at Issue, they conspired to fix, raise, maintain or stabilize the prices of Estradiol tablets

beginning at least as early as July 2012.

       795.      Estradiol, also known by the brand name Cenestin, is a female hormone used to

help reduce symptoms of menopause.

       796.      During the relevant time frame, Defendants Teva, Mylan and Actavis were the

primary manufacturers of Estradiol tablets.

       797.      The market for Estradiol tablets was mature and at all relevant times had multiple

manufacturers.

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        808.    For example, on May 24, 2012. Teva’s Rekenthaler called S.M., Versapharm’s

Chief Sales and Marketing Office, on his cell phone. S.M. called back later that day and the men

spoke for approximately 8 minutes.

        809.    On July 31, 2012, Teva announced a large list (WAC) price increase for

Ethosuximide oral solution. Less than one week later, Akorn/Versapharm announced almost

identical list (WAC) prices. In a matter of days, both companies had more than tripled their list

(WAC) prices.

        810.    In   2014,   Teva    coordinated   another   round    of   price   increases   with

Akorn/Versapharm. On January 22, 2014, Teva’s Rekenthaler called J.J., a senior national account

executive at Akorn/Versapharm.

        811.    On March 7, 2014, Rekenthaler spoke with the same senior national account

executive at Akorn/Versapharm. Less than a month later, on April 4, 2014, Teva raised prices on

both Ethosuximide capsules and oral solution.

        812.    Only five days after the Teva increase—on April 9, 2014—Akorn/Versapharm

increased its pricing on both Ethosuximide capsules and oral solution to a nearly identical price to

Teva.

        813.    The list (WAC) price charts below show the large and nearly simultaneous price

increases by Teva and Akorn/Versapharm on Ethosuximide capsules and oral solution.




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Teva announced its price increase in early July, Teva’s Patel received a congratulatory message

from a contact at Sandoz.

       836.    By July, Sandoz, Mylan and Teva had brought their list prices into perfect

alignment at a level many multiples of the prior prices. Their price-fixing agreement was working.

But it required continued work to make sure that each of them maintained a Fair Share of the

market.

       837.     To assist in monitoring Fair Share, Sandoz decided to ask Teva and Mylan for

comprehensive lists of all their anticipated price increases, even for drugs not sold by Sandoz. One

Director of National Accounts reached out to Rekenthaler at Teva, another reached out to Nesta at

Mylan. Rekenthaler and Nesta complied, and provided lists to Sandoz.

       838.    Aware that it was improper to share competitively sensitive pricing information

with a competitor, and in an effort to conceal it, Rekenthaler first sent the Teva price increase list

from his Teva work e-mail account to a personal e-mail account, and then forwarded the list from

his personal e-mail account to the personal e-mail account of the Sandoz contact.

       839.    When Nesta provided his list, he also conveyed that Mylan did not want to see its

prices challenged and emphasized that Sandoz should keep prices high.

       840.    Over the ensuing months, Sandoz, Teva and Mylan lived up to their agreement, and

were careful to maintain Fair Shares. For example, in October 2013, a senior pricing executive at

Sandoz sent an internal e-mail explaining that Sandoz had decided not to submit bids in response

to a customer because: “We have been running up against Mylan a lot lately (Nadolol/Benaz/Hctz),

and fear blowback if we take any more products at this moment. Trying to be responsible in the

sandbox.”




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       841.    In mid-2014, the Nadolol conspiracy expanded to include Greenstone, which was

entering the market. In 2014, Greenstone’s Jill Nailor had numerous direct phone communications

with Sandoz (Kellum), Mylan (Nesta) and Teva (Patel and Rekenthaler). When it came time for

Greenstone to launch its Nadolol tablets, rather than offer lower prices to win customers, it

announced identical list prices to Sandoz, Mylan and Teva.

               59.     Desoximetasone

       842.    Plaintiffs allege that as part of Defendants’ overarching conspiracy with respect to

the Drugs at Issue, they conspired to fix, raise, maintain or stabilize the prices of Desoximetasone

ointment (0.05%, 0.25%) beginning at least as early as August 2012.

       843.    Desoximetasone, also known by the brand name Topicort, is a corticosteroid used

to treat a variety of skin conditions, including eczema and dermatitis.

       844.    During the relevant time frame, the primary manufacturers of Desoximetasone

were Taro, Sandoz, and Glenmark.

       845.    In 2012, Taro was the exclusive generic manufacturer of Desoximetasone. But in

August 2012, Sandoz began making plans to enter the market.

       846.    To avoid price competition and ensure that it obtained a Fair Share of the market,

Sandoz reached out to Taro to coordinate its entry to the Desoximetasone market. On August 22,

2012, K.K., Senior National Account Executive at Sandoz, called D.S., Assistant Vice President

of National Accounts at Taro, and they spoke for approximately nine minutes. The two men spoke

again on August 30. Internally, Sandoz used the information collected by K.K. to devise pricing

and target only certain customers for Desoximetasone in a way that was consistent with the Fair

Share agreement.

       847.    In addition to the direct communications in August between K.K. at Sandoz and

D.S. at Taro, in September, C.B., a Sandoz Director of National Accounts, spoke multiple times

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with H.M., Taro’s Director of Corporate Accounts. The two executives discussed pricing and

customers to target for Desoximetasone.

       848.    The coordination worked. When Sandoz officially announced pricing for

Desoximetasone in late September 2012, it matched Taro’s list (WAC) prices. Because of their

Fair Share agreement, Sandoz was confident that it did not need to offer better prices than Taro to

win business. C.B. (Sandoz) and H.M. (Taro) spoke again via phone when Sandoz announced its

pricing.

       849.    With their agreement in place, once Sandoz began soliciting customers, Taro

readily conceded them. In October 2012, internal discussions at Sandoz focused on acquiring a

Fair Share. Meanwhile, internal discussions at Taro focused on conceding a Fair Share to Sandoz.

Throughout the month, C.B. (Sandoz) and H.M. (Taro) continued to communicate by phone to

keep the two companies aligned.

       850.    In September 2013, about a year after Sandoz entered the market, Glenmark

obtained FDA approval to sell Desoximetasone. Typically, the addition of a third generic

manufacturer to a market would lead to increased competition and lower prices. Precisely for that

reason, Taro, Sandoz and Glenmark began to coordinate to make sure that each company would

obtain a Fair Share without eroding prices.

       851.    Glenmark’s Mitchell Blashinsky, Vice President of Sales and Marketing, was a

former Taro employee. As Glenmark prepared to enter the market for Desoximetasone, Blashinsky

joined the web of communications between Taro and Sandoz. In August and September 2013,

Blashinsky spoke to his former Taro colleagues, Aprahamian, Perfetto and D.S. Blashinsky also

spoke multiple times with C.B. at Sandoz during this period. Taro and Sandoz also remained in




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       864.   Throughout this period, Perrigo, G&W, Sandoz and Taro met at trade conferences

and communicated directly with each other in furtherance of their price-fixing agreements on

Halobetasol Propionate cream and ointment and their Fair Share agreement.

       865.   For example, Douglas Boothe, Perrigo EVP and General Manager, and Kurt

Orlofski, G&W President, spoke twice by phone on March 19, 2013, texted on March 25 and spoke

for approximately six minutes on March 26. Perrigo announced list (WAC) price increases for

Halobetasol Propionate the next day.

       866.   Orlofski (G&W) also was communicating with Michael Perfetto, Taro Chief

Commercial Officer, during the same window of time. Orlofski tried to connect with Perfetto on

March 19, 2013 (the same day he had spoken to Boothe at Perrigo) but did not get through. The

two did connect, however, on March 21. They text messaged on March 25 (the same day that

Orlofski texted with Boothe at Perrigo), and had two relatively long conversations (15 and 20

minutes) on March 28, 2012, the day after Perrigo increased its list (WAC) prices.

       867.   Orlofski (G&W) and Perfetto (Taro) continued to communicate by text message in

late March and early April 2013, including on April 11, the day that G&W announced list (WAC)

price increases for Halobetasol Propionate. The next day, the two executives spoke by phone for

approximately 28 minutes.

       868.   Meanwhile, Perrigo’s T.P., Director of National Accounts, was communicating

with C.B., Sandoz’s Director of National Accounts. The two spoke on April 10, 2012, the day

before G&W announced its price increase. The two also spoke on December 18, 2012, just a few

days after Sandoz announced list (WAC) price increases for Halobetasol Propionate. Orlofski

(G&W) and Boothe (Perrigo) also spoke again after the Sandoz price increase (December 20,

2013) for approximately 10 minutes.



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       869.    Another series of communications occurred when Taro raised its list (WAC) prices

on May 13, 2014. In April 2014, before the Taro price increase was announced, Perfetto (Taro)

and Orlofski (G&W) again spoke by phone. On May 6, K.O again spoke to Boothe (Perrigo) and

two days later, Perrigo’s T.P. spoke again with C.B at Sandoz. On May 16, shortly after Taro’s list

price increase became official, E.G., Taro Director of Corporate Accounts, spoke to A.F., Perrigo

National Account Director. That same day, Orlofski (G&W) re-connected with Boothe (Perrigo).

               61.    Promethazine HCL

       870.    Plaintiffs allege that as part of Defendants’ overarching conspiracy with respect to

the Drugs at Issue, they conspired to fix, raise, maintain or stabilize the prices of Promethazine

HCL suppositories (12.5 and 25 mg) beginning at least as early as August 2012.

       871.    Promethazine HCL, also known by the brand name Promethegan, is used to treat

some allergies, nausea, and vomiting.

       872.    During the relevant time frame, the primary manufacturers of Promethazine HCL

were Actavis, Perrigo, G&W, Mylan and Taro.

       873.    The market for Promethazine HCL was mature and at all relevant times had

multiple manufacturers.

       874.    For years the prices for Promethazine HCL suppositories were relatively low and

stable. Beginning in August 2012, G&W, Actavis and Perrigo coordinated large price increases in

close succession. In September 2014, Mylan joined the market and rather than offer lower prices

to win market share, it imposed prices even higher than G&W, Actavis and Perrigo. When Taro

entered the market during the summer of 2015, it too offered inflated prices.

       875.    The chart below shows the dramatic price increases imposed by Actavis, G&W and

Perrigo in close succession, and that Mylan and Taro offered similarly inflated prices when they



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Baylor’s communications with Actavis and Perrigo was to effectuate a large price increase for

Promethazine HCL.

        879.       During the same period, T.P. (Perrigo) communicated by phone with M.D., Actavis

Director of National Accounts.

        880.       After solidifying an agreement with Perrigo and Actavis to raise prices, G&W

proceeded to announce increases for Promethazine HCL in early October 2012. Perrigo announced

its own price increase for Promethazine HCL in early December 2012, with prices taking effect in

January 2013. Actavis announced price increases as well, not long after Perrigo.

        881.       Having demonstrated the success of their pricing agreement on Promethazine HCL,

the companies were greedy for a larger increase and started to plan for a second increase that would

dwarf the first.

        882.       In March 2013, Orlofski, G&W President, and Douglas Boothe, Perrigo Executive

Vice President and General Manager, communicated by phone multiple times.

        883.       In March and April 2013, Vogel-Baylor (G&W) continued to communicate with

Rogerson (Actavis) and with T.P. (Perrigo) through her conduit, A.T. (Aurobindo). T.P. also

resumed his communications with M.D. (Actavis). All three companies agreed to a second price

increase for Promethazine HCL

        884.       Again, the coordination worked. In April 2013, G&W announced a large price

increase for Promethazine HCL. In June 2013, Actavis matched G&W’s prices. And on August 1,

2013, Perrigo followed suit and matched prices as well. The companies continued to communicate

by phone in the lead up to each of the price increases.

        885.       As each manufacturer raised prices, customers shopped around for better prices.

But each company repeatedly stuck to the Fair Share agreement and turned away opportunities to



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gain share. In some instances, customers were given pre-textual excuses for turning away business.

For example, when G&W was approached by a large Actavis customer seeking a new supplier for

Promethazine HCL, G&W declined the opportunity by saying that it did not have the capacity to

take on the account. In fact, G&W was simply abiding by the Fair Share agreement.

               62.     Ketoprofen

        886.   Plaintiffs allege that as part of Defendants’ overarching conspiracy with respect to

the Drugs at Issue, they conspired to fix, raise, maintain or stabilize the prices of Ketoprofen

beginning at least as early as September 2012.

        887.   Ketoprofen, also known by the brand name Dolobid, is a nonsteroidal anti-

inflammatory drug (NSAID) used to treat mild to moderate pain, and to relieve symptoms of

arthritis, such as inflammation, swelling, stiffness, and joint pain.

        888.   During the relevant time frame, Defendants Teva and Mylan were the primary

manufacturers of Ketoprofen capsules.

        889.   The market for Ketoprofen capsules was mature and at all relevant times had

multiple manufacturers.

        890.   In the summer of 2013, Patel said she had heard “rumors of activity,” i.e., a price

increase, on Ketoprofen. “Rumors” was a term consistently used by Patel in e-mails to as a

euphemism for communicating with competitors about future price increases.

        891. On June 28, 2013, Teva’s Green and Mylan’s Nesta spoke on the phone. Shortly

thereafter, Patel sent an e-mail internally at Teva stating that Mylan was announcing price

increases that day, including for Ketoprofen. In actuality, Mylan did not announce the price

increases until July 1, 2013, with an effective date of July 2, 2013. Teva followed on August 9,

2013.



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        892.     As Teva prepared to follow the Mylan increase, the companies were in frequent

contact. For example, on July 10, 2013, Green and Nesta spoke twice, and the next day, Nesta and

Green exchanged several more calls. In addition, Green spoke to Nesta on August 1 (two calls), 2,

6 (three calls), and 8 (three calls), 2013.

        893.     The day before Teva officially followed Mylan’s price increase – August 8, 2013

– Patel spoke directly to Nesta.

        894.     On January 28, 2015, Teva again raised its price on Ketoprofen capsules. Again,

Teva’s Patel and Rekenthaler communicated with Mylan before doing so. For example,

Rekenthaler spoke to Nesta of Mylan on January 14 (2 calls) and January 20, 2015.

                 63.    Methotrexate Sodium

        895.     Plaintiffs allege that as part of Defendants’ overarching conspiracy with respect to

the Drugs at Issue, they conspired to fix, raise, maintain or stabilize the prices of Methotrexate

Sodium tablets beginning at least as early as September 2012.

        896.     Methotrexate Sodium, also known by the brand name Rheumatrex and Trexall,

among others, is used to treat several types of cancer.

        897.     During the relevant time frame, Defendants Par,18 Mylan, Teva and West-Ward19

were the primary manufacturers of Methotrexate.

        898.     The market for Methotrexate was mature and at all relevant times had multiple

manufacturers.




        18
             The relevant entity prior to June 2014 was DAVA, which has since been subsumed into
Par.
        19
       The relevant entity at this point in time was Roxane, which eventually was acquired by
West-Ward during the relevant period (announced July 2015, completed March 2016).

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               64.     Tobramycin Dexamethasone

       903.    Plaintiffs allege that as part of Defendants’ overarching conspiracy with respect to

the Drugs at Issue, they conspired to fix, raise, maintain or stabilize the prices of Tobramycin

Dexamethasone ophthalmic suspension beginning at least as early as September 2012.

       904.    Tobramycin Dexamethasone, also known by the brand name Tobradex, among

others, is available an ophthalmic suspension, which is used to treat eye infections.

       905.    During the relevant time frame, Defendants Bausch and Sandoz were the primary

manufacturers of Tobramycin Dexamethasone.

       906.    The market for Tobramycin Dexamethasone was mature and at all relevant times

had multiple manufacturers.

       907.    For years, the prices for Tobramycin Dexamethasone were relatively low and

stable. In the fall of 2012, however, Bausch and Sandoz imposed large price increases almost

simultaneously.

       908.    The price charts below show the large and nearly identical and simultaneous price

increases imposed by Bausch and Sandoz. [NSP CHART REDACTED]




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       909.    Throughout this period, Bausch and Sandoz met at trade conferences and

communicated directly with each other in furtherance of their price-fixing agreements on

Tobramycin Dexamethasone and their Fair Share agreement.

       910.    For example, representatives from both Bausch and Sandoz attended the following

trade association events: NACDS 2012 Pharmacy and Technology Conference in Denver,

Colorado (August 25-28, 2012); GPhA Board of Directors Meeting: in Washington, D.C.

(November 29, 2012); and GPhA Annual Meeting in Orlando, Florida (February 20-22, 2013).

               65.     Valsartan HCTZ

       911.    Plaintiffs allege that as part of Defendants’ overarching conspiracy with respect to

the Drugs at Issue, they conspired to fix, raise, maintain or stabilize the prices of Valsartan HCTZ

tablets beginning at least as early as September 2012.

       912.    Valsartan HCTZ, also known by the brand name Diovan, is a medication used to

treat high blood pressure.

       913.    During the relevant time frame, Defendants Sandoz and Mylan were the primary

manufacturers of Valsartan HCTZ.

       914.    Mylan was the first to file an ANDA to market the generic Valsartan HCTZ –

which, if approved, would give Mylan 180 days of generic exclusivity. Sandoz manufactured the

authorized generic. This meant that Sandoz and Mylan would be the only two manufacturers of

the generic version of the drug for six months.

       915.    Mylan and Sandoz both launched Valsartan HCTZ on September 21, 2012. Prior

to the launch, D.L., a Director of National Accounts at Sandoz, and Nesta of Mylan spoke

numerous times by phone and discussed, among other things, avoiding price competition for

customers in the Valsartan HCTZ market. They agreed to split the market 50/50.

       916.    Sandoz’s Kellum was kept in the loop about the agreement with Nesta.

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       917.    On September 21, 2012, a Sandoz employee remarked in an email on news of

Mylan’s FDA approval for Valsartan HCTZ: “Fyi, good news, Mylan has 180 days as expected.”

A Sandoz executive in Germany responded, “. . . sometimes a little help from our competition is

welcome as well.” D.D., the President and CEO of Sandoz North America replied: “I guess this

what they call co-opetition.”

       918.    Shortly after Mylan entered the market, a large wholesaler contacted Sandoz to ask

for better prices on Valsartan HCTZ. Sandoz refused. Kellum at Sandoz continued to monitor the

agreement and to make sure that Sandoz was not taking more than its Fair Share. He explained to

colleagues: “I’m concerned we are going to disrupt the market. I understand the need for additional

sales but we need to be thoughtful here.” A directive went out to the Sandoz sales personnel: “Do

not approach new customers” without prior approval from the executives.

               66.    Diclofenac Potassium

       919.    Plaintiffs allege that as part of Defendants’ overarching conspiracy with respect to

the Drugs at Issue, they conspired to fix, raise, maintain or stabilize the prices of Diclofenac

Potassium beginning at least as early as October 2012.

       920.    Diclofenac Potassium, also known by the brand name Cataflam, among others, is a

non-steroidal anti-inflammatory drug (NSAID) used to relieve pain and swelling.

       921.    During the relevant time frame, Defendants Teva, Mylan and Sandoz were the

primary manufacturers of Diclofenac Potassium.

       922.    The market for Diclofenac Potassium tablets was mature and at all relevant times

had multiple manufacturers.

       923.    For years, the prices for Diclofenac Potassium tablets were relatively low and

stable. In late 2012, however, Mylan, Teva and Sandoz began a series of coordinated price



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and Rekenthaler were communicating with Mylan and Sandoz to coordinate. For example,

Rekenthaler spoke to Nesta on August 4, 7, 11 (2 calls), 18 (2 calls), and 21. Patel spoke to a

contact at Sandoz on August 11, 26, 27 (2 calls), and 28, 2014.

       929.    The coordination worked. Sandoz followed Teva’s price increases on Diclofenac

Potassium tablets and announced an identical list price approximately 6 weeks later. Mylan

followed, also matching Teva and Sandoz’s list prices, on March 4, 2015. Rekenthaler coordinated

with Nesta of Mylan during two phone calls on February 18 and one call on February 19, 2015.

               67.    Ketorolac Tromethamine

       930.    Plaintiffs allege that as part of Defendants’ overarching conspiracy with respect to

the Drugs at Issue, they conspired to fix, raise, maintain or stabilize the prices of Ketorolac

Tromethamine tablets beginning at least as early as October 2012.

       931.    Ketorolac Tromethamine, also known by the brand name Toradol, is a nonsteroidal

anti-inflammatory drug (NSAID) indicated for the short-term management of moderately severe

acute pain.

       932.    During the relevant time frame, Defendants Teva and Mylan were the primary

manufacturers of Ketorolac Tromethamine.

       933.    The market for Ketorolac Tromethamine tablets was mature and at all relevant

times had multiple manufacturers.

       934.    For years, the prices of Ketorolac Tromethamine tablets were relatively low and

stable. As with numerous other drugs during manufactured by Teva and Mylan, things changed in

mid-2012, when those manufacturers began to implement coordinated and sustained price

increases. Over the course of their conspiratorial price increases, Teva and Mylan prices

skyrocketed. List (WAC) prices for Ketorolac Tromethamine tablets more than doubled and NSP



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        955.   In November and December 2012, G&W President Kurt Orlofski and G&W Vice

President of Sales Erika Vogel-Baylor each communicated by phone with David Berthold, Lupin

Vice President of Sales, to discuss Ethambutol. During the same period, Berthold communicated

with Teva’s Kevin Green.

        956.   As G&W and Lupin developed pricing plans and customer strategies, they

continued to communicate and to keep each other informed. For example, between December 9

and 19, as Lupin was devising its pricing announcements, Berthold (Lupin) called Vogel-Baylor

(G&W) to keep her in the loop. Orlofski (G&W) also communicated by phone with Berthold.

        957.   In January 2013, as purchasers of Ethambutol sought new suppliers, G&W and

Lupin continued to coordinate. When G&W was contacted by a potential customer, Vogel-Baylor

would communicate with Berthold. When Lupin was contacted by a potential customer, Orlofski

communicated with Berthold.

        958.   In January and February 2013, G&W and Lupin announced price increases.

Orlofski, Vogel-Baylor and Berthold continued to communicate throughout that period. Berthold

also kept Teva’s Kevin Green in the loop.

               70.     Nystatin Triamcinolone Acetonide

        959.   Plaintiffs allege that as part of Defendants’ overarching conspiracy with respect to

the Drugs at Issue, they conspired to fix, raise, maintain or stabilize the prices of Nystatin

Triamcinolone Acetonide (“NT”) cream and ointment beginning at least as early as November

2012.

        960.   NT cream and ointment, also known by the brand names Mycolog-II and Mytrex,

among others, are used to treat certain fungal or yeast infections of the skin.

        961.   During the relevant time frame, Sandoz and Taro were the primary manufacturers

of NT cream and ointment.

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Aprahamian (Taro)—Taro declined to put up a fight. Throughout May and June 2013, C.B and

Aprahamian continued to communicate by phone.

       976.    In November 2013, Sandoz was ready to re-launch NT ointment. Following the

template for their successful coordination on NT cream, C.B. (Sandoz) and Aprahamian (Taro)

exchanged multiple phone communications to make sure that NT ointment prices remained high.

The companies agreed that Sandoz would target the same customers that it had pursued for NT

cream and that Taro would again cede those customers without a fight.

       977.    Both companies remained true to their agreement. Sandoz matched Taro’s pricing

on NT ointment and pursued only the Fair Share of the market, as agreed with Taro.

               71.     Nafcillin Sodium

               72.     Oxacillin Sodium

       978.    Plaintiffs allege that as part of Defendants’ overarching conspiracy with respect to

the Drugs at Issue, they conspired to fix, raise, maintain or stabilize the prices of Oxacillin Sodium

and Nafcillin Sodium beginning at least as early as December 2012.

       979.    Oxacillin and Nafcillin are separately marketed antibiotics used to treat infections

caused by penicillin-resistant staphylococci, among other bacteria.

       980.    In December 2012 and January 2013, Aurobindo began planning to enter the

Nafcillin and Oxacillin markets. Before entering the market, Aurobindo coordinated with Sandoz,

the market leader on both products. A.T., Aurobindo Director of National Accounts, and C.B.,

Sandoz National Account Executive, communicated by phone multiple times during those months.

The purpose of the calls was to identify customers for Aurobindo to target and which Sandoz

would concede.




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       1018. Throughout this period, Mylan, Sun and Greenstone met at trade conferences and

communicated directly with each other in furtherance of their price-fixing agreements on

Spironolactone HCTZ tablets and their Fair Share agreement.

       1019. For example, Greenstone, Mylan and Sun all sent representatives to the GPhA

Annual Meeting in Orlando, Florida on February 20 to 22, 2013. All three companies also attended

the NACDS 2013 Annual Meeting at the Sands Expo Convention Center in Palm Beach, Florida

on April 20 to 23, 2013. During this window of time, all three manufacturers announced list

(WAC) price increases of more than 400%.

       1020. These companies also communicated directly with each other. For example,

Mylan’s Nesta was in frequent contact with Greenstone during the period in which the two

companies coordinated pricing on Spironolactone HCTZ. He exchanged hundreds of telephone

calls or text messages with Greenstone’s R.H. from 2011 through 2014, and dozens of phone calls

or texts with Greenstone’s Nailor between December 2012 and November 2015.

               76.    Bromocriptine Mesylate

       1021. Plaintiffs allege that as part of Defendants’ overarching conspiracy with respect to

the Drugs at Issue, they conspired to fix, raise, maintain or stabilize the prices of Bromocriptine

Mesylate tablets beginning at least as early as February 2013.

       1022. Bromocriptine Mesylate, also known by the brand name Parlodel, is a medication

used to treat certain conditions caused by a hormone imbalance.

       1023. During the relevant time frame, Defendants Mylan, Sandoz and Perrigo were the

primary manufacturers of Bromocriptine Mesylate tablets.

       1024. The market for Bromocriptine Mesylate tablets was mature and at all relevant times

had multiple manufacturers.



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           1033. Budesonide, also known by the brand name Pulmicort, among others, is a

corticosteroid medication. The inhaled form is used in the long-term management of asthma and

chronic obstructive pulmonary disease (COPD). The pills in a delayed release form may be used

for inflammatory bowel disease including Crohn’s disease, ulcerative colitis and microscopic

colitis.

           1034. During the relevant time frame, Defendants Teva, Actavis and Sandoz were the

primary manufacturers of Budesonide inhalation. Teva, Mylan and Par were the primary

manufacturers of Budesonide DR capsules.

           Budesonide Inhalation Suspension

           1035.   As of February 2013, Teva was the only company in the market for generic

Budesonide Inhalation Suspension. Teva knew, however, that there was a good chance that Actavis

would soon be entering the market, followed by others. In anticipation of needing to cede market

share to the new entrants, Teva pre-emptively decided to raise prices, so that when it eventually

ceded share it would not lose as much dollar revenue.

           1036.   Teva raised the list price for its Budesonide Inhalation Suspension by 9%.

Although a very modest increase in percentage terms, the 9% price increase added millions to

Teva’s annual revenues.

           1037. On April 1, 2013, Actavis won a legal challenge that would enable it to enter the

market. That day, Teva’s Rekenthaler called A.B., his counterpart at Actavis – a senior sales and

marketing executive – and they spoke for two (2) minutes.

           1038. The next day, April 2, 2013, Rekenthaler spoke to A.B of Actavis two more times.

Actavis then immediately began shipping the product. Instead of offering better prices to win over

customers, Actavis entered the market with the same list (WAC) price as Teva.



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       1039. At some point thereafter, further legal action from the brand manufacturer delayed

Actavis (or any other manufacturer) from fully entering the market until February 2015. As Actavis

was (again) preparing to ramp up sales of Budesonide, Teva’s Rekenthaler and Falkin of Actavis

were communicating by phone to coordinate Actavis’s entry into the market and the ceding of

market share to Actavis by Teva.

       1040. A few months later, Sandoz was the next to enter the market. The same pattern held.

Rather than compete for customers with better prices, Sandoz announced identical WAC prices to

those of Teva and Actavis. Owing to their Fair Share agreement, Sandoz was able to gain market

share as Teva ceded customers to it.

       Budesonide DR Capsules

       1041.   Teva was preparing to enter the market for Budesonide DR in the spring of 2014.

At the time, Par and Mylan were the only other manufacturers in the market.

       1042. Just as Teva had done in anticipation of Actavis’s entry into the Budesonide

Inhalation market, shortly before Teva entered the Budesonide DR market, Par increased the price

of the drug.

       1043. As Teva was preparing to enter the market, and as Par was raising prices, all three

manufacturers were communicating with each other by phone. Teva’s Rekenthaler was in touch

with a senior national account executive at Par and with Nesta at Mylan. Meanwhile, another

account executive at Par was in touch with a counterpart at Mylan.

               78.    Pioglitazone Metformin HCL

       1044. Plaintiffs allege that as part of Defendants’ overarching conspiracy with respect to

the Drugs at Issue, they conspired to fix, raise, maintain or stabilize the prices of Pioglitazone

Metformin HCL tablets beginning at least as early as February 2013.



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       1045. Pioglitazone Metformin, also known by the brand name Actoplus Met, is used to

control high blood sugar in patients with type 2 diabetes.

       1046. During the relevant time frame, Mylan, Teva, Aurobindo, Sandoz and Torrent were

the primary manufacturers of Pioglitazone Metformin.

       1047. Before February 2013, Mylan and Teva were the only generic suppliers of

Pioglitazone Metformin. Mylan and Teva launched their products in August 2012. In the weeks

preceding their launches and continuing throughout their period of exclusivity, Mylan and Teva

were in regular contact to coordinate pricing and market share. For example, Teva’s Kevin Green,

Director of National Accounts, and Mylan’s Jim Nesta, Vice President of National Accounts,

communicated by phone multiple times per month from June 2012 and continuing through to

February 2013. The Pioglitazone Metformin market share was almost exactly evenly split between

Teva and Mylan during this period, just as contemplated by their Fair Share agreement.

       1048. Mylan and Teva’s 180-day exclusivity period expired in February 2013, after which

other manufacturers were eligible to enter the market. Aurobindo and Torrent launched

Pioglitazone Metformin in February and Sandoz launched in April 2013.

       1049. Teva’s Green and Mylan’s Nesta continued to communicate frequently as the

Pioglitazone Metformin market opened up to other manufacturers. Green and Nesta also expanded

their outreach and began to communicate with Aurobindo and Sandoz to coordinate pricing and

target customers.

       1050. For example, in February 2013, Nesta (Mylan) communicated with A.T.,

Aurobindo Director of National Accounts, both before and after Aurobindo entered the market.

Green (Teva) communicated with Jim Grauso, Aurobindo Senior Vice President of Commercial




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         1061. Initially, Teva and Lupin were the first major suppliers of generic Fenofibrate 48

mg and 145 mg tablets. Perrigo and Mylan joined the market not long after. In order to keep prices

high, the Fenofibrate manufacturers coordinated pricing and market share.

         1062. For example, in early 2013, Teva’s Green called Mylan’s Nesta to find out more

about Mylan’s plans with Fenofibrate. Green reported back to his Teva colleagues that Mylan

planned to launch Fenofibrate 48 mg and 145 mg sometime around November 2013.

         1063. A few months later in 2013, however, Teva learned that Mylan was moving up its

launch date for Fenofibrate. In advance of this launch, Teva, Lupin, Mylan and Perrigo conspired

to allocate the market for Fenofibrate.

         1064. For example, executives for Teva, Mylan, and Lupin were in regular contact by

phone. Patel (Teva) spoke to Berthold (Lupin) on May 6 and 7, and Green (Teva) spoke to Berthold

on May 6 and 9, 2013. Further, Green spoke to Nesta (Mylan) on May 7, 8, and 9, 2013. And

Nesta spoke to Berthold on May 7 and 8, 2013. On these calls, Teva, Mylan, and Lupin executives

shared information about Mylan’s Fenofibrate launch and the plan to allocate market share to

Mylan.

         1065.   All of the coordination had real effects. For example, Teva decided to concede one

of its largest customers to Mylan so that Mylan could obtain a Fair Share of the market and thus

avoid price competition.

         1066. Similarly, in February 2014, Zydus was preparing to enter the Fenofibrate market.

Green, formerly at Teva but now at Zydus, colluded with Teva’s Patel and Rekenthaler, Mylan’s

Nesta, and Lupin’s Berthold to share pricing information and allocate market share to his new

employer, Zydus. Mylan’s Nesta spoke to T.P., Perrigo’s Director of National Accounts, on

February 6, 2014.



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       1067. In March 2014, when Zydus entered the Fenofibrate market, it announced list prices

that matched Teva, Mylan, and Lupin. In the days leading up to the launch, executives from all

four competitors were in regular contact with each other to discuss pricing and allocating market

share to Zydus. Between March 3 and March 7, these competitors exchanged at least 26 calls with

each other.

       1068. In the months that followed, Teva “strategically conceded” several customers to

Zydus in accordance with the agreement they had reached. Throughout, Teva communicated

directly with competitors to keep them apprised of developments and to ensure that Fair Share was

maintained for Fenofibrate. For example, Patel continued to communicate directly with Berthold

(Lupin) and Green (Zydus) in May and June.

       1069. By coordinating prices and market share, Teva, Mylan, Lupin, Perrigo and Zydus

were able to keep Fenofibrate prices higher than they would have been in a competitive market.

              80.     Medroxyprogesterone

       1070. Plaintiffs allege that as part of Defendants’ overarching conspiracy with respect to

the Drugs at Issue, they conspired to fix, raise, maintain or stabilize the prices of

Medroxyprogesterone tablets beginning at least as early as March 2013.

       1071. Medroxyprogesterone, also known by the brand name Provera, among others, is a

medication used to treat amenorrhea (unusual stopping of menstrual periods) and abnormal uterine

bleeding.

       1072. During the relevant time frame, Defendants Teva and Greenstone were the primary

manufacturers of Medroxyprogesterone tablets.

       1073. In early 2013, Teva and Greenstone began planning to increase the prices of

Medroxyprogesterone tablets. Teva’s Patel and R.H., Director of National Accounts at Greenstone,



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communicated frequently to orchestrate the price increases. For example, they exchanged six (6)

text messages on November 16, 2013 and spoke by phone on November 23, 2013.

       1074. Not long after Greenstone had been communicating with Teva, a Greenstone

executive informed Pfizer, its parent company, about the price increase proposal. Pfizer granted

approval for the price increases on November 22, 2013, and the next day, Patel communicated

with R.H. at Greenstone. Patel also spoke to R.H. three times on December 2, 2013, the day

Greenstone planned to send price increase notices to its customers.

       1075. After the price increases, Teva and Greenstone were careful to maintain Fair Shares

of the market.

                 81.   Alclometasone Dipropionate

       1076. Plaintiffs allege that as part of Defendants’ overarching conspiracy with respect to

the Drugs at Issue, they conspired to fix, raise, maintain or stabilize the prices of Alclometasone

Dipropionate cream and ointment beginning at least as early as April 2013.

       1077. Alclometasone Dipropionate, also known by the brand name Alcovate, is a

medication used to treat the inflammation and itching caused by a number of skin conditions such

as allergic reactions, eczema, and psoriasis.

       1078. During the relevant time frame, Defendants Sandoz, Taro, and Glenmark were the

primary manufacturers of Alclometasone Dipropionate.

       1079. The market for Alclometasone cream and ointment was mature and at all relevant

times had multiple manufacturers.

       1080. After years of relatively low pricing, the prices of Alclometasone Dipropionate

cream and ointment sold by Glenmark, Taro and Sandoz leaped to approximately three times their

former prices.



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       1093. Throughout this period, Actavis, Perrigo and Taro met at trade conferences and

communicated directly with each other in furtherance of their price-fixing agreements on

Ammonium Lactate and their Fair Share agreement.

       1094. For example, before increasing prices, Taro reached out to coordinate with Actavis

and Perrigo. During April 2013—when Taro was raising prices—Taro’s Aprahamian (Vice

President of Sales) and Perfetto (Chief Commercial Officer) had multiple phone calls with

competitors. Perfetto spoke with Douglas Boothe, Perrigo Executive Vice President and General

Manager; he also spoke with M.D., Actavis Director of National Accounts. Aprahamian also

communicated with Actavis’s M.D., as well as with A.G., another Actavis Director of National

Accounts.

       1095. During the same period, Actavis and Perrigo also were communicating directly

with one another. For example, in April, on the heels of communicating with Taro, M.D. (Actavis)

and T.P, Perrigo’s Director of National Accounts, communicated by phone multiple times.

       1096. Also during April 2013, representatives from Taro, Perrigo and Actavis convened

at the NACDS Annual Meeting.

               83.     Cefdinir

               84.     Cefprozil

       1097. Plaintiffs allege that as part of Defendants’ overarching conspiracy with respect to

the Drugs at Issue, they conspired to fix, raise, maintain or stabilize the prices of Cefdinir capsules

and oral suspension and Cefprozil tablets beginning at least as early as April 2013.

       1098. Cefdinir and Cefprozil are medications used to treat bacterial infections.

       1099. During the relevant time frame, Defendants Teva, Sandoz and Lupin were the

primary manufacturers of Cefdinir capsules and oral suspension and Cefprozil tablets.

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       1100. Not long after Patel started at Teva, she sent her first list of proposed price increases

to her supervisor on May 24, 2013. The list included Cefdinir oral suspension and capsules and

Cefprozil tablets.

       1101. Patel communicated with competitors to coordinate the proposed price increases.

For example, Patel spoke to Berthold of Lupin six (6) times on May 16, two (2) times on May 17,

once on May 20, once on May 21, and three (3) times on May 23, 2013.

       1102.     By summer, Teva and Lupin had raised prices on Cefdinir and Cefprozil, as agreed.

Patel and Rekenthaler at Teva also communicated with contacts at Sandoz, which joined the price-

fixing agreement on Cefdinir and Cefprozil.

                 85.   Cholestyramine

       1103. Plaintiffs allege that as part of Defendants’ overarching conspiracy with respect to

the Drugs at Issue, they conspired to fix, raise, maintain or stabilize the prices of Cholestyramine

oral powder and oral solid beginning at least as early as April 2013.

       1104. Cholestyramine, also known by the brand name Prevalite, is a medication used to

lower high cholesterol levels in the blood.

       1105. During the relevant time frame, Defendants Sandoz, Par, and Upsher-Smith were

the primary manufacturers of Cholestyramine.

       1106. The market for Cholestyramine was mature and at all relevant times had multiple

manufacturers.

       1107. For years, the prices for Cholestyramine were relatively low and stable. Then, in

the space of a few months during the summer of 2013, Upsher-Smith, Sandoz and Par all

implemented large and very similar price increases in very close succession. The manufacturers

all had different list prices for Cholestyramine before the summer, but by the end, they all had



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       1113. Par followed the list (WAC) price increase on August 27, 2013. On September 5,

K.O. at Par again spoke to C.O. at Upsher-Smith for nearly 22 minutes.

               86.     Drospirenone and Ethinyl Estradiol

       1114. Plaintiffs allege that as part of Defendants’ overarching conspiracy with respect to

the Drugs at Issue, they conspired to fix, raise, maintain or stabilize the prices of Drospirenone and

Ethinyl Estradiol beginning at least as early as April 2013.

       1115. Drospirenone and Ethinyl Estradiol, commonly known by the brand name Ocella,

is an oral contraceptive.

       1116. During the relevant time frame, Defendants Teva, Lupin and Actavis were the

primary manufacturers of Drospirenone and Ethinyl Estradiol.

       1117. In early 2013, Lupin was planning to enter the market. Rather than strategize on

how to gain market share through competition, Lupin contacted Teva to reach an agreement on

pricing and market share. In late April, Berthold (Lupin) and Green (Teva) spoke multiple times.

       1118. Communications between Teva and Lupin eventually looped in Actavis. For

example, Rekenthaler and Patel each spoke with a senior sales and marketing executive at Actavis

on April 30, and the next day Patel exchanged a number of text messages with him as well.

       1119. Throughout May, intense communications among the competitors continued as

they worked out the details of their agreement. On May 6, Patel and Berthold spoke twice by

phone. Green and Berthold also spoke that same day. On May 7, Patel and Berthold had yet

another call. Patel also placed a call to Rogerson at Actavis. Patel again spoke to Rogerson on

May 8. And on May 9, Green again spoke with Berthold twice. On May 10, Patel spoke to Berthold

three times, and also spoke to Rogerson again.

       1120. In the wake of all of these communications, Teva agreed to concede business to

Actavis in order to maintain higher prices for generic Ocella.

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          1128. Throughout this period, Actavis and Taro met at trade conferences and

communicated directly with each other in furtherance of their price-fixing agreements on

Terconazole cream and their Fair Share agreement.

          1129. For example, in late April and May 2013, Taro’s Aprahamian and Perfetto

communicated by phone multiple times and with multiple contacts at Actavis. During the same

period, when Taro customers approached Actavis seeking better pricing for Terconazole cream,

Actavis declined to pursue those opportunities, as contemplated by the Fair Share agreement.

Actavis instead raised its own Terconazole prices.

                 88.     Tizanidine HCL

          1130. Plaintiffs allege that as part of Defendants’ overarching conspiracy with respect to

the Drugs at Issue, they conspired to fix, raise, maintain or stabilize the prices of Tizanidine HCL

tablets beginning at least as early as April 2013.

          1131. Tizanidine, also known by the brand name Zanaflex, is used to treat muscle

spasticity due to spinal cord injury or multiple sclerosis.

          1132. During the relevant time frame, Defendants Apotex, Dr. Reddy’s, Mylan, Sandoz

and Sun were the primary manufacturers of Tizanidine.

          1133. The market for Tizanidine HCL tablets was mature and at all relevant times had

multiple manufacturers.

          1134. For years, the prices of Tizanidine HCL tablets were relatively low and stable. In

the spring of 2013, however, all manufacturers began to impose very large price increases within

weeks of each other. Between May 13 and July 2, 2013, Apotex, Dr. Reddy’s, Mylan, Sandoz and

Sun each announced a list (WAC) price increase. They each also began to increase NSP prices.

Over the ensuing few months, every manufacturer imposed multi-fold increases in their NSP

prices.

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           1139. On May 29, 2013, a large customer called Sandoz and asked whether it wanted to

submit a bid for Tizanidine. After D.L., the Director of National Accounts at Sandoz, spoke to

Nesta (Mylan) again, Sandoz decided not to submit a bid.

           1140. On June 11, 2013, V.B., Dr. Reddy Director of National Accounts, spoke to T.B.,

Apotex National Account Manager, for approximately 13 minutes.

           1141. On June 14, 2013, a large wholesale customer e-mailed J.A., the Director of

National Accounts at Dr. Reddy’s asking “[d]id mylan follow your increase?” He responded,

“We’ve heard they did.” The Dr. Reddy’s Director had learned of Mylan’s intent to follow the

price increase through his prior communications with Nesta. However, Mylan had not actually

raised its price on Tizanidine at the time of the inquiry.

           1142. On June 26, 2013, a large supermarket chain customer e-mailed Dr. Reddy’s

requesting a bid for Tizanidine. Dr. Reddy’s decided not to go after additional market share. J.A.

(Dr. Reddy’s) and S.G., Sun Director of Marketing, communicated by phone two days later, on

June 28. A few weeks later, the supermarket forwarded the same request to Sandoz, and Sandoz

declined to submit a bid.

                  89.     Captopril

           1143. Plaintiffs allege that as part of Defendants’ overarching conspiracy with respect to

the Drugs at Issue, they conspired to fix, raise, maintain or stabilize the prices of Captopril tablets

beginning at least as early as May 2013.

           1144. Captopril, also known by the brand name Capoten, is an angiotensin-converting

enzyme (ACE) inhibitor used for the treatment of hypertension and some types of congestive heart

failure.

           1145. During the relevant time frame, Defendants Mylan, West-Ward and Wockhardt

were the primary manufacturers of Captopril.

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